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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
                               Richmond Division


STEVES AND SONS, INC.,

        Plaintiff,

v.                                       Civil Action No. 3:16cv545
                                              PUBLIC VERSION
JELD-WEN, INC.,

        Defendants.


                                MEMORANDUM OPINION

        This matter     is   before      the    Court on PLAINTIFF STEVES AND

SONS,    INC.' S MOTION FOR EQUITABLE RELIEF                     (ECF No.   1191),    which

the     parties     addressed        through     briefs        before    and     after    the

evidentiary       hearing       on     equitable           remedies     ( "the     Remedies

Hearing"). For the reasons set forth below, PLAINTIFF STEVES AND

SONS,    INC.'S MOTION FOR EQUITABLE RELIEF (ECF No. 1191) will be

granted in part and denied in part.


                                  GENERAL BACKGROUND

        On June 29,     2016,      Steves and Sons,              Inc.   ("Steves")       filed

this     action   against    JELD-WEN,          Inc.       ( "JELD-WEN")    by    filing     a

COMPLAINT     FOR     INJUNCTIVE       AND     DELCARATORY        RELIEF,      DAMAGES    AND

SPECIFIC     PERFORMANCE     (ECF      No.     1).       The   Complaint    contained      six

counts, including COUNT ONE which alleged a violation of Section

7 of the Clayton Act,         §    15 U.S.C.         §   18, and sought damages under
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 Section    4   of    the     Clayton    Act,     and    injunctive        relief       under

 Section 16 of the Clayton Act, all by virtue by an allegedly

 illegal   merger      that     occurred     in    2012      but    that    subsequently

 substantially        lessened       competition        in   the     so-called      molded

 interior doorskin market. COUNT TWO alleged various breaches of

 contract. Steves voluntarily dismissed COUNT THREE (Breach of

 Warranty),     COUNT       FIVE   (Specific      Performance),           and    COUNT    SIX

 (Trespass to Chatels). In COUNT FOUR, Steves sought declaratory

 relief and that claim remains for decision by the Court.

       COUNTS   ONE     and    TWO    were   tried      to   a     jury    and    the    jury

 returned a verdict in favor of Steves on both the antitrust

 claim and the breach of contract claims.                          Steves’ claim for

 equitable relief is based on the jury’s finding of liability on

 the antitrust violations in COUNT ONE and arises by virtue of

 Section 16 of the Clayton Act.

       By agreement of the parties, the record in the antitrust

 and breach of contract trial is part of the record upon which

 the decision respecting Steves’ motion for equitable remedies

 will be decided. In addition, the Court conducted a three day

 evidentiary         hearing       during    which       the       parties       presented

 additional evidence on the issues of equitable relief.

       Equitable relief under Section 16 of the Clayton Act must

 be tethered to the alleged violation of Section 7 of the Clayton

 Act found by the jury. It is therefore appropriate briefly to

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 summarize the evidence upon which the jury found that JELD-WEN

 had violated Section 7 of the Clayton Act.

       The    product        at    issue     in       this     litigation      is     called   an

 interior molded doorskin.                 It is created by pouring a moist,

 softened fibrous material (treated with resin and wax) into a

 mold and then subjecting it to heat and pressure.                                 The doorskin

 is a component part of an interior molded door which is made

 with a four-sided wooden frame and certain filling material to

 which the molded doorskin is glued. The doorskin provides the

 decorative covering for the front and the back of the door. The

 end product resembles a solid wood door but is much lighter and

 can be made and shipped at a considerably lower cost than a

 solid wooden door.

       Steves and JELD-WEN both sell interior molded doors. JELD-

 WEN also makes doorskins, some of which it uses to make its own

 doors,      and   some       of     which        it     sells       to     independent     door

 manufacturers         (the       “Independents”)             of    which    Steves    is   one.

 Steves has never made its own doorskins and has to purchase

 doorskins from doorskins manufacturers.

       From     2001    to    2012,    there           were    three      manufacturers     from

 which    the      Independents,           including            Steves,      could     purchase

 doorskins:        Masonite         Corporation,              JELD-WEN,      and    Craftmaster

 International      (“CMI”).           All    three          were    vertically       integrated

 manufacturers of doorskins and interior molded doors.                                 In 2011,

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 Steves was negotiating for possible long-term supply contracts

 with all three manufacturers.             In May 2012, JELD-WEN and Steves

 entered    into    a     long-term        supply   agreement      (the     “Supply

 Agreement”) that was to last for seven years and that contained

 an evergreen provision by which the contract was automatically

 renewed   annually      if    notice     of   termination   was   not     given    in

 accord with the provisions of the Supply Agreement.                        In June

 2012, JELD-WEN announced that it intended to acquire CMI and the

 acquisition was completed in October 2012.

       The jury found that, as a consequence of the merger and

 JELD-WEN’s    conduct        in   2014   and    thereafter,    competition        was

 substantially lessened in the doorskin market and that, as a

 result, Steves sustained injuries of the type that the antitrust

 laws were designed to prevent.                  Thereupon, the jury        awarded

 Steves $58,632,454.00 in antitrust damages which, when trebled

 as required by statute, amounts to antitrust damages in the

 amount of $175,897,362.00. The jury also found that JELD-WEN had

 breached Sections 1, 6, and 8 of the Long Term Supply agreement

 and awarded damages in the amount of $12,151,873.00 on account

 of those breaches. That award will be reduced by $2,188,271.00

 because the Court granted JELD-WEN, INC’S MOTION FOR JUDGMENT AS

 A MATTER OF LAW AGAINST STEVES & SONS, INC. (ECF No. 1773).

       As a primary equitable remedy, Steves asks the Court to

 order   JELD-WEN   to    divest      Towanda    (formerly     part   of   CMI)    to

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 restore competition in the doorskin market.                 Steves also asks

 the Court to impose certain so-called “behavioral” or “conduct”

 remedies, including restrictions and obligations on JELD-WEN, to

 the end that the divested entity will be able to successfully

 operate     as    a    stand-alone      independent     business   or    to    be

 successfully combined with the assets of the acquiring party so

 as to become an effective competitor.                  To those ends,     Steves

 contends    that      the   equitable    remedy   of    divestiture     must   be

 accompanied by the following conduct remedies:

       (1)   transfer of    all tangible assets and likes
             necessary to develop, manufacture, and sell
             doorskins at Towanda;

       (2)   a transfer of licensing of all intangible assets
             used in the development, manufacturing, and sale
             of molded doorskins at the Towanda facility to
             include:

                 Transfers or licenses to the purchasing
                  entity of patents used to make doorskins,
                  schematics or designs used to manufacture
                  doorksins, customer lists, vendor lists,
                  and know-how in trade secrets to operate
                  the facility

       (3)   an Order assuring that the acquiring entity can
             retain the services of the employees currently
             operating the Towanda facility;

       (4)   an Order prohibiting JELD-WEN from hiring their
             employees for at least two-year transitional
             period;

       (5)   a provision requiring the divested entity to
             offer an eight-year long-term supply agreement to
             Steves at reasonable prices and terms (based on
             the LTSA);


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       (6)    a    provision    allowing   independent   door
              manufacturers like Lynden, Haley, and Excel to
              terminate their supply agreements with JELD-WEN
              without penalty; and

       (7)    a provision allowing JELD-WEN to be allowed to
              buy doorskins from the divested entity for a
              period of two years, the so-called transition
              period.

       At     the   trial    on    the    merits,    Steves        proved,     by     a

 preponderance of the evidence that, before JELD-WEN acquired CMI

 in 2012, there was a competitive doorskin market with three

 vertically integrated suppliers.              Indeed, the evidence showed,

 and the Court finds, that the competition among those three

 suppliers was vigorous and quite effective.                 The merger reduced

 the number of suppliers to two.                Steves also proved that the

 merger      substantially    lessened        competition     in    the      doorskin

 market.      The issue now to be decided is how competition can be

 restored, and whether divestiture of Towanda (without or along

 with the requested conduct remedies) is the correct, and, as

 Steves urges, indeed the only way to do that.

 I.    FINDINGS OF FACT

       In    making   the    decision     about    equitable       relief,    it     is

 necessary to respect and apply the jury’s findings which are

 binding factual findings and then for the Court to make factual

 findings     based   on    the   trial   record    and     the    record     at    the

 Remedies Hearing.



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       A.    Jury Findings

       The jury found that “JELD-WEN’s acquisition of CMI violated

 Section 7 of the Clayton Act.” (ECF No. 1022, ¶ 1). The jury

 also found that “JELD-WEN’s violation of the Clayton Act caused

 an injury to Steves that was of the type that the antitrust laws

 were intended to prevent.” (ECF No. 1022, ¶ 2). As to antitrust

 damages, the jury found:

            3.   (a) As to COUNT ONE, we, the jury, find by
       a preponderance of the evidence, that the plaintiff is
       entitled to damages for antitrust injuries already
       sustained as a result of the following conduct (if
       none, write “0”):

                   (1)   JELD-WEN’s overcharging Steves for
                         doorskins (other than Madison or
                         Monroe)

                         $8,630,567

                   (2)   JELD-WEN’s overcharging Steves for
                         Madison and Monroe doorskins

                         $1,303,035

                   (3)   JELD-WEN’s    shipping    defective
                         doorskins to Steves and failing to
                         reimburse    Steves    for    those
                         doorskins

                         $441,458

                   (4)   JELD-WEN’s refusing to reimburse
                         Steves for the cost of doors that
                         incorporated defective doorskins

                         $1,776,813

             (b) As to COUNT ONE, we, the jury, find by
             a preponderance of the evidence, that the
             plaintiff is entitled to damages in the

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                amount   of  $46,480,581   for           future     lost
                profits. If none, write “0.”

       Those findings are binding on the Court.


       B.       Factual Findings by the Court

       The Court finds the following facts that pertain to the

 issues of equitable remedies as the parties have emphasized them

 in the briefing.           Additional fact findings are set out along

 with topics to which they relate in the Conclusions of Law.                     All

 findings of fact are proved by a preponderance of the evidence.


                1.    Interior Molded Doorskin Market in 2001

       As explained above, Steves and JELD-WEN were in 2012, and

 are now, participants in the interior molded doorskin market in

 the United States.          Steves is an independent door manufacturer

 that has never produced its own doorskins. As a result, it must

 purchase       doorskins     from     doorskin      manufacturers.        JELD-WEN,

 however, is a vertically integrated door manufacturer, meaning

 that it both produces doorskins                 and uses      them internally to

 manufacture and sell finished doors.

       Before 2001, JELD-WEN and Masonite were the only doorskin

 manufacturers in the United States.                In the 1970s, Masonite had

 built      a    manufacturing        facility      in   Towanda,       Pennsylvania

 (“Towanda”),        the   facility    that    is   at   the   center    of   Steves’

 request for equitable relief.


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        In   2000,      Masonite       was     owned          by    a   parent          company,

 International Paper Company.                Masonite primarily sold doorskins

 made at Towanda to Premdor, Inc., but it also sold to eleven

 other    independent        door    manufacturers.           Towanda,       as    a     part    of

 Masonite, did not have “standalone administrative departments”

 with     research      and    development,             accounting,      or        sales        and

 marketing    capabilities;          those     services        were     instead         provided

 from    separate      locations      by   either        Masonite       or    International

 Paper.

        In 2000, Premdor agreed to buy all of Masonite, including

 Towanda,     from     International         Paper.       However,      after           Premdor’s

 competitors       expressed        concerns       to   the    Department          of    Justice

 (“DOJ”) about the effect of the acquisition on the supply of

 doorskins, International Paper and Premdor reached a settlement

 with the DOJ.          Pursuant to that settlement agreement, Towanda

 would be divested and set up as a separate entity to be known as

 Craftmaster International, Inc. (“CMI”).

        CMI was to serve as a doorskin supplier to Masonite and

 JELD-WEN and other customers among the Independents. CMI was

 then incorporated on September 1, 2001, after Premdor’s purchase

 closed.     In    March     2002,    following         an    auction        sale,       CMI    was

 purchased        by   its    new    owners,       who       also   owned         two    of     the

 Independents, Haley and Woodgrain.



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         When CMI was incorporated, International Paper and Masonite

  also entered into certain agreements with CMI to enable it to

  function as an independent entity. First, International Paper

  and Masonite would provide administrative and technical support

  services to CMI until it could set up its own services—a process

  that   eventually         took      longer   than       a    year.   Second,    CMI    and

  Masonite would be            given three years              to manufacture the dies

  needed   to       produce    certain     types     of       doorskins,   so    that   both

  entities could offer the same complement of doorskins to their

  customers.         Even      though     Towanda         and       Masonite’s    doorskin

  manufacturing plant in Laurel, Mississippi (“Laurel”) were “very

  similar,” certain products were made only at Towanda, and some

  were made only at Laurel. Similarly, CMI would sell doorskins to

  Masonite, and vice versa under set terms for three years to help

  assure   that       CMI     would    prosper      going      forwards.    Finally,     CMI

  received      a    royalty-free        license     to       use   such   of    Masonite’s

  intellectual property as was necessary to manufacture doorskins

  at Towanda.


                2.     CMI’s Performance as Independent Doorskin
                       Supplier Before the Merger: 2002-2012

         According to Bob Merrill (“Merrill”), the former CEO of

  CMI, and a current JELD-WEN executive, CMI did not become a

  “completely standalone entity” until a little more than two and

  a half years after it was divested from Masonite. CMI’s initial

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  financial performance was strong because it could control costs

  and reduce overhead through the separation agreements, and the

  housing bubble increased demand for new homes and for doors, and

  in turn, component supplies like doorskins. For instance, in

  2006—a year after the peak of the housing bubble—CMI’s net sales

  were    [      ],    and    its   profitability     was     [       ],    calculated    as

  earnings before interest, taxes, depreciation, and allocations

  (“EBITDA”).1        The Independents, including Steves, also benefitted

  from increased competition between CMI, Masonite, and JELD-WEN,

  each of which tried to create and sell new styles of doorskins

  as part of their efforts to win customers.

         CMI also used Towanda to manufacture two so-called “trim

  board” products, MiraTEC and Extira.                     Masonite had started the

  MiraTEC business in 1998, but it had yielded only about [                           ] in

  revenue (and negative EBITDA) by the time Towanda was divested

  in     2001.    However,      CMI   viewed       both     MiraTEC        and   Extira   as

  undeveloped products that held considerable promise and “worked

  to   grow      [them]      aggressively.”    As     a    result,     those      products’

  financial performance “grew rapidly,” and they were responsible

  for over [          ] in revenue and more than [                ] of EBITDA at CMI’s

  peak    in     2006.    Moreover,    they    were       important    contributors       to

  CMI’s overall business after the housing bubble burst; indeed,


  1
    EBITDA is a “surrogate . . . for cash flow” that investors use
  as an approximate measure of an entity’s profitability.
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  Merrill testified that they were “the only thing that really

  kept [CMI] afloat.”

        Like    Masonite,      CMI    initially          sold       doorskins    to     eleven

  Independents in the United States and Canada. But beginning in

  2003, CMI’s customer base contracted significantly because eight

  of those eleven customers were acquired by companies to which

  CMI did not sell doorskins. In addition, CMI had only one long-

  term doorskin supply agreement, which ended when that customer

  was    acquired       by     Masonite.          This     customer           consolidation

  significantly reduced the volume of doorskins that CMI could

  sell. Consequently, the company took a cue from JELD-WEN and

  Masonite and “forward integrat[ed]” from 2005 to 2010, buying

  two   door    manufacturers        and    building        two       door    manufacturing

  plants to allow the company to more efficiently use the doorskin

  volume     produced     by   Towanda—that          is,        by    selling        doorskins

  internally     as    well    as    externally.          By    2011,      CMI’s      internal

  doorskin     sales    constituted        nearly   40%        of    its     total    doorskin

  sales.

        There is a dispute respecting the performance of Towanda’s

  doorskin business from 2009 to 2014.                    Steves relies on PTX 341

  and PTX 342 to show that, looking only at the doorskin business,

  Towanda posted positive EBITDA annually from 2009 through 2013

  and   that    there    was    positive,         albeit        not    sizeable,        EBITDA

  projected for 2014. And, that is what those documents show.

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        The record is not entirely clear as to the provenance of

  PTX   341   and   342,   but   the   record     does   prove   that   JELD-WEN

  prepared these figures based both on historical CMI records (for

  2009 through 2012) that were acquired in the merger and on JELD-

  WEN’s own records thereafter. And, JELD-WEN used these documents

  to make business and strategy decisions. Thus, even though their

  provenance is not entirely clear, the record shows that they are

  reliable and probative of the state of the doorskin business at

  Towanda for the period involved.

        JELD-WEN takes the view that the profitability of Towanda

  in 2011 and 2012 should be determined by CMI’s audited financial

  statements, DTX 191, and by the information that JELD-WEN gave

  to the DOJ in August 2012, DTX 60. And, JELD-WEN says that the

  most important evidence on that point came from the testimony of

  Bob Merrill at the Remedies Hearing where Merrill testified that

  the   figures     in   PTX   341   and    342   were   not   consistent   with

  documents that he had seen.

        The Court does not credit DTX 191 or DTX 60 on the issue of

  the profitability of the doorskin business at Towanda because

  those documents reflect information about CMI as a whole, not

  just Towanda’s doorskin business. And, CMI had other businesses

  such as the door business and the trim business (MiraTEC and

  Extira) and locations other than Towanda.



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        Nor can the Court credit Merrill’s testimony. If, as he

  said was the case, Merrill had documentary evidence to refute

  the proofs that appeared in PTX 341 and 342, those refuting

  documents would have, indeed should have, been produced. They

  were not. As a result, Merrill’s testimony on the profitability

  of the doorskin business at Towanda for the time period involved

  is rejected as not reliable.

        The evidence on this issue is probative in the remedial

  phase of these proceedings because, to find that divestiture is

  an   appropriate      remedy,    the    Court       must    be    satisfied      that   a

  divested Towanda can operate competitively and profitably in the

  doorskin market. And, the fact that Towanda did that in the

  past, even in the face of adverse market conditions, is evidence

  that supports a finding that a divested Towanda could do so now.

        In any event, it is not disputed that CMI, as an entity,

  was in difficult financial straits in 2011 and 2012 before the

  merger.    CMI    certainly     was    not    profitable         then,    even   with   a

  slightly    positive        EDITDA    from    the    doorskin       business     and    a

  positive contribution from the Miratec and Exitera lines.

        Indeed, by 2011, CMI’s owners had been forced to invest

  their own funds into CMI to support its cash flow. Thus, after

  exploring several options, they decided to sell the company by

  putting    it    up   for   auction.         As   part     of    that    process,   they

  engaged an investment firm that worked with CMI’s management to

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  prepare offering documents, send out teaser memos to prospective

  buyers,    and    solicit     bids   from     interested    entities.     One   such

  entity was Steves, which, in October 2011, offered to invest

  [    ] in CMI in exchange for a minority ownership stake in the

  company. See DX-462 at 6. CMI’s owners rejected the offer, and

  Steves did not pursue that possibility any further. CMI then

  identified       what    management      considered    to    be     the   “serious

  prospective buyers” (either four or five) that had submitted

  purchase     bids,      and   selected      JELD-WEN   and    Masonite     as    the

  finalists. JELD-WEN was ultimately chosen as the buyer because

  of    concerns       about    Masonite’s       intentions     for    CMI’s      door

  manufacturing plants.

        In sum, CMI’s doorskin business was quite profitable, and

  CMI was a competitive factor in the doorskin market from the

  time of its creation until the housing crisis.                    Even during the

  housing crisis, the doorskin component of CMI’s business (i.e.,

  Towanda) fared adequately (with slightly positive EBITDA).                      But,

  by 2011, it was necessary to put the entirety of CMI up for

  sale.      And, even under those conditions, there were several

  serious buyers.


              3.     JELD-WEN’s Acquisition of CMI and Execution of
                     the Supply Agreement with Steves

        JELD-WEN was interested in acquiring CMI for three main

  reasons: (1) the availability of doorskins of a certain height

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  that    were    made    at     Towanda;    (2)    the   lower   costs    and        higher

  efficiency of Towanda; and (3) the possibility of manufacturing

  MiraTEC and Extira (so-called “trim” products) at Towanda in

  addition       to    doorskins.        JELD-WEN     wanted   to    maintain          CMI’s

  doorskin volume, so it entered into long-term supply agreements

  with three of CMI’s existing customers: Haley, Woodgrain, and

  Lynden Door (“Lynden”). The first two contracts were agreed to

  as part of JELD-WEN’s acquisition of CMI (“the CMI Acquisition”)

  because Haley and Woodgrain were also owned by CMI’s owners. See

  PTX-115 ¶ 1.

         In 2011, JELD-WEN and Steves were parties to a long-term

  doorskin supply agreement that they had executed in 2003. But,

  in   2011,     JELD-WEN      terminated     that    agreement.     Later       in    2011,

  Steves initiated discussions with JELD-WEN about another long-

  term supply agreement. And, as part of its plan to secure merger

  approval, JELD-WEN entered into the current Supply Agreement.

         Thus, it was that, on May 1, 2012, Steves and JELD-WEN

  entered      into    the    Supply     Agreement,    pursuant     to    which       Steves

  would     purchase         doorskins    from      JELD-WEN   on    defined          terms.

  Stipulation of Undisputed Facts (ECF No. 1003-1) (“Stip.”) ¶ 10;

  see also Supply Agreement (PTX-149) at 1. Those terms applied to

  “the full range of JELD-WEN molded doorskin products.” Supply

  Agreement § 1. The Supply Agreement would be in effect through

  December       31,     2019,    but     would     automatically        renew        for   a

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  successive seven-year term unless either party terminated the

  contract. Id. § 2.       Steves could terminate the Supply Agreement

  for any reason upon two-year written notice to JELD-WEN, and

  JELD-WEN could likewise terminate it without cause upon seven-

  year written notice to Steves. Id. § 3(a)(2)(b).

        The    doorskin   prices    that      JELD-WEN   could   charge    Steves

  varied according to a contractually defined formula based on

  JELD-WEN’s    key    input    costs.   The    Supply   Agreement,   in   fact,

  obligated JELD-WEN to give Steves annual notice of the prices

  and input costs for the coming year by November 30, and JELD-WEN

  could not impose any price increases if it failed to do so. Id.

  § 6(c). Although Steves had to purchase at least 80% of its

  interior    molded    doorskin    requirements     from   JELD-WEN,      Steves

  could purchase any quantity of doorskins from another supplier

  that offered a price at least 3% lower than JELD-WEN’s purchase

  price, after JELD-WEN had the chance to match that lower price.

  Id. § 4. Beyond those pricing provisions, the contract required

  JELD-WEN     to     provide    Steves       with   doorskin     products     of

  satisfactory quality. If any doorskins were defective, JELD-WEN

  would have to reimburse Steves for the cost of those doorskins,

  but only after JELD-WEN’s inspection and verification of the

  defect. Id. § 8. Reimbursements for any other costs beyond the

  price of the doorskins were to be negotiated on a case-by-case



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  basis,      Supply     Agreement § 8,             such     that    they    were        never

  mandatory.

        Finally, any disputes under the Supply Agreement were to be

  resolved      under     a       rather     protracted          alternative        dispute

  resolution process.             Only when that process was exhausted could

  a   party   begin     litigation.        That      process    would   begin      with     an

  internal conference between the parties’ senior executives. If

  they could not reach a resolution within thirty days of the

  dispute being submitted, the parties would have to proceed to

  mediation. A lawsuit could then be filed only where mediation

  had failed to yield a solution to the parties’ disagreement. Id.

  § 10.

        On    July     18,    2012,        soon      after     executing     the     Supply

  Agreement,     JELD-WEN         publicly     announced       the    CMI    Acquisition,

  Stip. ¶ 9, the completion of which was contingent on regulatory

  approval by government agencies, see PTX-115 ¶ 5; DX-50 § 6.1.

  Early in 2012, JELD-WEN and CMI had decided to preemptively

  request     approval       of    the   transaction          from   the     DOJ    because

  executives from both companies had been involved in Premdor’s

  acquisition     of     Masonite,       and      were     therefore       aware    of     the

  problems that DOJ review could pose.                       The record is clear that

  JELD-WEN decided to approach the DOJ only after it had entered

  into long-term supply contracts with the Independents, knowing

  that this oft-used tactic would assuage the concerns of the DOJ

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  and    the       Independents            about     anticompetitive                effects    of    the

  proposed merger.

         After JELD-WEN approached the DOJ, the agency’s Antitrust

  Division      notified          JELD-WEN        that     it     had    opened       a    preliminary

  investigation into the proposed CMI Acquisition. Representatives

  of    CMI    and      JELD-WEN—Merrill            and    James        Morrison        (“Morrison”),

  respectively—then              gave      presentations           to        the     DOJ    about        the

  Acquisition.           See    DX-60;      DX-54.         That       presentation           emphasized

  that JELD-WEN had entered into long-term supply contracts with

  the Independents.                  Thereafter, the DOJ also contacted Steves,

  which told the DOJ that it did not oppose the merger because it

  believed that the Supply Agreement would prevent JELD-WEN from

  taking       any      anticompetitive            actions.        The        Antitrust       Division

  subsequently closed its investigation on September 28, 2012, see

  DX-48, and the Acquisition was completed on October 24, 2012.

  Stip. ¶ 8. The final purchase price paid by JELD-WEN was [                                        ].


                   4.     JELD-WEN’s Integration of CMI’s Operations

         Following             the     merger,          JELD-WEN             made     some     general

  administrative           changes.         For     instance,           it     closed      CMI’s     head

  office      in     Chicago         and   two     of     CMI’s    four        door    manufacturing

  plants,       and       transitioned             CMI’s        human        resources,       payroll,

  insurance,            safety,       environmental,            and      health       and     benefits

  functions into JELD-WEN’s organizational structure. DX-933 at 2.


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  Although JELD-WEN and CMI accounting managers were supposed to

  develop an integration plan, see DX-933 at 2, the accounting

  systems    for    Towanda        and   for     JELD-WEN’s      “legacy      plants”      (the

  doorskin plants that it originally owned and developed) remain

  separate,       with    Towanda        using       different      accounting      software.

  Similarly, the consolidation of JELD-WEN’s and CMI’s operations

  has apparently not affected certain interactions with customers,

  at least from Steves’ perspective. Steves still orders and pays

  for doorskins from Towanda in the same way it did before the CMI

  Acquisition;       the      same      is    true    for     Steves’      orders    of,   and

  payments for, doorskins from JELD-WEN’s legacy plants.

        At the time of the merger, JELD-WEN operated a doorskin

  plant     in    Marion,       North        Carolina     (“Marion”     or    “the    Marion

  plant”).       However,     Marion’s         design    prevented      it    from   meeting

  environmental regulations, and bringing the plant up to standard

  was   projected        to   be     costly     and     time-consuming.       In    addition,

  Marion was both inefficient and unprofitable, with old equipment

  in poor condition.               On the record as a whole, the Court finds

  that the Marion plant was closed because of the projected cost

  to bring it into compliance with environmental regulations, and

  the     projected      cost      to    improve        its   old    and     ill-maintained

  operational equipment, not because of the acquisition of CMI.

        Nevertheless, the acquisition of CMI allowed JELD-WEN to

  move Marion’s doorskin production to Towanda. Moving Marion’s

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  doorskin production to Towanda—a very efficient and less cost-

  intensive plant—would therefore enable JELD-WEN to save around

  [    ] in manufacturing costs, and would eliminate [                        ] in fixed

  costs    associated       with    maintaining       Marion      as   an    operational

  plant.      JELD-WEN mothballed Marion in June or July 2013.

        In 2011, JELD-WEN had determined that its Dubuque plant was

  “[i]mpaired,” PTX-668 at JW-CIV-00369666, which is analogous to

  a decision to close the plant. Because Dubuque was situated in

  an   urban     environment        that    was    not        conducive     to   doorskin

  manufacturing,       it    was    JELD-WEN’s     second-most         expensive     fiber

  facility. The location of the Dubuque plant restricted JELD-

  WEN’s ability to perform necessary environmental control tasks.

  DX-935 at 2. Dubuque would have been closed in 2011, but closure

  in   2011    was    not   practical       because      of    startup      problems   and

  doorskin quality issues that were occurring at JELD-WEN’s newly-

  opened   plant      in    Dodson,      Louisiana    (“Dodson”).         PTX-668.     Once

  JELD-WEN acquired CMI, it closed the Dubuque plant because the

  capacities     of   Dodson       and   Towanda     together     rendered       Dubuque’s

  doorskin production unnecessary to overcome the problems at the

  Dodson plant. See DX-935 at 2, 5. JELD-WEN sold Dubuque in or

  around August 2016.          Morrison, who recommended that Dubuque be

  closed and sold, testified that he would not have made that

  recommendation if the CMI acquisition had not occurred or if

  there was a reasonable chance that JELD-WEN would have to divest

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  Towanda. For reasons set forth later, the Court declines to

  credit Morrison’s testimony, finding him to be an untruthful

  witness.      But, apart from that, the record shows that JELD-WEN

  had determined to close Dubuque before the merger.

        JELD-WEN also made certain process changes at the Towanda

  facility after the CMI Acquisition. It spent around [                                         ] to

  install its own manufacturing processes at Towanda by the end of

  2013.     Among other changes, JELD-WEN: switched the primer used

  to JELD-WEN primer instead of more expensive third-party primer;

  reduced    the      amount     of   petroleum      wax     and    resin    used         to     make

  doorskins; enabled Towanda to make lower density doorskins and

  thereby     save       on      specific     component        costs;        improved             the

  humidization process; and reduced the thickness of doorskins.

  DX-933 at 3.         The changes made by JELD-WEN to the manufacturing

  process    also        have    resulted     in     annual        savings       on       doorskin

  manufacturing        costs.         The   record      is   that    the     [        ]    expense

  yielded annual savings of approximately [                         ]. See DX-190 at 2.

  On this record as a whole, the Court finds that, because all of

  these processes were useful, and used, in other facilities, they

  would     have      been      implemented        in    any       event     and          are     not

  attributable to the merger.

        After      the    merger      and   over     time,     JELD-WEN          made      capital

  improvements to Towanda in order to improve the state of the

  facility      and      to     decrease    the    doorskin         defect       rate.          These

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  investments      included:    (1)    adding      new   doorskin    dies,     coating

  equipment,       refiners,        steam     injection     valves,       a    coating

  manufacturing      plant     to     produce     primer    at     Towanda,     and   a

  hydraulic commander to enhance doorskin fiber quality; DX-909 at

  13; (2)    replacing    a line stacker that suffered from quality

  issues,    the    sprinkler       system,      malfunctioning     mat     separation

  conveyors, a fiber bin with water infiltration problems, and

  pressure pumps; DX-909 at 13-14; (3) repairing roofs to prevent

  water infiltration; DX-909 at 13; and (4) upgrading the doorskin

  coating process and boiler operating system. DX-909 at 14; DX-

  917.

         These steps cost JELD-WEN around [                ] in 2015 and [        ] in

  2016. DX-909 at 13-14.             All told, JELD-WEN estimates that it

  spent approximately [         ] in capital improvements from July 2014

  to July 2017).         The investments have generated benefits for

  JELD-WEN. Many of the improvements noted above were deemed “high

  return    on   investment     projects,”       meaning    that    their     projected

  annual savings were only slightly less than their initial costs.

  DX-909 at 13-14. And, the record shows that the total returns

  from those projects to date exceed their total expense.

         Through Morrison, JELD-WEN offered evidence that it would

  not have pursued them if there was a possibility that the CMI

  Acquisition would not be consummated or that divestiture would



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  be    required.       As    explained,     the     Court   simply    does     not   find

  Morrison to be a credible witness.

         However, it is, of course, self-evident that JELD-WEN would

  not have made changes to Towanda if the CMI acquisition had not

  been consumated, because JELD-WEN simply could not have done

  that.     So that aspect of Morrison’s testimony is disingenuous.

  And,    the    record      is   that    JELD-WEN    has    known   of   the    risk   of

  divestiture since mid-2015 and still has made many changes to,

  and investment in, Towanda.              So the record disproves that aspect

  of Morrison’s testimony.

         JELD-WEN also asserts that, because it acquired CMI, it was

  able to modify the doorskin designs (“SKUs”) manufactured at

  each of its doorskin plants. After acquiring Towanda, JELD-WEN

  had four operational plants, but each one does not produce all

  the     different       SKUs     offered     to    customers—both        because      of

  increased demand for certain SKUs in different parts of the

  United States, and because of some plants’ inability to make

  certain       SKUs   given      their    actual    production       capacity    (which

  accounts for the die changes necessary to produce a specific

  quantity of doorskins in a given amount of time).2 Instead, in



  2
    A die is a tool used to create a specific doorskin design.
  Because a plant cannot run all its dies simultaneously, the dies
  in service are rotated as needed to meet JELD-WEN’s doorskin
  design needs. However, die changes increase downtime, reducing
  production efficiency and, in turn, production capacity.
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  2013, the company began using a statistical tool called a mix

  model to examine, every quarter, which particular SKUs should be

  produced at specific doorskin plants—in other words, how the

  total “mix” of SKUs should be allocated so that each plant’s

  capacity is utilized most efficiently. The mix model accounts

  for   a   number    of     variables,      including    the     overall     sales   of

  specific SKUs externally, to independent door manufacturers, and

  internally, to JELD-WEN’s door manufacturing plants; the current

  and required location of different doorskin dies; and a freight

  analysis,      which     measures    the    freight     costs    associated     with

  shipping       doorskins      from   the     four     plants     to   the    buyers’

  locations.

        The record shows that JELD-WEN would have developed the mix

  model whether or not it had acquired CMI.                     However, the record

  shows that having product from Towanda to use in the mix model

  provides some unquantified measure of savings to both JELD-WEN’s

  internal customers and its external customers.                    That is because

  the   model     helps    to   balance      doorskin    production     across    four

  plants    in    different      regions     of   the    United    States,     thereby

  reducing transit times and freight costs. If one plant, such as

  Towanda, is closed or divested, then JELD-WEN’s internal and

  JELD-WEN’s freight-paying customers that received doorskins from

  that plant might pay higher freight costs because the doorskins

  would need to be shipped from another plant, from potentially

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  much    farther    away.3      Similarly,         a    customer    who    received       its

  doorskins primarily from Towanda would not be able to receive

  every SKU from other plants without substantial changes to JELD-

  WEN’s mix allocation.            JELD-WEN says that would cause production

  inefficiencies      and    reduced        capacity       that    would    inflate      JELD-

  WEN’s doorskin prices.            All of these apprehended consequences of

  divestiture were posited in general terms, but JELD-WEN offered

  no quantification of the apprehended cost increase.

         The mix model also led to related changes in JELD-WEN’s

  operations,       such    as     a    doorskin        consolidation       process       that

  eliminated trade matches and redundant SKUs between JELD-WEN and

  CMI. That process cost around [                   ] and took a year to complete.

  DX-917.    This    modification           affected      SKU     availability      at   both

  Towanda and JELD-WEN’s legacy plants. However, much like JELD-

  WEN’s manufacturing process changes and capital improvements at

  Towanda,   that     project      “paid      for       itself”    within   a     relatively

  short period after it was finished.                    And, the record is that the

  mix    model   would     still       be   used    and    useful     in    the    event   of

  divestiture.      It would just operate differently.


  3
    JELD-WEN decides which plants will supply particular doorskins
  to customers. Accordingly, even if Steves orders doorskins from
  Towanda, JELD-WEN may supply those doorskins from Dodson or one
  of its West Virginia plants. Because the mix model “balance[s]
  the mix across the group,” the plant identified by the customer
  might not make the requested SKU, or might not have sufficient
  volume for supply from that location to be most efficient for
  all customers.
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        Finally, JELD-WEN improved the MiraTEC and Extira business,

  which   is    independent        of     JELD-WEN’s      doorskin       manufacturing

  business at Towanda. According to Merrill, JELD-WEN is the only

  company that currently makes both trim and doorskin products.

        JELD-WEN has devoted significant resources to growing the

  MiraTEC and Extira business, which was responsible for around

  [     ] of Towanda’s [       ] EBITDA in 2017. Moreover, exterior trim

  and   panel   products      like      MiraTEC   and    Extira    are    “key    anchor

  products” that have allowed JELD-WEN to pursue expansion into

  the   general    building    products       industry,    which       involves    other

  exterior components that JELD-WEN does not yet make, like siding

  and   fencing.    Based     on     this    planned     development,        JELD-WEN’s

  current CFO, L. Brooks Mallard (“Mallard”), has projected 2018

  revenues and EBITDA for JELD-WEN of [                 ] and [    ], respectively.

  See Apr. 12 Remedies Tr. at 710:19-711:21; DX-928 at 2-4.

        Nothing    in   the    record       suggests    that,     in   the    event   of

  divestiture, MiraTEC and Extira products made by an entity other

  than JELD-WEN could not be sold to JELD-WEN’s existing customers

  for those products.         But, if that is the case, the new owner of

  Towanda, not JELD-WEN, would be receiving the net revenues and

  the EBITDA generated by those sales.




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              5.     Post-Merger Interactions Between Steves and JELD-
                     WEN
        Pursuant     to     the      Supply        Agreement,      JELD-WEN     supplied

  doorskins   to     Steves     in    2012     and      2013.     It   is   helpful    to

  understand certain provisions of the Supply Agreement that were

  central to the antitrust violations found by the jury and that

  are important to the conduct of the parties.

        Section 6a of the Supply Agreement sets forth the Initial

  Price of the doorskins to be supplied to Steves by reference to

  Schedule 1.      Section 6b of the Supply Agreement provides that

  the “Initial Price shall remain in effect for the duration of

  this Agreement unless a price increase or decrease takes place

  in accordance with the terms hereof.” Compl. Ex. A.                         Section 6c

  sets out the adjustment mechanism for the price increases or

  decreases   that    are     referred       to    in   Section    6b.4     Section    6c

  provides that price adjustments are to be made with references

  to what are called “key input costs” for Raw Material (wood;

  resin,   wax,    oil,   and     sealer;      paint;      and    packaging)    and   for

  Energy (electric power prices, natural gas prices, boiler fuel.

  (Compl. Ex. A, § 6(c), Sch, 2.)



  4
    By making the damage award in paragraph 3(a)(1) of the Verdict
  Form, the jury had to conclude, based on the evidence, that
  Section 6c operated to measure both price increases and price
  decreases.   That is proved by the testimony of the negotiators
  and the evidence about how the parties administered the
  contract.


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        The record shows that, after the merger, JELD-WEN’s key

  input costs declined every year. Steves’ damages expert, Avram

  Tucker (“Tucker”), testified that, based on his assessment and

  calculations,    JELD-WEN   had    not      disclosed   to   Steves    the   full

  extent of the cost decreases.

        And, notwithstanding       these declining costs, JELD-WEN, in

  2013, 2014 and 2015, increased the prices that it charged Steves

  to   purchase   doorskins      under   the    Supply    Agreement.5        Tucker

  determined    that   JELD-WEN    had   overcharged      Steves    a   cumulative

  amount of 7.87%      in the years        following the       CMI Acquisition.

  Steves’ antitrust expert, Carl Shapiro (“Shapiro”),                   testified

  that other JELD-WEN customers without a supply agreement, such

  as   Excel,   Unidoor,   and    ABS,     experienced    even     greater     price

  increases. Documentary evidence from JELD-WEN’s files confirms

  that testimony.      In addition, JELD-WEN charged Steves markedly

  higher prices for the Madison and Monroe styles of doorskins

  because JELD-WEN took the view that they were outside the scope

  of the Supply Agreement, a view that the jury rejected.

        As Shapiro explained, JELD-WEN’s pricing decisions were a

  consequence of JELD-WEN’s enhanced market power after the CMI

  Acquisition. Following the merger, JELD-WEN and Masonite were



  5
    JELD-WEN did not communicate with Steves about key input costs
  or price changes in 2016 or 2017, so the doorskin prices imposed
  in 2015 remained the same for those years.
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  the only two doorskin suppliers in the United States. Steves

  believed,    as        found    above,   that       the    Supply       Agreement     would

  protect it from any anticompetitive activity.                             Then, in July

  2014,   Orsino’s        replacement      as    JELD-WEN’s        CEO,    Kirk     Hachigian

  (“Hachigian”), sent Steves a presentation made by Masonite on a

  publically available telephone call for its investors in which

  Masonite’s CEO made clear that Masonite would not sell doorskins

  to companies that competed with it in the North American door

  market, as Steves did. Shortly thereafter, in September 2014,

  Hachigian sent Steves a notice                     of termination of the Supply

  Agreement, effective September 10, 2021.6 That letter followed

  Steves’ rejection of Hachigian’s demand to add to the normal

  doorskin     prices       permitted      under       Section      6b     of   the    Supply

  Agreement    a    so-called       “capital         charge,”      which    (according     to

  Hachigian)       was    to     help   offset       the    cost    of     making     capital

  improvements to JELD-WEN’s facilities that made the doorskins

  sold to Steves.           Nothing in the contractual pricing provisions



  6
    Hachigian subsequently sent Steves a letter, in March 2015,
  stating that JELD-WEN reserved the right to assert that the
  Supply Agreement terminated on December 31, 2019 (at the end of
  its normal seven-year term) instead of in September 2021. PTX-
  521. JELD-WEN (through Hachigian) abandoned that position at
  trial. However, proposed acceleration of the termination date is
  further evidence that JELD-WEN was emboldened by the knowledge
  that, in 2014, the substantial lessening of competition caused
  by the merger allowed JELD-WEN to pressure Steves to accept
  JELD-WEN’s new pricing demands.


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  of the Supply Agreement allowed a capital charge.7                             Although

  these events made Steves concerned about its ability to obtain

  an adequate doorskin supply, Steves did not terminate the Supply

  Agreement (as it could have done) to seek a supply elsewhere

  because    Steves    believed       that      there     was     no    viable    supply

  alternative.

        In 2014, Steves also experienced a change in the way that

  JELD-WEN dealt with doorskin defects under the Supply Agreement.

  Before    late   2014,   the   procedure       followed       between    Steves       and

  JELD-WEN was as follows:

              If Steves discovers defects in JELD-WEN’s
              doorskins after receiving them, it completes
              and submits a vendor debit memo (“VDM”) to
              JELD-WEN   to   initiate   the   reimbursement
              process.   From   2010   to   2011,   JELD-WEN
              responded promptly after receiving VDMs,
              sometimes inspecting the defective doorskin
              at Steves’ plant and sometimes extending
              Steves a credit based on a picture of the
              defect.

  In   mid-2014,    JELD-WEN     changed     its   approach       and    significantly

  limited reimbursements for those defects.

        Likewise,     in   2014-15,    JELD-WEN         changed    the    way    that    it

  compensated for defective doorskins that had been incorporated

  in the finished doors that Steves sold to its customers, for


  7
    The record shows that JELD-WEN extracted new contracts from
  other independent manufacturers requiring them to pay the
  capital charge.  That was the result of lessened competition.
  It was either pay or face termination and the loss of doorskin
  supply.
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  which Steves could negotiate for reimbursement under the Supply

  Agreement.      Beginning in 2012, if a Steves’ customer rejected a

  door as defective because of a defective doorskin, Steves would

  give its customer credits for the purchase price of the doors

  (assuming      that    Steves    agreed        with   the       defect    assessments).

  Steves would then seek reimbursement from JELD-WEN for the full

  cost of the doors which had defective doorskin (i.e., the sale

  price that Steves refunded to the customers) and JELD-WEN would

  typically pay that entire amount. In those situations, Steves

  would submit a VDM for the defective door to JELD-WEN, just as

  it did with the defective doorskins.

         However, the record shows that JELD-WEN adopted a policy in

  late    2014   or     early    2015,    to    reimburse         Steves    only   for      the

  defective doorskins, rather than for the full cost of the doors.

  In     explanation,     JELD-WEN       told       Steves    that     “[t]here       was    a

  specific    change      in    their    [door      reimbursement]         policy,”    which

  applied whether the doors with defective doorskins were sold to

  customers or remained in Steves’ manufacturing plant. This shift

  followed    what      Fancher    characterized        as    a    “general    direction”

  from JELD-WEN’s management to “tighten” its door reimbursement

  process.

         At trial, JELD-WEN took the view that, although it was

  never contractually required to reimburse Steves for the cost of

  the doors, JELD-WEN did so as a matter of customer relations.

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  However, it is clear that, because of the substantially lessened

  competition caused by the merger, JELD-WEN no longer felt that

  it was competitively necessary to extend this benefit to Steves

  in 2015 and thereafter.

        The        record    establishes          that       JELD-WEN       will    continue     to

  engage      in    this     same    sort    of    conduct          respecting      pricing     and

  contract administration              in the future.                 That is because, as

  Shapiro      testified,        the    entry          of    another        doorskin     supplier

  besides JELD-WEN and Masonite into the U.S. market is unlikely.

  In addition, JELD-WEN is still charging Steves inflated prices

  for doorskins under the Supply Agreement, including Madison and

  Monroe doorskins. Likewise, JELD-WEN continues to disregard the

  price adjustment provisions of § 6c.                              Moreover, JELD-WEN has

  tried unilaterally to add labor costs as a key input cost under

  Schedule 2 and has refused to supply the backup information for

  the   key    input        costs.     The    jury          found    that    Steves     sustained

  damages      because       JELD-WEN       had    violated         Section        6c   and   other

  pricing     provisions        of    the    contract,         including       those      for   the

  pricing of Madison and Monroe doorskins.                           And, the jury rightly

  found that those damages were the consequence of the antitrust

  violation, i.e., the substantial lessening of competition caused

  by the merger.




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              6.        Steves’ Efforts to Obtain Alternative Doorskin
                        Supply and the Consequences of Not Doing So
        After receiving the original and the accelerated notices of

  termination          from        JELD-WEN,    Steves,         with   knowledge         that   a

  reliable    supply          of    doorskins      was    essential     to   its    survival,

  began to explore ways to obtain doorskins without relying on

  JELD-WEN. Of course, between now and September 2021, Steves can

  purchase as many doorskins as it needs from JELD-WEN under the

  Supply    Agreement.             However,     the      record    proves    that    JELD-WEN

  cannot be relied upon to supply Steves with doorskins after that

  point. Indeed, JELD-WEN has expressed the view that it might be

  necessary to “kill off” a few of the Independents. That, for

  Steves,    is    the    predictable           result     of     terminating      the    Supply

  Agreement.

        Faced with loss of doorskin supply from JELD-WEN, Steves

  tried to arrange a supply contract with Masonite, even after

  Masonite’s July 2014 announcement that it would no longer sell

  doorskins       to    independent         door      manufacturers     such    as       Steves.

  Masonite’s CEO, Fred Lynch, told Steves that Masonite will not

  enter into any long-term supply agreement with Steves.                                   Lynch

  did   advise     that        Masonite       remains      generally    willing      to     sell

  doorskins       to     Steves        on   a    spot      sale     basis,   depending          on

  availability and without a supply agreement. Nonetheless, the

  prices that Masonite has offered Steves are around 37% higher

  than the prices it pays under the Supply Agreement.

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        Unable to secure a reliable, competitively priced source of

  supply from either domestic supplier, Steves approached foreign

  doorskin    suppliers     like      Teverpan,    Kastamonu,     and    Yildiz    to

  explore alternate sources of supply.                  And, those discussions

  continue today. But, the record shows that Steves could fill

  only a small part of its              doorskin    requirements from          foreign

  supply sources.       And, the record shows that foreign suppliers

  can supply only a limited number of the doorskin designs and

  sizes    that    Steves   uses   to   manufacture     its     doors.     Further,

  Steves     has    experienced       serious      quality    deficiencies        with

  doorskin samples that it has received from foreign suppliers.8

        Finally,     Steves     has     investigated      the     possibility      of

  building    its     own   doorskin        manufacturing       plant    (“the    MDS

  Project”) so as to have a reliable source of supply after the

  Supply Agreement ends in September 2021. To that end, Steves

  hired former JELD-WEN employee John Pierce (“Pierce”) in March

  2015 to, among other things, provide information that Steves

  could use in furtherance of its MDS Project. Then, in July 2015,

  Steves   engaged    another      former    JELD-WEN   employee,       John    Ambruz

  (“Ambruz”), for the primary purpose of completing a study about



  8
    In opposing divestiture, JELD-WEN has asserted that it too has
  experienced quality problems with the products made by these
  foreign manufacturers. Indeed, JELD-WEN argues that product from
  foreign suppliers cannot help fill the short-fall in supply that
  would ensue a divestiture of Towanda.
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  the   feasibility       of    Steves       building    a    doorskin        manufacturing

  plant (“the Feasibility Study”). On March 30, 2016, Ambruz e-

  mailed Sam and Edward Steves the completed Feasibility Study,

  which      discussed    the     challenges          associated       with     building     a

  doorskin manufacturing plant—particularly the cost, time, and

  need for a manufacturing partner.

        In early 2017, Steves reached an interim conclusion that it

  could not feasibly build its own doorskin plant.                              The record

  establishes that Steves has made no concrete progress toward

  building     a    doorskin    manufacturing          plant.    However,       Ambruz      and

  Gregory Wysock—a former Masonite employee hired to work on the

  MDS Project in July 2016—are still employed by Steves. Moreover,

  Steves has not completely abandoned its plans to build a plant.

  Thus, Steves continues to look for a manufacturing partner that

  could help construct a plant, and it was in contact with several

  potential        partners    before       trial.    However,     Steves      has    had   no

  further communication with those entities since before the trial

  began.      Considered        as      a     whole,     the     record         establishes

  conclusively         that     Steves         cannot        fulfill      its        doorskin

  requirements from foreign manufacturers or by building its own

  doorskin plant.

        If    Steves     cannot      repair     its    relationship       with       JELD-WEN

  (which, on this record, will not happen) or acquire doorskins

  another way (which, as of now, is not possible), it will go out

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  of business after the Supply Agreement expires in 2021. Steves’

  success rises and falls with its door manufacturing business; in

  2017 alone, its interior molded doors sales constituted around

  70% of its total revenue. And Steves cannot make those doors

  without    interior    molded   doorskins.      Consequently,    if   Steves

  cannot obtain a reliable doorskin supply, its business will soon

  fail.

        That event would affect the 1,100 employees that currently

  work for Steves, and the members of the Steves family, which has

  run the company since it was founded in 1866. Steves’ principal

  officers, Edward and Sam Steves, are the fifth generation of the

  Steves family to manage Steves. Moreover, Sam Steves’ son and

  Edward Steves’ daughter are current employees of Steves, and Sam

  Steves hopes to “pass[] on the reins” to them in the future.

  Maintaining Steves as a family business is an important goal of

  the entire Steves family.


              7.   The Discussions Between JELD-WEN and Steves; The
                   Initiation of Alternative Dispute Resolution
                   Process; The Filing of This Action: 2012-2016
        JELD-WEN has presented the affirmative defense of laches, a

  topic that is separately considered in Section II.C, infra.              The

  record    contains    considerable   evidence    about   what   Steves   knew

  when, and what Steves did (in addition to attempting to secure

  an alternative source of supply as outlined in Section I.B.6).



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  Additional facts on those topics are set out below as well as in

  Section II.C below that addressed the laches defense.

        Steves    began    noticing      doorskin    quality     issues   after     the

  merger as soon as November 2012. However, at that time, it did

  not   view   those      defects   as    a    result   of     the   merger.   It    is

  difficult to pinpoint the exact period when Steves connected the

  dots between the CMI Acquisition and the decrease in doorskin

  quality.9      Similarly,    Steves         had   concerns     about    JELD-WEN’s

  doorskin prices when it received the first notification required

  by the Supply Agreement in late 2012, and had discussions with

  Orsino   about    accurate    pricing        throughout    2013.    However,    that

  initial disagreement concerned whether JELD-WEN’s reduction of

  doorskin thickness should be reflected in doorskin pricing under

  the Supply Agreement, and it was not thought by Steves to be

  related to the CMI Acquisition. In fact, the problems with the

  key input costs provision that underlie Steves’ pricing claims

  in this litigation did not arise until after Hachigian replaced

  Orsino as JELD-WEN’s CEO in early 2014.




  9
    Edward Steves stated during his deposition that he realized in
  early 2013 that the CMI Acquisition had caused the “degradation”
  of doorskin quality. Apr. 12 Remedies Tr. at 637:19-638:8.
  However, he later testified that he did not view the quality
  issues as related to the Acquisition. Id. at 685:6-17.    Having
  heard the testimony and reviewed the deposition, the Court
  concludes that Edward Steves was speaking temporally, not
  causally.
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        The record shows that, as of August 2014, Sam and Edward

  Steves exchanged email messages that used the term “antitrust.”

  For example, on August 12, 2014, Sam Steves e-mailed Edward

  Steves to ask whether Steves was “finished with exploring anti

  trust     issues   if   J[ELD-WEN]       terms   [terminated]      the     supply

  agreement.”    DX-291.    Then,     on    August    26,    Sam    Steves      made

  reference to Steves’ “claim on the overcharge” when considering

  how to respond to a Hachigian e-mail that discussed, in part,

  doorskin pricing under the Supply Agreement.               Sam Steves noted

  that “the antitrust” was “perhaps the most important” issue at

  that point. DX-466.

        Although the emails were offered in evidence, their meaning

  and context was not developed at trial.             As explained more fully

  in Section II.C below, even though Steves was aware of potential

  antitrust ramifications of JELD-WEN’s pricing pressure, changes

  in the treatment of defects, and arbitrary treatment respecting

  the key input costs, Steves reasonably focused its attention on

  finding alternative sources of doorskin supply in an effort to

  survive    JELD-WEN’s    conduct,    rather      than   place    its   hope   for

  survival on pursuing a first of its kind antitrust action.10



  10
    As the parties so often observe, no previous case brought by a
  private party seeking divestiture under the Clayton Act had gone
  to verdict at the time so Steves had no precedents to inform
  whether to pursue such a course or, if pursued, what the
  likelihood of success might be.
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  Many of those efforts took place in the fall of 2014 and early

  2015.     In addition, Steves, quite reasonably, continued to meet

  with JELD-WEN in an effort to find some reasonable commercial

  solution.            Indeed,     JELD-WEN,          largely       through      Hachigian,

  repeatedly      told    Steves       that    JELD-WEN       wanted      some   commercial

  solution.       Faced, as it was with losing the supply of a key

  component of its most important product, Steves was reasonable

  in continuing to try to work on a commercial solution with JELD-

  WEN.

         In early 2015, it became obvious that negotiations with

  JELD-WEN would not work.               Therefore, Steves formally initiated

  dispute    resolution      procedures            under    the    Supply      Agreement   in

  March 11, 2015. See DX-243 at 1; see also PTX-149 § 10(a)-(b).

  The formal invocation of Section 10 did not, however, provide

  JELD-WEN      with     notice    of     Steves’          possible      antitrust    claim.

  However,      the    dispute     process          was     addressed     to     contractual

  matters that lay at the heart of Steves’ antitrust concerns so

  resolution of those issues in the contractually required dispute

  process likely would mean that Steves would have no antitrust

  injury.

         Steves    asked    JELD-WEN          to    meet    for    the    initial    dispute

  resolution      conference      called       for    by     the   Supply      Agreement   on

  March   23,     DX-243    at    2,    but        JELD-WEN    deferred        the   internal

  conferences required by Section 10 until May 2015. Although the

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  focus of those conferences was JELD-WEN’s compliance with the

  key input costs and doorskin quality provisions of the Supply

  Agreement, Steves’ attorney, Marvin Pipkin, also raised Steves’

  antitrust concerns at the second conference, and Bruce Taten

  responded      on   JELD-WEN’s   behalf.       But,     the   record        does   not

  disclose the substance of the discussion about those antitrust

  concerns. After those conferences failed to yield a resolution

  to either the contract or antitrust issues, Steves requested, in

  July 2015, mediation, as is specified to be the next step under

  the   Supply    Agreement,     see   PTX-574    at    1.      That    occurred      on

  September 4, 2015.

        The   mediation was also unsuccessful. At the end of it,

  Steves presented JELD-WEN with a draft complaint that raised

  both the contract and antitrust issues. The parties then chose

  to enter into a standstill agreement, which provided that Steves

  would not sue JELD-WEN on the date of the agreement, and that

  JELD-WEN would give Steves two days’ notice before suing Steves,

  effective for thirty days. See PTX-591. The standstill agreement

  recited the mutual desire of Steves and JELD-WEN to continue

  efforts to work out a solution to their disputes, which then

  included    both     the     contractual       issues      and   the        antitrust

  ramifications of JELD-WEN’s conduct. Subsequently,                     Steves and

  JELD-WEN    entered     into     standstill      agreements          with     similar

  provisions on September 29, 2015; October 13, 2015; January 7,

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  2016; and April 25, 2016. See PTX-593; PTX-606; PTX-641; PTX-

  682.   Sam    Steves     acknowledged     that    these    agreements    permitted

  Steves to file suit on any date other than the dates of the

  agreements themselves, but he said that Steves did not do so

  because it believed that the parties could resolve their dispute

  without litigation, as expressed in the standstill agreements.

         As    it    was   involved   in   this    back-and-forth     process    with

  JELD-WEN, Steves, in December 2015, asked the DOJ to examine

  JELD-WEN’s potentially anticompetitive conduct.                    Steves   gave a

  presentation to the DOJ later that month, and then produced

  documents to the DOJ in January 2016, in response to a civil

  investigative demand. On April 7, 2016, JELD-WEN also made a

  presentation to the DOJ. See DX-45. On May 18, 2016, the DOJ

  closed its investigation without taking any action. See DX-182.

  Steves      then     asked   JELD-WEN     to     execute     another    standstill

  agreement, and when JELD-WEN refused, Steves filed this action

  on June 29, 2016.


                8.     Current Status and Standalone Viability of
                       Towanda
         Whether      divestiture     is   a     viable     remedy   in   this   case

  depends, in part, on whether, if divested, Towanda would be able

  to operate as an effective competitor in the doorskin market and

  thereby restore the competition that the merger substantially




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  lessened.        The   parties        have     quite       different     views       on    the

  subject.

        Towanda occupies 19 of the 275 total acres of land on which

  the   property    sits.       The     plant    consists         of    several    different

  areas: the main plant, which contains the main production lines;

  the   smaller     “die        form”     plant,          where     Masonite      originally

  manufactured doorskins and which still houses a production line

  today; the wood yard, which receives doorskin inputs like logs

  or chips; and the water treatment plant, which removes chemicals

  from water used in the manufacturing process before that water

  is redistributed to the environment through the nearby spray

  fields. All these areas existed when JELD-WEN acquired Towanda,

  and JELD-WEN purchased the entire property. Towanda’s operations

  require more than 400 total employees, and around 300 in the

  main plant alone.

        Towanda has a design capacity of [                        ] doorskins per year.

  That figure reflects Towanda’s maximum production capacity based

  on its design, which accounts for the number of openings in a

  press,   the   number     of    dies     that       can    be    produced     within      that

  opening, the number of times the press can go up and down in a

  specific    period       of     time,     and           some    scheduled     maintenance

  downtime.

        However,     design       capacity           is    not    the    same     as   actual

  production capacity. The latter is more realistic for production

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  calculations because it also incorporates the downtime that is

  required to change dies in the press so that different styles

  (SKUs) can be manufactured. A die change requires waiting for

  the press to cool down, replacing the die (using a crane), and

  then reheating the press.

         Towanda’s two doorskin manufacturing lines are Line 1 (in

  the main plant) and Dieform (in the die form plant). Line 1 is a

  high-volume/low-mix            press,       meaning     that    it    produces    a    large

  quantity of a lower variety of SKUs.                     It currently produces only

  6’8”    doorskins-the          most     common         size    for    residential       con-

  struction—and can only produce between 50-60 different SKUs at

  one time. Line 1 is intended to be the “main production line” at

  Towanda.    Thus,       Line    1     has    fewer      die    changes   and     far    less

  downtime.

         Dieform,     in    contrast,          is    a    high-mix/low-volume           press,

  sacrificing doorskin quantity for SKU variety. It uses smaller

  dies that can be changed without causing as much downtime as die

  changes for Line 1. Consequently, Dieform can produce over 250

  different SKUs, and it accommodates all of JELD-WEN’s 7’ and 8’

  doorskins, as well as its smaller orders for more niche doorskin

  designs. That line’s production capacity is therefore lower.

         Even with Line 1 and Dieform being designed to maximize

  efficiency,      some    unaccounted-for           downtime      is    still     needed   to

  produce    the    many    SKUs      sold.      This     downtime      reduces    Towanda’s

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  current actual production capacity to [                    ] doorskins per year.

  In 2017, and for reasons not explained in the record, Towanda’s

  actual    production      was    [     ]    doorskins.         Towanda’s    current

  doorskin business is strong, generating EBITDA of [                    ] in 2017.

        These earnings are attributable to several factors. First,

  doorskin    volume      has   increased     because    the    housing    market    is

  performing well. There is evidence that the number of domestic

  “housing starts”—new homes for which construction is started—was

  approximately [         ] in 2001, and around [             ] in 2017. Thus, the

  current demand for doorskins is roughly similar to the demand in

  the early 2000s, when CMI achieved positive EBITDA (albeit not

  as   high    as   2006,       when   the    number    of     housing    starts    was

  approximately [         ]). The market has also improved considerably

  since 2011, as reflected in the significantly higher volume of

  doorskins sold to JELD-WEN’s external customers in 2016 ([                         ])

  compared to 2011 ([           ]). Towanda’s volume is also used to supply

  JELD-WEN’s door manufacturing plants, which in 2017 purchased

  about [     ] of Towanda’s [         ] doorskins.

        Second,     the     increased        demand    has     helped     spread    out

  Towanda’s high fixed costs, reducing Towanda’s cost per doorskin

  in 2017 to approximately [             ]. This expense is even lower than

  the [     ] that each doorskin cost CMI at its peak in 2006 (and

  substantially lower than the [                  ] per-doorskin cost at CMI’s

  nadir in 2011).         That reduction is, in part, attributable to

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  JELD-WEN’s changes to Towanda, which have lowered both variable

  and fixed production costs.

         Third, doorskin prices have rebounded since 2011, so that

  JELD-WEN can now charge an average of [                    ] per doorskin—only

  slightly lower than the peak average price of [               ] in 2006.

         Finally, JELD-WEN’s mix model allows it to allocate SKU

  demand    across    its    four   doorskin     plants,    increasing   Towanda’s

  production efficiency and helping it operate at the level needed

  to   achieve   a    profit.   As     Towanda’s    design   capacity    is    [      ]

  doorskins, Towanda therefore must sell around [                     ] doorskins

  each year at prices ranging from [               ] doorskin to be profitable.

  Given the current state of the market, Towanda’s actual capacity

  of [     ] doorskins in 2017 easily surpassed that threshold.11

         The record proves, without dispute, that today Towanda is a

  profitable competitor in the doorskin market.                And, the Court so

  finds.      Also,    the    record    shows,     also    beyond   dispute,       that



  11
     Towanda’s overall profitability is aided by its MiraTEC and
  Extira production. Towanda is the only facility in the world
  that makes those products. They are produced on Line 2, a sealed
  press that sits across from Line 1. However, the manufacturing
  process for doorskins and MiraTEC and Extira is intertwined in
  many respects, so those products share many of the same
  manufacturing facilities in the main plant. As a result, Line 2
  and the production equipment needed for MiraTEC and Extira
  cannot be removed as part of divestiture, because doing so would
  make   doorskin  production   impossible.  Any   acquisition  of
  Towanda’s doorskin business, then, must include the acquisition
  of its MiraTEC and Extira business.


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  Towanda was profitable from the formation of CMI in 2001 until

  the    down    turn     in    the    housing        market      in    2006    and    it    was   a

  competitor       in     the    supply       of     doorskins         to     independent        door

  manufacturers then as well.                 And, the Court so finds.

         JELD-WEN argues that, if divested from JELD-WEN, Towanda

  cannot operate profitably or be a competitor in the doorskin

  industry.        In     support       of    that       view,     JELD-WEN      makes      several

  arguments.

         First,     JELD-WEN          argues        that    divesting         Towanda       in    its

  current       state     would       be     more        complex       than    the     successful

  divestiture       from        Masonite        in       2001.      That      earlier       process

  benefited       from     the    relatively             amicable      relationship         between

  Masonite and SMI and the existence of fewer doorskin designs.

  Towanda and Masonite’s Laurel plant were also similar and the

  designs       offered    by     each       were    “exact      trade      matches,”       so    the

  companies simply needed time to duplicate dies at each plant.

  Here, however, says JELD-WEN, CMI and JELD-WEN had “completely

  different designs” when they merged, and that distinction has

  largely persisted. That, however, is really just an argument

  that    JELD-WEN        would       need    at     least       two    years     to    replicate

  Towanda’s design offerings at its legacy plants. And, thus, it

  relates not to Towanda’s future as a competitive entity, but to

  JELD-WEN’s.



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        Second,     JELD-WEN      says    that   Towanda’s     fixed      costs      would

  increase because it would have to set up its own departments to

  provide administrative and technology services. Those expenses

  are currently absorbed by JELD-WEN and thus not factored into

  Towanda’s per-doorskin costs.             That may well be true, but it

  hardly shows that a divested Towanda would not be profitable or

  competitive.

        Third, says JELD-WEN, Towanda cannot adequately utilize its

  capacity    without      benefitting      from      JELD-WEN’s     other      doorskin

  plants or internal door customers.                   It is true that JELD-WEN

  uses a good deal of Towanda’s output.                    But, it is virtually

  certain that Steves alone would purchase [                   ] doorskins from a

  divested    Towanda.           And,    JELD-WEN      would   buy       some   of     its

  requirements      from   the    new    owner   of    Towanda     (at    least    [     ]

  doorskins) at least for two years while it seeks other sources

  of supply.      And, JELD-WEN might well choose to continue buying

  from Towanda thereafter if, as JELD-WEN has argued, it will not

  likely make up any shortfall by buying from foreign suppliers or

  building another plant.               Further, the Independents reasonably

  can be considered as other potential customers of a new owner of

  Towanda, especially considering (1) the higher prices recently

  extracted    by    JELD-WEN      in    requiring     those     companies        to   re-

  negotiate their contracts and (2) the higher prices sought by

  Masonite.    Combined, (all three) the sales would exceed the 17-

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  18 million needed for profitable operation.12 Thus, the record

  establishes that a divested Towanda likely would be able to sell

  at least as much doorskin product as it did in 2017.

         Of course, the owner of a divested Towanda would find it

  necessary    to    supply   a    more   diverse         range    of    SKUs    than   CMI

  supplied in 2005 or 2006 because fewer SKUs existed at that

  time.     Fancher opined that Towanda could not, as a standalone

  entity,     supply    all   the    SKUs        needed    to     meet    its    external

  customers’ needs—both because “the design mix that would run

  through [Towanda] couldn’t support it,” and because Towanda and

  JELD-WEN’s legacy plants both make designs that the other does

  not.

         However,    the   record    contains       no     particularized        evidence

  from JELD-WEN about which specific SKUs purchased by JELD-WEN’s

  external customers would be implicated by divestiture, or about

  the effect on Towanda’s production capacity and profitability of

  devoting     its     resources    to    meeting         the     SKU    needs    of    its




  12
     The record shows that, in the event of divestiture, JELD-WEN
  would continue to buy from Towanda at least until it could build
  a new plant which would take several years or until JELD-WEN
  could find a reliable source of foreign supply (which, like
  Steves, JELD-WEN has not deemed to be a viable solution). JELD-
  WEN’s counsel have argued that JELD-WEN would not buy from
  divested Towanda.   Because JELD-WEN’s witnesses said otherwise
  and counsel’s argument makes no sense if JELD-WEN is to meet its
  needs, the argument is rejected.
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  customers. The consequence of that evidentiary void is that no

  specific finding can be made.

         Nonetheless, the record does permit the general conclusion

  that divestiture would restrict to some extent Towanda’s ability

  to meet the needs of JELD-WEN’s Independent customers because

  the die changes required to produce the requisite SKU variety

  would     lead       to     increased      downtime        and      reduced     production

  capacity.         This    reduced   capacity       could      also    result    in   higher

  costs for Towanda, which could reduce profitability.                             There is

  no evidence that permits the Court to find whether those costs

  would increase or by how much.

         From this record, the Court finds that a divested Towanda

  would be required to adjust product mix in a not insignificant

  way,    but       that    the   facility    is    capable      of     being   operated    to

  produce       a    mix    of    products    that     will      allow     Towanda     to   be

  profitable         and    competitive      even    if    it   must     make    substantial

  adjustments to do so.

         Finally,          JELD-WEN   argues        that   it      is    not    possible    to

  conclude that a divested Towanda would be competitive because

  the existence of a potential buyer who could profitably sell

  doorskins from Towanda is unknown at this time. It is correct

  that the record does not identify entities, other than Steves,

  that are currently interested in buying Towanda and are capable



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  of    operating    the    plant    within       the    scope     of     their    corporate

  structure or separately.

         Steves is the only entity that has expressed interest in

  acquiring Towanda. However, Steves’ executives admittedly lack

  knowledge about operating a doorskin plant.                        Of course, in the

  event of divestiture, Towanda’s management and line employees

  would be retained, or at least given the opportunity to remain.

  That would be so for a new owner because the retention of its

  operating     personnel     would       afford    the      greatest      likelihood     for

  success in restoring competition that was substantially lessened

  by    the   merger.       And,    that    approach         succeeded      when    CMI   was

  created and divested in 2002 and when CMI was acquired by JELD-

  WEN in 2012.       The record discloses no reason why that approach

  would not be successful again.

         It is not surprising that, at this juncture in the case,

  potential buyers have not emerged.                         This is, after all, the

  first privately brought action under Section 16 of the Clayton

  Act to have gone to verdict and, in which, a private party has

  sought divestiture. And, as the Supreme Court of the United

  States explained in Brown Shoe Co. v. United States, 370 U.S.

  294   (1962),     there   are     not    likely       to    be   firm    expressions    of

  interest until        after the issue of              whether divestiture is             an

  appropriate remedy is settled on appeal and the landscape is

  clear.      But, the record shows that Towanda was a profitable

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  operation before the housing crisis and is once again and that

  its doorskin business produced small, but positive, EBITDA even

  during the housing crisis.                And, even when CMI was up for sale

  in   2011,   at    a    time    when    it    was    not   profitable,     there   were

  several interested buyers.              On this record, the Court concludes

  that buyers for this profitable operation can be expected to

  emerge again when the legal battles are ended.


               9.        Impact of Divestiture on JELD-WEN and Other
                         Entities
        Divestiture has been on the table in this action since it

  was filed in June 2016.              Nonetheless, the record is that JELD-

  WEN has not examined how it would operate in the event that

  JELD-WEN     is    ordered      to     divest      Towanda.       Nor   has   JELD-WEN

  developed a plan for that eventuality.                     Thus, there is no well

  thought-out       or    documented      support      for   how   JELD-WEN     would   be

  affected by divestiture.

        Of course, the absence of such a plan does not foreclose

  testimony from JELD-WEN’s officers and employees giving their

  opinions about how divestiture might affect JELD-WEN”s overall

  operations in a general way and how a divestiture might affect

  JELD-WEN’s customers. And that is how JELD-WEN has chosen to

  present evidence on those topics: by offering opinions of its

  executives.        Those       opinions      may    properly     be   considered   even

  though they come from witnesses who admittedly have not studied


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  the   subject   and     who    are   biased    to    present    the   worst    case

  scenario.

        The lack of concrete analysis and the inherent bias make

  the opinions of JELD-WEN employees about future events (such as

  the     restructuring     of    JELD-WEN’s      company-wide       manufacturing

  operations, potential layoffs, and ripple effects on customers)

  quite speculative and rather unreliable.                    Nevertheless, it is

  possible to conclude that, if Towanda’s capacity is removed from

  JELD-WEN’s orbit, JELD-WEN will encounter, in the short run,

  difficulty manufacturing in its other facilities the number of

  doorskins that it needs to supply its own needs for making JELD-

  WEN doors and the needs of its independent doorskin customers.

        It is helpful to review JELD-WEN’s most recent production

  figures    as   a   benchmark.        In     2017,    JELD-WEN,    company-wide,

  including Towanda, made approximately [                   ] doorskins, consuming

  30 million internally and selling [                 ] to the Independents who

  are its customers, with [             ] of those going to Steves.               If,

  after     divestiture,    Steves     secured        its    requirements   ([      ]

  doorskins) from the new owner of Towanda, JELD-WEN would need to

  produce [       ]   doorskins to meet its needs and those of its

  external customers.

        The record is not precise on the point, but it appears that

  divestiture would result in a short-fall of approximately [                       ]

  doorskins in JELD-WEN’s internal and external needs (excluding

                                          53
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  Steves).          However, that does not take into account that any

  divestiture order necessarily would make provision for JELD-WEN

  to purchase its short-fall from the new owner of Towanda for at

  least two years.           That would be important to JELD-WEN, to its

  customers, and to the new owner of Towanda.

        JELD-WEN also offered evidence that the “full production

  based   on    [m]ix”    figures     in    [the     record   at    PTX-1045]   do   not

  accurately reflect the effect of losing Towanda on JELD-WEN’s

  doorskin      capacity      and    production          volume.    That   is   because

  divestiture would make it necessary for JELD-WEN to redistribute

  to its legacy plants the SKUs that are currently manufactured at

  Towanda      in    order   to     provide        the   quantity    and   variety   of

  doorskins that its customers desire. This change would cause two

  problems according to JELD-WEN. First, if those plants tried to

  accommodate those SKUs, their actual capacity would suffer, to

  some undefined extent, because the additional die changes needed

  would     increase      downtime,        thereby       reducing     efficiency     and

  lowering      volume.      Second,       economics        aside,    producing      the

  necessary quantity of the Towanda SKUs at the other plants is

  not possible without using the dies that are used at Towanda to

  produce those SKUs or making new dies of the same kind.                          Thus,

  those dies would have to be made for the legacy plants to use

  and that would require time.



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        The record does not show how much time or how much money

  that would require because JELD-WEN has not put “pen to paper”

  on that topic or any other relating to how to operate in the

  event of divestiture.          That void notwithstanding, JELD-WEN has

  shown    that      divestiture         would     likely      cause           operational

  dislocations     that    would    affect,      to   an   undefined       extent,       its

  requirements for doorskins in the number of SKUs in its current

  line.    However, because JELD-WEN has not analyzed how it would

  reallocate Towanda’s SKUs, the degree of the resulting total

  capacity      decrease   at   its   legacy     plants,      like       the    degree    of

  impact, is unclear.

        It does appear from the record that it would be difficult

  to replace Towanda’s production immediately. JELD-WEN’s doorskin

  plant in Latvia currently has some excess capacity. However,

  that “excess” does not account for the reality that Latvia has

  never achieved close to its design capacity of [                             ] doorskins

  per   year.    Furthermore,      the    Latvia      plant   is   tailored        to    the

  European      doorskin   market     and    only      produces      a    few     doorskin

  designs that are usable in the U.S. market. Producing some of

  Towanda’s SKUs in Latvia would also require the use of different

  dies than those used now in Latvia, and Latvia is currently

  running close to its total capacity, so                     that its production

  process could not be altered without consequences. The record



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  does not show what those consequences are or what their economic

  impact would be.

        Notwithstanding those difficulties, JELD-WEN’s contingency

  business plans outlining options in the event that a natural

  disaster shuttered one or more of its plants shows that JELD-WEN

  considers     that     its     Latvian    plant,      or    other     domestic      plants

  (including a restarted Marion plant), could be used to augment

  doorskin supplies until the shuttered plant was back on line.

  Thus, contrary to JELD-WEN’s urgings,                       it is not possible to

  conclude     that    divesting     Towanda       would      leave   JELD-WEN     without

  options,     even     in   the    short    term.           JELD-WEN’s    own    business

  records show otherwise.

        The    record     also     leads    to    the   conclusion        that   obtaining

  doorskins     from     alternate      suppliers       or    building     a   replacement

  plant is not any more promising for JELD-WEN than it is for

  Steves.     Because of the merger, the only other domestic supplier

  of doorskins is Masonite, purchase from which is conceptually

  possible     but     not   considered      viable      by    JELD-WEN.       And,    given

  Masonite’s position on sales to the Independents, JELD-WEN is

  likely      correct.       JELD-WEN      conceptually         could     also    purchase

  doorskins from foreign suppliers, such as Teverpan. But JELD-

  WEN, like Steves, has concerns about the quality of doorskins

  made by foreign suppliers, and those suppliers offer fewer SKUs

  than Towanda.          Considering the record as a whole, the Court

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  concludes that foreign suppliers cannot meet a significant part

  of   JELD-WEN’s       requirements    any   more   than   they   can   meet    a

  significant part of Steves’ requirements.

         Finally, the record is clear JELD-WEN could build its own

  doorskin manufacturing plant to replace Towanda’s production.

  And, JELD-WEN is equipped to do that because it has extensive

  experience    building     such   plants.    However,     that   option   would

  require considerable time and resources.             The record shows that

  JELD-WEN would need at least two to two and a half years, more

  likely longer, to complete the project.              The cost to JELD-WEN

  has been estimated to be between [            ] to set up a facility with

  production lines similar to Towanda’s.               That is a very wide

  range and thus is quite imprecise.

         In sum, the Court finds that divestiture of Towanda would

  have   significant,      but   not    well-documented,     consequences       for

  JELD-WEN.     However, nothing in the record permits the Court to

  conclude that divestiture would create the “disaster” that JELD-

  WEN’s counsel urge the Court to find.

         The   record    shows   that   limitations    on    JELD-WEN’s     total

  production capacity could have several collateral consequences.

  For instance, JELD-WEN has long-term doorskin supply agreements

  with several door customers. One of those contracts, with a

  U.K.-based     company      called    Howdens,     provides      for   certain

  penalties if JELD-WEN cannot meet Howden’s supply needs, with

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  the precise consequences dependent on the size and frequency of

  the     failure.     See    DX-943 §§ 3.3,           5.13.    However,       JELD-WEN’s

  obligations with respect to those penalties are subject to a

  force    majeure     clause,13      see   id. § 22,         which    might     apply   to

  capacity     reductions       because       of      a   divestiture      order.        See

  id. § 1.1, at 7. Although Howdens is a foreign customer that is

  supplied primarily by JELD-WEN U.K. and JELD-WEN Europe, see DX-

  943 § 3.3, JELD-WEN’s contracts with domestic customers like The

  Home Depot and Lowe’s contain similar provisions.

        In addition, JELD-WEN argues that both its internal and

  external    customers       would    have      to    deal    with    higher    doorskin

  prices     and   a   less    streamlined            purchasing      process.    Reduced

  doorskin capacity, says JELD-WEN, would force JELD-WEN to raise

  its prices where permitted. Whether that would, or could, be

  done with a competitive Towanda as a supplier was not addressed

  by JELD-WEN’s witness.

        Furthermore, if JELD-WEN’s legacy plants cannot produce all

  of Towanda’s SKUs, customers who previously received doorskins

  made only at Towanda would need to purchase from both Towanda

  and JELD-WEN (or another supplier). And, JELD-WEN projects that



  13
     JELD-WEN’s assertion to the contrary is mistaken. See Def.
  FOF ¶ 190. The contract states that the force majeure provision
  applies “[w]ithout prejudice to clauses 5.10 to 5.16”—that is,
  including the cited penalty provision for delivery failures. DX-
  943 § 22; see also id. § 5.13.
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  losing its external volume altogether would cause it to lose

  almost [       ] of revenue and [              ] in EBITDA. Finally, says JELD-

  WEN,    its    internal           customers—its       own    door     plants—would      lose

  earnings without Towanda because they would lack the doorskins

  needed    to     make       the    current     volume       of    doors.     That   loss     is

  projected to be roughly [                  ] decrease in JELD-WEN’s EBITDA.

         The    Court     is     concerned      that    the        foregoing    figures   were

  belatedly cobbled together for the Remedies Hearing and were not

  produced during discovery so that they could be tested.                                 And,

  although      the   Court         rejected     Steves’      motion     to    exclude    this

  evidence from consideration in the remedies phase of the case,

  it is not the sort of evidence in which the Court can place much

  confidence.         That said, the record shows that divestiture, if

  ordered,       would    result        in    some     not    insignificant       collateral

  consequences.

         Finally,        says       JELD-WEN,    Towanda’s          purchase    price     in   a

  divestiture auction sale would likely not capture Towanda’s full

  value to JELD-WEN. JELD-WEN offered the opinion of its CFO that

  Towanda’s current enterprise value14 is approximately nine times

  its    EBITDA.         By     applying      that    multiplier       to    Towanda’s    2017

  EBITDA of [         ], JELD-WEN contends that the plant’s enterprise



  14
     Enterprise value assesses how the stock market values an
  entity, taking into account the entity’s market capitalization
  and its net debt.
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  value is around [           ]. That number, says JELD-WEN, is the minimum

  a   purchaser       would    have    to    pay        JELD-WEN    in    recognition      of

  Towanda’s worth. According to JELD-WEN, a divestiture sale is

  unlikely to yield this price.

        Whether that multiplier (and hence the asserted enterprise

  value)    is   appropriate       here      is       not    a   matter   that     has   been

  supported by economic evidence. It is, at best, an unresearched,

  undocumented         ball     park      figure.           Nonetheless,      as     Shapiro

  testified,      a     forced     sale      always         contains      some     “presumed

  detriments” for the seller. Id. at 808:16-21. There is nothing

  in the record to suggest otherwise here. However, it is both

  premature      and    improvident         to        conclude    that    a   post-appeals

  bidding process would not yield a fair price for Towanda as it

  exists today. That assessment cannot, and should not, be made

  until there are bids made after the appellate process is ended

  and future buyers have a clear picture that they will not be

  engaged in a futile activity.                  But, the record is sufficient to

  find that Towanda, including its doorskin business, as well as

  the MiraTEC and Extira businesses, have value which potential

  buyers will recognize when it is clear whether divestiture is an

  appropriate legal remedy.

        The jury findings and the foregoing factual findings made

  by the Court provide the framework for the legal analysis of

  Steves’   request      for     equitable        remedies.         The   legal     analysis

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  reflects additional factual findings that are most appropriately

  made in context of the specific legal issues to which those

  additional findings relate.


  II.   LEGAL ANALYSIS AND CONCLUSIONS


        The    most     significant       form     of        requested       relief     is

  divestiture.       It will be assessed first.              Then, the opinion will

  consider the so-called “conduct” remedies sought by Steves.


        A.    Steves’ Request for Divestiture


              1.      Legal Standard

        Section 16 of the Clayton Act allows private parties to

  obtain injunctive relief “against threatened loss or damage by a

  violation    of      the    antitrust      laws.”      15      U.S.C. § 26.         This

  injunctive relief may include an order requiring the acquiring

  company to divest the assets of the acquired firm. California v.

  Am. Stores, 495 U.S. 271, 295 (1990).

        Given the lack of authority from private suits based on

  Section 7 of the Clayton Act that have reached the divestiture

  issue, the decisional law respecting the standard for injunctive

  relief must come mostly from decisions in cases brought by the

  Government       under     Section   15.       That    provision        allows      the

  Government    to    institute    proceedings         “to   prevent     and   restrain

  violations   of     [the   Clayon]   Act.”      15    U.S.C.    §    25.     Notwith-


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  standing the semantic difference between Sections 15 and 16,

  those provisions offer largely the same (and possibly identical)

  remedies. See Am. Stores, 495 U.S. at 281-82.

        Whoever    brings   suit,   the     Government   or    private   party,

  “[t]he relief in an antitrust case must be ‘effective to redress

  the violations' and ‘to restore competition.’” Ford Motor Co. v.

  United States, 405 U.S. 562, 573 (1972) (quoting United States

  v. E. I. du Pont de Nemours & Co., 366 U.S. 316, 326 (1961));

  see also United States v. U.S. Gypsum Co., 340 U.S. 76, 88

  (1950) (an antitrust remedy must, “so far as practicable, cure

  the ill effects of the illegal conduct, and assure the public

  freedom from its continuance”). “Mergers come in a wide variety

  of shapes and sizes,” so the remedy awarded should be “carefully

  tailored to the competitive harm” in the case. U.S. Dep’t of

  Justice, Antitrust Division Policy Guide to Merger Remedies §

  I(A) (2011) (“Merger Remedies Guide”). District courts are thus

  “clothed with large discretion to fit the decree to the special

  needs of the individual case.” Ford, 405 U.S. at 573 (internal

  quotations omitted); see also Zenith Radio Corp. v. Hazeltine

  Research, Inc., 395 U.S. 100, 131 (1969) (“Section 16 should be

  construed and applied . . . with the knowledge that the remedy

  it   affords,   like   other   equitable     remedies,      is   flexible   and

  capable   of    nice   ‘adjustment   and    reconciliation       between    the

  public interest and private needs as well as between competing

                                       62
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  private claims.’” (quoting Hecht Co. v. Bowles, 321 U.S. 321,

  329—330 (1944))).

        The    “most    drastic,        but    most        effective,     of    antitrust

  remedies” is divestiture. E.I. du Pont, 366 U.S. at 326, but

  complete divestiture is “the remedy best suited to redress the

  ills of a competitive merger.” Am. Stores, 495 U.S. at 285; see

  also Ford,    405    U.S.     at   573.     For    this    reason,     the    DOJ    seeks

  divestiture    in    “the     vast    majority      of     cases”     like    this    one.

  Merger Remedies Guide § I(B)(1).                  Moreover, “[t]he relief which

  can be afforded [under Section 15] . . . is not limited to the

  restoration    of    the     status    quo       ante”    in   the    pre-acquisition

  market. Ford, 405 U.S. at 573 n.8; cf. U.S. Gypsum, 340 U.S. at

  89   (equitable      remedy    for     Sherman      Act     violation        can    affect

  “[legal]    practices       connected       with   acts     actually     found       to   be

  illegal,” so that defendants are “denied future benefits from

  their forbidden conduct”). Consequently, divestiture may extend

  to assets that were unrelated to the antitrust violation if the

  divested entity would need those assets to become competitive,

  or if the integration of legally- and illegally-acquired assets

  makes their separation impossible. See Utah Pub. Serv. Comm’n v.

  El Paso Nat. Gas Co., 395 U.S. 464, 469 (1969) (approving equal

  division between defendant and divested entity of gas reserves

  developed post-merger); Polypore Int’l, Inc. v. FTC, 686 F.3d

  1208, 1218-19 (11th Cir. 2012) (affirming FTC’s inclusion of a

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  foreign plant      in divestiture order               because it “needed to be

  divested    to     restore       the        competition        eliminated      by     the

  acquisition      and   provide        the    acquirer        with   the     ability    to

  compete”); see also Malcolm R. Pfunder et al., Compliance with

  Divestiture      Orders      under    Section     7     of   the    Clayton    Act:    An

  Analysis of the Relief Obtained, 17 Antitrust Bull. 19, 56-67

  (1972) (detailing approaches to identifying divestiture assets).

        Structural remedies like divestiture also can be coupled

  with—or replaced entirely by—conduct remedies that can “preserve

  a merger’s . . . efficiencies” and limit anticompetitive conduct

  at the same time. Merger Remedies Guide § II. “Conduct relief

  can be a particularly effective option when a structural remedy

  would eliminate the merger’s potential efficiencies, but, absent

  a remedy, the merger would harm competition.” Id.; see also In

  re Evanston Nw. Healthcare Corp., 144 F.T.C. 1, 520 (2007).

  However,      “conduct         remedies          risk        excessive       government

  entanglement      in   the    market,”       Saint    Alphonsus      Med.    Ctr.-Nampa

  Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 793 (9th

  Cir. 2015), so they should be “tailored as precisely as possible

  to the competitive harms associated with the merger.” Merger

  Remedies Guide § II n.12. This approach is consistent with the

  general    need    for       courts    considering           divestiture      to    avoid

  “impos[ing]      sanctions . . . which            ultimately        create     economic



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  havoc” in industries in which courts are not “well-versed.” 5

  Earl W. Kintner et al., Federal Antitrust Law § 40.9 (2017).

         At the same time, courts have observed that divestiture is

  an “‘extreme remedy.’” Taleff v. Sw. Airlines Co., 828 F. Supp.

  2d 1118, 1122 (N.D. Cal. 2011), aff’d, 554 F. App’x 598 (9th

  Cir. 2014) (quoting Broadcom Corp. v. Qualcomm Inc., 501 F.3d

  297,    322   (3d    Cir.   2007)).    It     also    has   some   drawbacks.    One

  antitrust treatise highlights three particular problems:

                By   and  large,   spinoffs   of  established
                businesses or subsidiaries are far more
                successful than the creation of new ones.
                Second,   the   merging   firms  have   every
                incentive to make the divestiture work
                poorly, particularly if it calls for the
                creation of a competitive firm. Third,
                buyers who are not competitors or are not
                established in the business may start out at
                a very considerable disadvantage, which
                sometimes later proves fatal.

  9G Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 990c2

  (4th ed. 2016) (footnotes omitted); see also 5 Kintner et al.,

  supra, § 40.12 (listing “potential hazards of divestiture”).

         Divestiture also operates somewhat differently in private

  suits. The Supreme Court has explicitly noted that a district

  court’s ability to order divestiture does not “mean that such

  power    should     be    exercised    in    every    situation     in   which   the

  Government would be entitled to such relief under [Section] 15.”

  Am.    Stores,      495   U.S.   at   295.    Also,    Section     16    requires   a

  plaintiff to establish standing to seek injunctive relief, and a

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  defendant can rely on equitable defenses and other equitable

  considerations       to    avoid       divestiture.        Id.   at    295-96.      And,    in

  government     actions,         “the    proof       of   the   violation       of   law    may

  itself establish sufficient public injury to warrant relief.”

  Id. at 295. Thus, it is no surprise that, in cases brought by

  the    government,        Courts       have    viewed      divestiture        as    “simple,

  relatively easy to administer, and sure,” E.I. du Pont, 366 U.S.

  at 331, because hardships do not need to be balanced nor the

  public interest assessed in the same way as in Section 16 cases.

  See    Ford,   405    U.S.        at     575    (“‘[O]nce        the     Government        has

  successfully      borne     the    considerable          burden    of     establishing      a

  violation of law, all doubts as to the remedy are to be resolved

  in its favor.’” (quoting E.I. du Pont, 366 U.S. at 334)); El

  Paso    Nat.   Gas,       395    U.S.    at     472      (“[T]he      pinch    on    private

  interests is not relevant to fashioning an antitrust decree, as

  the public interest is our sole concern.”); E.I. du Pont, 366

  U.S.   at   326   (“[C]ourts           are     authorized,       indeed       required,    to

  decree relief effective to redress the violations, whatever the

  adverse effect of such a decree on private interests.”). These

  differences do not make those precedents inapposite, but they do

  caution that, in a private action, divestiture is not as easy a

  remedy as it is in a government action.

         It is also true that scholars have expressed doubt about

  the wisdom of divestiture under Section 16.                            Indeed, according

                                                 66
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  to one       treatise,    “private divestiture is to be avoided when

  other injunctive relief is effective” because “courts are in

  agreement that divestiture should be applied in a relatively

  limited      number      of    private        suits       due    to     the     wide-ranging

  repercussions of such action, and the possible adverse effect on

  interests         of   those    who     are    not    parties          to     the   antitrust

  violation.”        5   Kintner   et     al.,       supra,       § 40.32     (citing,    inter

  alia, Burkhead v. Phillips Petroleum Co., 308 F. Supp. 120, 127

  (N.D. Cal. 1970) (“[D]ivestiture would appear to be appropriate

  only    in    a    limited     number    of    cases       where       no   other    form    of

  preventative relief would suffice . . . .”); Schrader v. Nat’l

  Screen Serv. Corp., 1955 Trade Cas. ¶ 68,217, at 71,009 (E.D.

  Pa.    1955)      (“[C]onsiderations          of    policy       are   against      decreeing

  divestiture or the complete destruction of a nationwide business

  at the suit of an individual in a private action under the

  antitrust laws . . . .”)); cf. Blue Cross & Blue Shield United

  of Wis. v. Marshfield Clinic, 883 F. Supp. 1247, 1264 (W.D. Wis.

  1995), aff’d in part, rev’d in part on other grounds, 65 F.3d

  1406 (7th Cir. 1995) (“It is questionable whether divestiture of

  a   long     completed     transaction         is    an    appropriate         remedy   in    a

  private action under the Sherman Act.”). Similarly, Areeda and

  Hovenkamp take the view that “the Government’s recommendation of

  divestiture deserves far more weight than a similar request from

  other litigants.” 3D Areeda & Hovenkamp, supra, ¶ 326b. Because

                                                67
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  divestiture can have “far-reaching effects on persons who are

  not parties to the litigation” and “can affect the viability of

  otherwise     profitable       companies,         the    status        of    preexisting

  contracts, and the fortunes of rivals,” they recommend taking

  “great care” before ordering divestiture in private actions. Id.

        American Stores, to some extent, has changed the Clayton

  Act landscape because most of the foregoing cases were decided

  and since the foregoing views were expressed by commentators.

  Nonetheless, the concerns expressed in the pre-American Store

  cases and comments teach that courts must rely on the facts of

  each case to decide whether divestiture is an appropriate remedy

  and that courts should resort to it in limited circumstances.

        That said, it is still true                  that divestiture should be

  ordered    when   it   is   the    most    effective      way     of    restoring     the

  substantially lessened competition brought about by the merger

  at issue and where its collateral consequences can be mitigated.

  And, the appropriate remedy should be selected upon “determining

  (a) what competitive harm the violation has caused or likely

  will cause and (b) how the proposed relief will remedy that

  particular    competitive         harm.”        Merger   Remedies           Guide § I(A).

  Moreover, that remedy should be “calculated to minimize adverse

  economic     effects    upon      the     industry,      the      public,       and   the

  stockholders affected by the unlawful merger. . . . [C]aution,

  progressive enforcement, and remedy formulation on a case-by-

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  case basis are essential ingredients to effectively combat the

  effects of an antitrust violation, and to minimize the risk of

  economic dislocation.” 5 Kintner et al., supra, § 40.9 (footnote

  omitted).

        These general considerations should be kept in mind when

  assessing whether to award divestiture or alternate injunctive

  relief.      However,   the     parties      agree    that   “well-established

  principles of equity” establish the framework governing requests

  for injunctive relief, including divestiture, under the Clayton

  Act. eBay Inc v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006);

  see   also    Am.   Stores,     495   U.S.    at   285    (Section     16   permits

  divestiture     only    “when     appropriate        in   light   of    equitable

  principles”). Under that approach,

               a plaintiff . . . must satisfy a four-factor
               test before a court may grant such relief. A
               plaintiff must demonstrate: (1) that it has
               suffered an irreparable injury; (2) that
               remedies available at law, such as monetary
               damages, are inadequate to compensate for
               that injury; (3) that, considering the
               balance of hardships between the plaintiff
               and defendant, a remedy in equity is
               warranted; and (4) that the public interest
               would not be disserved by a permanent
               injunction.




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  eBay,       547    U.S.   at   391   (emphasis   added).15      Even     where   those

  factors       are      met,    district   courts      still     retain    “equitable

  discretion” to grant or deny permanent injunctive relief. Id.


                    2.   Section 16 Standing

         Before considering the eBay factors, the Court must assess

  whether Steves has standing to seek divestiture. “[I]n order to

  seek injunctive relief under [Section] 16, a private plaintiff

  must allege threatened loss or damage ‘of the type the antitrust

  laws were designed to prevent and that flows from that which

  makes defendants’ acts unlawful.’” Cargill, Inc. v. Monfort of

  Colo., Inc., 479 U.S. 104, 113 (1986) (quoting Brunswick Corp.

  v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977)). In other

  words, Steves must be able to demonstrate “a significant threat

  of injury from an impending violation of the antitrust laws or

  from    a    contemporary       violation    likely    to     continue    or   recur.”

  Zenith Radio, 395 U.S. at 130.

         Steves contends that the likely loss of its business when

  the Supply Agreement expires in September 2021 gives it standing

  here. This “threatened loss” is linked to an antitrust injury



  15
    Although eBay applied that test to the Patent Act, the Supreme
  Court’s concluding statement that such discretion also extends
  to “other cases governed by such standards” makes clear that the
  test applies in other cases arising under federal statutes. E.I.
  DuPont de Nemours & Co. v. Kolon Indus., Inc., 894 F. Supp. 2d
  691, 697 (E.D. Va. 2012) (citing eBay, 547 U.S. at 394).
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  that has already occurred: JELD-WEN’s termination of the Supply

  Agreement in September 2014, which was enabled by its increased

  market power after the CMI Acquisition. See Summary Judgment Op.

  at 30-31. JELD-WEN disagrees that Steves will go out of business

  when the Supply Agreement ends. See Def. Post-Remedies Equitable

  Br. (ECF No. 1652) (Under Seal) at 25-27 (discussing issue in

  context   of   irreparable        harm).   If   JELD-WEN    is   correct,   then

  Steves would need to identify other threatened antitrust loss or

  damage to support its request for divestiture.

         If JELD-WEN is asserting that Steves lacks standing because

  it will not go out of business in September 2021, that argument

  is unpersuasive. Steves’ Section 7 claim sought both legal and

  equitable relief, and the Seventh Amendment entitled Steves to a

  jury   trial   on   “all    issues   common     to   both   claims.”   Davis   v.

  Ampthill Rayon Workers, Inc., 446 F. Supp. 681, 683 (E.D. Va.

  1978),    aff’d,    594    F.2d   856   (4th    Cir.   1979)     (citing   Beacon

  Theatres, Inc. v. Westover, 359 U.S. 500, 510-11 (1959)). “[A]

  jury verdict in such mixed law-equity cases is binding on the

  court as to all matters in law and as to all matters in equity

  where the facts found are common to the law and equity issues.”

  Id. (citing Dairy Queen v. Wood, 369 U.S. 469, 479 (1962)); see

  also Bresler v. Wilmington Tr. Co., No. CIV. PJM 09-2957, 2015

  WL 1402377, at *22 (D. Md. Mar. 25, 2015), amended in part, 2015

  WL 4385994 (D. Md. July 10, 2015) (“‘[W]here claims at law and

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  in equity are joined and the legal claims are tried separately

  by a jury, the jury’s verdict operates as a finding of fact

  binding on the trial court in its determination of the equitable

  claims.’” (quoting Dybczak v. Tuskegee Inst., 737 F.2d 1524,

  1526–27 (11th Cir. 1984))); Int’l Wood Processors v. Power Dry,

  Inc., 593 F. Supp. 710, 737 (D.S.C. 1984), aff’d, 792 F.2d 416

  (4th Cir. 1986) (“The court is . . . bound by the jury verdict

  on   its    subsequent     ruling   on   the    equitable      claims    under   the

  doctrine of collateral estoppel.”).

        Here, the Court instructed the jury that Steves’ request

  for future lost profits was based on the claim that Steves “was

  harmed     because,   as   a   result    of    JELD-WEN’s      alleged   antitrust

  violation, Steves will be unable to maintain a viable interior

  molded     door   manufacturing     business     when    the    contract   between

  Steves and JELD-WEN terminates on September 10, 2021, and will

  therefore be unable to exist as a company.” The Court further

  instructed the jury         that it “must consider any factors that

  could affect the future success of Steves’ business and any

  other      factors    affecting     Steves’     future      performance.”        Jury

  Instructions (ECF No. 1025), Instruction No. 35. After receiving

  these instructions, the jury awarded Steves damages for future

  lost profits. Verdict Form ¶ 3(b).               Any factual determinations

  that were necessary to award these damages are binding on the

  Court.

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        To show that Steves will not go out of business, JELD-WEN

  relies on evidence suggesting that it might continue to sell

  doorskins to Steves after the Supply Agreement expires; that,

  without JELD-WEN, Steves can satisfy its doorskin needs through

  domestic    or   foreign     suppliers         like    Masonite,       Kastamonu,      or

  Teverpan;     and    that    Steves       could       build     its     own     doorskin

  manufacturing plant to replace the lost volume from JELD-WEN.

  But JELD-WEN presented virtually the same evidence to the jury

  at trial. The jury could not have awarded future lost profits

  without     considering     and     rejecting         that    evidence,        which    is

  essential to an issue the jury was required to consider—“the

  future     success    of    Steves’      business       and    any     other     factors

  affecting Steves’ future performance.” Instead, the jury must

  have decided that Steves will go out of business because Steves

  cannot find any viable alternative means of doorskin supply.

  Furthermore,     nothing     from   the    Remedies          Hearing   or     the   trade

  secrets     trial    renders      this    jury’s       conclusions       improper       or

  unreliable.16       Consequently,        JELD-WEN’s          position       about      the



  16
     The parties dispute whether the Court may rely on the record
  in the trade secrets trial to help resolve the divestiture
  issue. See Aug. 2 Tr. (ECF No. 1751) at 90:15-91:20, 203:18-
  206:10. Assuming, without deciding, that the Court can, that
  record does not establish that Steves can prevent going out of
  business by building a doorskin plant by September 2021. At
  best, the evidence at the trade secrets trial indicates that
  Steves has preliminarily concluded that building a doorskin
  plant is not feasible, but is continuing to investigate the
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  likelihood of Steves going out of business is foreclosed by the

  verdict.

        Moreover, given the factual overlay between the legal and

  equitable relief, the Court finds, by a preponderance of the

  evidence, that it is not likely that JELD-WEN will continue to

  supply     Steves     with      doorskins    after      the     Supply      Agreement

  terminates.       Indeed, part of JELD-WEN’s pricing plan was to kill

  off some of the independent door makers that were its doorskin

  customers.     And, the Court finds that JELD-WEN’s conduct toward

  Steves (demanding price increases two years after the Supply

  Agreement was executed even though costs had decreased, engaging

  in evasive, sharp, and deceptive conduct over the calculation of

  input costs under Section 6 of the Supply Agreement, and in its

  general    bullying       conduct   toward    Steves)      shows     that    JELD-WEN

  regarded    Steves,       a   significant    player     in    the    interior      door

  market, to be an independent to be killed off.

        Further, the Court, as finder of the fact in the remedies

  phase of the case, finds that Steves has proved that, absent

  equitable relief, it will be forced out of business when the

  Supply    Agreement       terminates   in    2021   (See      Section     II.A.3.(a),

  infra).    And, as found above, JELD-WEN is still engaging in the

  conduct    that     led   the   jury   to    conclude      that     the   merger    had



  possibility of doing so. That is no different than what the
  evidence at the antitrust trial showed. See Def. FOF ¶¶ 265-78.
                                          74
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  substantially lessened competition and that had caused Steves

  antitrust injury.

         In sum, for the foregoing reasons, Steves has standing to

  seek injunctive relief under Section 16 that would remedy the

  threatened loss, and damage presented by the merger.


             3.     Equitable Factors Analysis

                    (a)     Irreparable Injury & Absence of Adequate
                            Remedy at Law
         To obtain equitable relief in the form of an injunction

  here, and an order mandating divestiture and conduct remedies,

  Steves   must    prove    that,    absent      such   relief,    it   will   suffer

  irreparable      injury.       Generally,        “‘[i]rreparable       injury    is

  suffered when monetary damages are difficult to ascertain or are

  inadequate.’” Handsome Brook Farm, LLC v. Humane Farm Animal

  Care, Inc., 193 F. Supp. 3d 556, 574 (E.D. Va. 2016) (quoting

  Multi–Channel     TV     Cable    Co.   v.     Charlottesville    Quality     Cable

  Operating Co., 22 F.3d 546, 551 (4th Cir. 1994)). Whether a

  plaintiff has an adequate remedy at law “inevitably overlaps”

  with   whether    it     has   suffered      irreparable   harm.      MercExchange

  L.L.C. v. eBay, Inc., 500 F. Supp. 2d 556, 582 (E.D. Va. 2007).

         Most courts to have confronted the question have found that

  the permanent loss of a business constitutes irreparable injury.

  See, e.g., Warren v. City of Athens, 411 F.3d 697, 711 (6th Cir.

  2005) (“financial ruin” that would happen without injunction is

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  irreparable injury); Am. Passage Media Corp. v. Cass Commc’ns,

  Inc., 750 F.2d 1470, 1474 (9th Cir. 1985) (“The threat of being

  driven out of business is sufficient to establish irreparable

  harm.”). This is particularly true where a company has operated

  as a family business for a substantial period of time. Judge

  Friendly   recognized        long      ago     that   “the     right    to     continue   a

  business in which [a father] had engaged for twenty years and

  into   which   his    son        had   recently       entered      is   not    measurable

  entirely in monetary terms” because “the [family] want[s] to

  sell   automobiles,        not    to    live    on    the    income     from    a   damages

  award.” Semmes Motors, Inc. v. Ford Motor Co., 429 F.2d 1197,

  1205 (2d Cir. 1970).              This “seminal decision” has been cited

  often, including by the Fourth Circuit. Auto. Elec. Serv. Corp.

  v. Ass’n of Auto. Aftermarket Distribs., 747 F. Supp. 1483, 1514

  (E.D.N.Y. 1990) (“This is not a case of mere lost profits, but

  rather the basic existence of a seventy year old business may be

  threatened.”);       see    also       Tom   Doherty        Assocs.,    Inc.    v.    Saban

  Entm’t, Inc., 60 F.3d 27, 38 (2d Cir. 1995) (threat to “the very

  viability of the plaintiff’s business” is irreparable injury);

  Wells Am. Corp. v. Ziff-Davis Pub. Co., 900 F.2d 258, 1990 WL

  33532,   at    *2    (4th    Cir.       1990)     (“harm      to   plaintiffs’        [sic]

  goodwill, its business reputation, business opportunities, or

  its continued existence” may be irreparable); Roso-Lino Beverage

  Distribs., Inc. v. Coca-Cola Bottling Co. of N.Y., 749 F.2d 124,

                                               76
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  125–26     (2d        Cir.         1984)         (“The         loss         of        [plaintiff]’s

  distributorship, an ongoing business representing many years of

  effort    and    the       livelihood       of     its        husband       and       wife    owners,

  constitutes          irreparable         harm.”);             Fed.        Leasing,           Inc.     v.

  Underwriters         at    Lloyd’s,      650     F.2d        495,     500       (4th    Cir.      1981)

  (plaintiff       showed          irreparable          harm     where        it     “s[ought]          to

  preserve its existence and its business”).

        There     is    no    reason       for     the     Court       to    deviate       from       that

  majority      approach           here.     The    termination              of     a    plaintiff’s

  business might not constitute irreparable harm if the entity has

  only been in business for a “short period of time,” DFW Metro

  Line Servs. v. Sw. Bell Tel. Co., 901 F.2d 1267, 1269 (5th Cir.

  1990) (per curiam); see also HCI Techs., Inc. v. Avaya, Inc.,

  446 F. Supp. 2d 518, 521 (E.D. Va. 2006) (citing DFW Metro in

  dicta),    or    if       that    injury    could        be    fully       remedied          by   money

  damages, see Hardin v. Houston Chronicle Pub. Co., 426 F. Supp.

  1114, 1117-18 (S.D. Tex. 1977), aff’d, 572 F.2d 1106 (5th Cir.

  1978); Lamarca v. Miami Herald Publ’g Co., 395 F. Supp. 324, 328

  (S.D. Fla. 1975), aff’d, 524 F.2d 1230 (5th Cir. 1975). But,

  Steves has been in business for more than 150 years, making the

  1.5-year existence of the plaintiff in DFW Metro seem fleeting

  in comparison. 901 F.2d at 1269 n.7. In addition, as in several

  of the cases described above, there is independent value to

  continuing Steves as a family operation: Edward and Sam Steves

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  described at the Remedies Hearing their family’s deep connection

  with Steves’ business, in which their children have begun to

  continue and, neither Hardin or Lamarca involved the facts that

  Steves has proved in this case.

        JELD-WEN tries to distinguish Semmes Motors and subsequent

  cases in three ways. First, it argues that Steves’ business is

  not   at   risk   because   it   has   several   viable   doorskin   supply

  alternatives when the Supply Agreement terminates. This line of

  reasoning has been addressed in connection with Steves’ Section

  16 standing. See supra Section I.A.2. In sum, the Court finds,

  as did the jury, that, after 2021, purchases from JELD-WEN,

  Masonite, or foreign suppliers do not provide viable alternative

  supplies of doorskins in the quantity and quality required by

  Steves.    Indeed, it is disingenuous of JELD-WEN to suggest that

  Steves can turn to foreign suppliers when JELD-WEN itself will

  not do so.        Further, as set out in Section II.B.6 above, the

  Court finds that building a doorskin plant of its own is not a

  viable alternative way to supply Steves’ doorskin needs after

  2021.17



  17
     JELD-WEN’s claim that Steves should be held accountable here
  for delaying its efforts to build a doorskin plant is
  unpersuasive, especially where that factor did not affect the
  jury’s future lost profits award. Intentionally engaging in
  conduct that contributes to an irreparable injury may undermine
  a plaintiff’s irreparable harm showing. See Cone v. Randolph
  Cty. Schs. Bd. of Educ., No. 1:06CV00579, 2006 WL 3000445, at
                                         78
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        Second,    JELD-WEN    argues    that    Steves’    claimed       injury    is

  merely harm to members of the Steves family, which does not

  justify permanent injunctive relief for Steves. But the only two

  cases that JELD-WEN cites in support, Moody v. Michigan Gaming

  Control Board, No. 12-CV-13593, 2013 WL 1664380 (E.D. Mich. Apr.

  17, 2013) and Law v. National Collegiate Athletic Association,

  No. 94-2053-KHV, 1996 WL 104328 (D. Kan. Jan. 5, 1996), are

  distinguishable.      In     Moody,    the    only     harm    underlying        the

  plaintiff’s      emergency    preliminary      injunction      motion    was     his

  nephew’s   and    son’s    inability   to     obtain   their    harness    racing

  training licenses—an injury not suffered by the plaintiff, whose

  occupational license had been suspended. 2013 WL 1664380, at *1-

  2. Similarly, in Law, the plaintiff coaches sought a classwide

  injunction    under   the    Clayton    Act    to    prevent    the     NCAA   from

  enforcing a restricted earnings rule against any coach. However,

  each named plaintiff had to demonstrate a threat of antitrust



  *5, *7 (M.D.N.C. Oct. 20, 2006) (child’s loss of educational
  services was not irreparable injury, in part because it was
  caused by parents’ intentional obstruction of school placement
  plan). However, the minimal, and unpersuasive, evidence cited by
  JELD-WEN does not establish that Steves ceased efforts to build
  a doorskin plant in order to improve its position in this
  litigation.   Moreover, the record shows that Steves would not
  have made any notable progress towards building a plant had it
  devoted its full attention during these proceedings to finding a
  manufacturing partner. Steves’ irreparable injury thus cannot be
  traced back to      its decision to stop negotiations with
  manufacturing partners.    In any event, the record shows that
  Steves simply cannot afford to build its own doorskin plant so
  JELD-WEN’s position is academic at best.
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  injury because the class had not been certified, and just two

  were employed under the rule in question. As a result, those two

  coaches could seek injunctive relief only for themselves, not

  for the whole class. See Law, 1996 WL 104328, at *3-4.

        Steves, on the other hand, is not seeking divestiture to

  remedy some harm suffered by individuals in the Steves family

  rather than Steves itself. Instead, Steves’ irreparable injury

  is the loss of its business. That the business also has a family

  character is relevant to the irreparable injury analysis. See

  Semmes Motors, 429 F.2d at 1205; Auto. Elec. Serv., 747 F. Supp.

  at 1514. Moody and Law might be applicable if Steves had only

  identified as an irreparable injury the effect of the loss of

  Steves’ business on, for instance, Edward and Sam Steves, but

  Steves has not made that claim here. Accordingly, the references

  to   the   Steves    family    in   Steves’    papers   do   not     lessen   the

  irreparable nature of the company’s antitrust injury.

        Finally,      JELD-WEN   insists      that   Semmes    Motors    and    its

  progeny, most of which deal with preliminary injunctions, are

  meaningless where, as here, a plaintiff has obtained future lost

  profits damages. To obtain equitable relief, a plaintiff must

  show that its harm cannot be compensated by money damages. Dairy

  Queen,     369   U.S.    at    478;   Hughes       Network   Sys.,     Inc.   v.

  InterDigital Commc’ns Corp., 17 F.3d 691, 694 (4th Cir. 1994).

  Tucker, however, told the jury that his lost profits calculation

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  was a “reasonable,” “conservative,” and non-speculative estimate

  of Steves’ future harm.          As Tucker proposed, the jury awarded

  damages of $46,480,581 in loss profits.               Trebling that part of

  the award under the Clayton Act yields total future lost profit

  damages of around $139 million. See 15 U.S.C. § 15(a).18 In JELD-

  WEN’s view, Steves’ “strategic decision to calculate its future

  harm in money damages” at trial precludes it from now claiming

  that those damages are inadequate. Def. Post-Remedies Equitable

  Br. at 24.

        A plaintiff’s presentation of a future damages number may

  influence    the   irreparable    injury    and    legal     remedy    inadequacy

  analysis. In SAS Institute, Inc. v. World Programming Ltd., 874

  F.3d 370     (4th Cir. 2017),      the plaintiff sought and received

  damages for lost profits, almost half of which was based on

  expected    future   losses.     The   court      rejected    the     plaintiff’s

  request for permanent injunctive relief because it found that

  the “fact that [the plaintiff] already asked for and received

  these future damages undermines its claim of irreparable injury

  moving forward.” Id. at 386. Likewise, in International Wood

  Processors,    the   court   determined     that     the     plaintiff    had   an

  adequate    remedy   at   law    because    it    “requested     and     received



  18
     There were other antitrust damages that also were trebled.
  Those that survived judgment as a matter of law also will be
  trebled.
                                         81
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  prospective damages” at trial, and under its own damages theory,

  could “suffer no further future harm” after receiving future

  lost profits damages. 593 F. Supp. at 737. And, in Taleff, the

  court denied plaintiff’s request for a post-merger divestiture

  order    under    Section       16    because       the    only     alleged    harm      was

  “expressed in terms of monetary damages.” 828 F. Supp. 2d at

  1123. Thus, the plaintiff had not shown that legal remedies

  would be inadequate.

        Nonetheless,       a    plaintiff      is   not      prohibited       from   seeking

  alternate injunctive relief merely because it tries to quantify

  its   future     harm    in   front     of    the      jury.      The   purpose    of    the

  Remedies   Hearing       was,    in    part,      to      allow    Steves     to   present

  further evidence about the inadequacy of its future lost profits

  award.   See     Order   (ECF    No.    1127)       at    2.19    Steves    then   put    on



  19
     JELD-WEN continues to assert that Steves’ quantification of
  damages must have been an election of legal over equitable
  remedies. But this wrongly assumes that Steves was required to
  make an election at some point before now. “Generally, a party
  is not required to elect between inconsistent remedies or rights
  or theories of recovery during the trial or at the pleading
  stage or prior to the jury’s verdict; election is generally made
  after the verdict is entered prior to the entry of judgment.”
  28A C.J.S. Election of Remedies § 6 (2018). In any event, “a
  decision as to the time of election rests within the sound
  discretion of the trial court.” Id.; see also Rahemtulla v.
  Hassam, No. CIV.A.3:05-0198, 2008 WL 2247195, at *1 (M.D. Pa.
  May 30, 2008) (collecting cases). Further, the cases present the
  so-called “election of remedies” issue as a question of how to
  preclude double recovery and how to proceed with entry of
  judgment where the principles of Brown Shoe Co. operate as they
  do under the facts of this case.
                                               82
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  compelling evidence of the incalculable value of its business,

  which the Court (like the jury) finds would not survive without

  injunctive relief restoring competition. None of the cases cited

  by JELD-WEN involved this same sort of loss. See SAS Inst., 874

  F.3d   at   386       (“[Plaintiff]’s     claims         of   difficult-to-calculate

  damages     in    the    form    of    lost    business       relationships,    market

  share,    and    goodwill       were   largely      unsupported     by    evidence.”);

  Taleff, 828 F. Supp. 2d at 1123 n.7 (plaintiff alleged harm in

  terms of higher ticket prices and less cost-effective service);

  Int’l Wood Processors, 593 F. Supp. at 737 (plaintiff would

  “suffer     no   further    future      harm”      after      receiving   future    lost

  profits). And, Steves has consistently asserted that JELD-WEN’s

  Section     7    violation       threatens         the    very   existence     of   its

  business, so its current position cannot be characterized as

  some   sort      of   opportunistic      about-face.          Consequently,    Steves’

  representations to the jury do not prevent it from arguing here

  that future lost profits damages are inadequate.

         The Court finds that, with an adequate supply of doorskins,

  Steves would, as it has for 150 years, continue in business and

  prosper.        There is nothing in the record to suggest otherwise.

  The lost profits award would not provide a supply of doorskins.

  Rather, the Steves shareholders would, like the Semmes family,

  just live off of the damages award, a choice which, as explained

  in Semmes, it does not have to make.                      Were it otherwise, well-

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  heeled companies, like JELD-WEN, would never have to face the

  undoing of an illegal merger but, instead, could simply pay the

  damages      and    finance       their    way        out    of    the   violation       of     the

  Clayton Act, leaving in place a merger that has been proved to

  have substantially lessened competition.

         For    these       reasons,      JELD-WEN’s          arguments      fall       short,    and

  Steves has shown that the likely, if not certain, loss of its

  business      is    an     irreparable      injury          that    cannot    be      adequately

  remedied       by    the       future     lost        profits      damages       it    has     been

  awarded.20


                           (b)   Balance of Hardships
         Under       the    third    eBay    factor,          “courts      ‘must    balance       the

  competing claims of injury and must consider the effect on each

  party of the granting or withholding of the requested relief.’”

  Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008)

  (quoting Amoco Prod. Co. v. Gambell, 480 U.S. 531, 542 (1987)).

  Before       undertaking        that    assessment,           the     Court      must    address

  Steves’ assertion that the hardships claimed by JELD-WEN should

  be disregarded because the jury has already found that JELD-WEN

  violated the Clayton Act. See Pl. Post-Remedies Equitable Br.

  (ECF No. 1606) (Under Seal) at 20 (divestiture is appropriate

  even    if    it    entails       “harsh    consequences”           for    JELD-WEN).          That



  20
       Steves has agreed that it is not entitled to both remedies.
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  argument    necessarily       affects     the       weight   given        to    JELD-WEN’s

  harms.

        Steves     cites     three   cases       in    support    of        its    position,

  including E.I. du Pont and El Paso Natural Gas. See El Paso Nat.

  Gas, 395 U.S. at 472 (“[T]he pinch on private interests is not

  relevant    to     fashioning      an   antitrust       decree,          as    the   public

  interest is our sole concern.”); E.I. du Pont, 366 U.S. at 326

  (“[C]ourts     are   authorized,        indeed      required,       to    decree     relief

  effective to redress the violations, whatever the adverse effect

  of such a decree on private interests.”). But Steves’ reliance

  on those cases is misplaced. As noted above, in those cases, the

  Supreme    Court     was   discussing      divestiture         in    the        context   of

  Government     actions,      which,     unlike       Section    16       suits,      do   not

  implicate    private       hardships.     The       third    case    cited       similarly

  involves an FTC enforcement action and, more importantly, relies

  on E.I. du Pont. See FTC v. Whole Foods Mkt., Inc., 548 F.3d

  1028, 1033 (D.C. Cir. 2008) (“Even remedies which ‘entail harsh

  consequences’ would be appropriate to ameliorate the harm to

  competition from an antitrust violation.” (quoting E.I. du Pont,

  366 U.S. at 327)). Notwithstanding what Steves believes about

  the perfect applicability of Government cases in the Section 16

  setting, the differences between Government and private cases

  limit the relevance of the Government case principles on the

  balance of hardship factor because, in Government cases, there

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  is no balance of hardships. See Am. Stores, 495 U.S. at 295-96;

  supra Section II.A.1.

         Moreover,        assigning       less,       or   no,    weight     to    JELD-WEN’s

  hardships       would    contradict         Supreme      Court     and    Fourth     Circuit

  precedent. Steves’ argument essentially reduces a court’s role

  to rubber-stamping divestiture based on a jury verdict finding a

  Section     7     violation.          The      Supreme         Court,     however,       “has

  consistently        rejected          invitations         to      replace       traditional

  equitable       considerations          with        a    rule     that     an    injunction

  automatically follows a determination that a copyright has been

  infringed,” instead requiring the hardships to be balanced in

  every case. eBay, 547 U.S. at 392-93. The Fourth Circuit found

  it    “impossible       to     square    this       directive     with    the    idea    that

  hardship to the losing party should simply be ignored,” “even in

  cases involving clear wrongdoing.” SAS Inst., 874 F.3d at 388.

  This statement echoes its earlier determination that courts may

  not    “conclude        that    any     harm    that      would    be     suffered      by   a

  defendant was self-inflicted and thus entitled to lesser weight

  in    the   balancing-of-the-harms                  portion       of     the    preliminary

  injunction calculus.” Scotts Co. v. United Indus. Corp., 315




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  F.3d 264, 285 (4th Cir. 2002).                    Thus, the Court must consider

  JELD-WEN’s hardships in assessing the balance of hardships.21

         Turning then to the balancing of hardships, the Court finds

  that    Steves    will      suffer    irreparable        injury       without    permanent

  injunctive relief.           If the Court does not order                   an equitable

  remedy    to     restore     competition,         Steves       will   likely     lose   its

  entire business when the Supply Agreement expires. This effect

  looms large in the balance of hardships. See Buffalo Courier-

  Express, Inc. v. Buffalo Evening News, Inc., 601 F.2d 48, 58 (2d

  Cir. 1979) (balance would have been “amply passed” if plaintiff

  had “shown a significant possibility that it would be driven out

  of   business”       by    defendant’s       anticompetitive           actions);      Auto.

  Elec.    Serv.,      747     F.     Supp.    at    1514    (highlighting         “ruinous

  financial hardship” that would result if no equitable relief

  imposed);      cf.    SAS    Inst.,        874    F.3d    at    387-88    (noting       that

  permanent      injunction         “would    likely   be    ruinous”      for     defendant

  (internal      quotation      marks        omitted)).      Furthermore,         as   Steves


  21
     That is not to say that all harms that JELD-WEN might allege
  are cognizable here. For example, loss of profits obtained
  through anticompetitive conduct is not a valid hardship because
  it is a product of doing what the antitrust laws require—that
  is, competing with other firms. See New York v. Actavis, PLC,
  No. 14 CIV. 7473, 2014 WL 7015198, at *45 (S.D.N.Y. Dec. 11,
  2014), aff’d sub nom. New York ex rel. Schneiderman v. Actavis
  PLC, 787 F.3d 638 (2d Cir. 2015); see also Cadence Design Sys.,
  Inc. v. Avant! Corp., 125 F.3d 824, 830 (9th Cir. 1997). Yet
  JELD-WEN does not rely much on any such harm, and the instances
  where it does will be appropriately disregarded without
  affecting the hardship balancing.
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  argues, the relative impact of all the hardships cited by JELD-

  WEN would be less severe on JELD-WEN than the hardship that will

  befall Steves. JELD-WEN is a much larger business than Steves,

  and it is a very diversified company.              And, as Steves argues,

  the record shows that the impact of divestiture on JELD-WEN

  would not be as a serious a hardship             on JELD-WEN as would the

  loss of doorskin supply. Nevertheless, it is necessary to assess

  the hardship that likely will befall JELD-WEN in the event of

  divestiture.        Of course, it is JELD-WEN’s burden to prove the

  hardships that it will face.

        JELD-WEN‘s chief witness on this topic was its CFO, Brooks

  Mallard, who testified to numerous speculative consequences of

  divestiture which the Court will not consider because of their

  speculative     nature.          Nonetheless,     other        witnesses   have

  testified,     at     least     generally,    about      the    hardship    that

  divestiture would visit upon JELD-WEN.                Chief among those are

  the costs associated with separating Towanda as an independent

  entity. JELD-WEN and CMI integrated numerous functions when they

  merged in 2012, and it takes time and resources to “unscramble

  all those eggs” now. Suppl. Interrogatory Responses at 4. Courts

  have found that the “obvious hardship” of splitting up entities

  that have “combined . . . assets and operations” after a merger

  weighs   heavily     in   the   equitable    analysis.    Ginsburg    v.   InBev

  NV/SA, 623 F.3d 1229, 1235-36 (8th Cir. 2010); see also Taleff,

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  828 F. Supp. 2d at 1123 & n.8. That hardship is real, but it can

  be reduced by divestiture conditions that, for instance, allow

  current Towanda employees to remain at the plant and require the

  new owner and JELD-WEN to work together to effectuate an orderly

  transition      of    administrative      support        services.      But   JELD-WEN

  would still need to spend money to effect that transition, and

  there    is    no    obvious   way   to   eliminate        that   expense.    And,   of

  course, “[a] long time has elapsed between the closing of the

  merger and the conclusion of the litigation,” and that presents

  “greater risks of unforeseen costs and failure.” In re Evanston

  Nw. Healthcare, 144 F.T.C. at 521.                      The record does not permit

  quantification of those costs, but they                        are present in some

  measure, and must be considered in the balance of hardships.

        As      discussed   in    Section      I.A.9,       divestiture    would   also

  affect     JELD-WEN’s      ability     to        meet    its   customers’     doorskin

  demands.       As explained previously, the mix model allocates SKU

  production across all four of JELD-WEN’s plants, and Towanda’s

  Dieform line permits the manufacture of many SKUs that JELD-

  WEN’s legacy plants do not currently produce. Even if Steves

  shifts its entire doorskin volume to the divested Towanda entity

  (thereby freeing capacity in JELD-WEN’s plants that supply much

  of Steves requirements), JELD-WEN would still need to satisfy

  its other customers’ demands for different doorskin varieties.

  JELD-WEN says that it could not fully accomplish this goal by

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  simply increasing the number of SKUs produced by its legacy

  plants because those plants are already running close to full

  production capacity.        But, there is present some unquantified

  additional capacity.         Also, JELD-WEN says that attempting to

  produce more SKUs would add downtime because of die changes,

  thereby decreasing total production capacity.

         The extent of this capacity decrease is not shown by the

  record because JELD-WEN has not studied how it would reallocate

  SKUs among its legacy plants if Towanda was divested, and thus

  the extent of the decrease must be considered as speculative and

  unproven. However, the Court can still consider that there will

  be some shortfall and that can be considered as a hardship. See

  SAS Inst., 874 F.3d at 387-88 (examining hardships in general

  manner); Ginsburg, 623 F.3d at 1235-36 (same).

         JELD-WEN’s   alternatives      for    obtaining      doorskins       present

  their own hardships. JELD-WEN’s Latvia facility only produces a

  few    doorskin   designs   that   are      usable   in    the    U.S.   doorskin

  market.    Other foreign suppliers do not offer as many SKUs as

  Towanda and, as Steves knows from experience, the quality is not

  consistent.       But,   JELD-WEN’s   “disaster       plan”      includes    supply

  from    Latvia    and    foreign   suppliers     as       short-term     options.

  However, based on the record, the Court cannot conclude that all

  SKUs lost to JELD-WEN by virtue of the divestiture of Towanda

  could be replaced by Latvia and foreign suppliers. In contrast,

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  also   as   considered    on     JELD-WEN’s     disaster     plan,    restarting

  operation of the Marion plant would go much further in remedying

  JELD-WEN’s doorskin deficit.          Marion    has a low-volume/high-mix

  line that could serve a similar function to Towanda’s Dieform

  line, even if the total production capacity is lower.                       It is

  estimated that to restart the Marion plant would cost [                         ]

  because of the need to replace old equipment and comply with

  environmental relations.          And it would take about two years to

  activate Marion.22

         Of   course,    Steves’    current     divestiture     proposal       would

  prevent     JELD-WEN    from     incurring     any    immediate      deficit   in

  doorskin supply. That proposal includes a condition by which

  JELD-WEN can purchase from the divested entity, for a period of

  two years, enough doorskins “to ensure that JELD-WEN will be

  able to fulfill orders of its door and doorskin customers” that

  exist at the time any divestiture order is entered, as long as

  those doorskins “cannot reasonably be manufactured as one of its

  remaining      doorskin        manufacturing         facilities.”         Proposed

  Divestiture    Order § VI(J).       This     provision   would,      in    theory,

  permit JELD-WEN to meet its customers’ doorskin needs through

  Towanda while setting up another long-term solution during that

  proposed     two-year     transition       period.    That    approach       would


  22
     The record teaches that building a new doorskin plant is not
  realistic in the short run, even with JELD-WEN’s experience.
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  ameliorate the doorskins shortfall hardship identified by JELD-

  WEN and could even eliminate it, particularly if some of JELD-

  WEN’s other independent customers choose to exit their contracts

  and buy from the new owner of Towanda.                     Of course, in that

  event, JELD-WEN would lose the profits from those sales.

         The new owner of a divested Towanda might choose to supply

  JELD-WEN for longer than the two-year period proposed by Steves.

  Based on JELD-WEN’s claim of hardship, that would seem to be an

  attractive proposition to JELD-WEN.                  And, a new owner likely

  would    prefer      the   stability      that   would   ensure    a   longer    term

  supply contract with JELD-WEN.                   Thus, there are ameliorating

  measures for an even longer term hardship (beyond the first two

  years after divestiture).

         The collateral effects of any sustained drop in doorskin

  volume are hard to predict on this record. JELD-WEN emphasizes

  the    penalties     that    might   be    imposed    under   certain    long-term

  supply agreements if those customers’ needs cannot be met, but

  the language of the force majeure clauses in those contracts

  suggests that supply failures because of a divestiture order

  would not give rise to any fines. At the same time, JELD-WEN

  says    that   its    door   manufacturing        plants   would   produce      fewer

  doors based on the doorskins available, thereby reducing the

  company’s EBITDA.



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         It is also reasonably inferable that JELD-WEN would lose

  some external customers, both because of the limited doorskin

  quantities and if JELD-WEN increases prices to cope with lower

  production    capacity.         Counting       this        loss    as   a     hardship   is

  questionable because, in most cases, it would be impossible to

  tell whether customers left because of the fallout from JELD-

  WEN’s    doorskin       deficit       or    because    of     increased       competition,

  which    is   an    appropriate            result     of    injunctive        relief.    See

  Actavis, 2014 WL 7015198, at *45. That issue aside, loss of any

  customers would lower JELD-WEN’s total revenue and EBITDA to

  some    extent.         But,   if     customers       shift    because      of   increased

  competition, that is a hardship that is expected to accompany

  divestiture       and    it    does    not    weigh        heavy   in   the    balance    of

  hardships.

         JELD-WEN also claims hardship because the reallocation of

  production could cause loss of employment in its legacy plants.

  That assertion is pure speculation.                    And, it is contrary to the

  assertion made by JELD-WEN that, after divestiture, its legacy

  plants would be operating at near capacity.

         JELD-WEN also contends that divestiture would cause loss of

  employment at Towanda.              That contention is illogical because a

  new owner would need the experience offered by Towanda’s current

  management and employees.                  And, the contention is at odds with

  history because when JELD-WEN bought CMI, the Towanda management

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  and employees came along with the facility.                       And, in any event,

  that    apprehended        harm    will    be     lessened,      or     eliminated,     by

  requiring the acquiring entity to allow Towanda’s management and

  employees to remain.          And, it is logical that those people would

  benefit from such a requirement.

         Finally, JELD-WEN would lose the value of the improvements

  it    has   made    at    Towanda,    as     well    as   the    MiraTEC       and   Extira

  business     that    it     has    developed        there.      JELD-WEN    made      total

  investments of around [               ] in manufacturing installations and

  capital improvements at the plant between 2014 and 2017, which

  it expected would pay dividends in the form of company-wide

  savings     well    into     the     future.      Even    if    the     loss    of    those

  investments can be discounted somewhat because they would not

  have been possible without the anticompetitive merger, they may

  still be considered as a hardship. See Smith & Nephew, 955 F.

  Supp. 2d at 79; W. Watersheds Project v. Salazar, No. CV 11-

  00492, 2011 WL 13124018, at *20 (C.D. Cal. Aug. 10, 2011).                             But,

  the record also shows that JELD-WEN has recouped (and then some)

  its investments in Towanda so they will not be lost.

         JELD-WEN’s         acquisition        of     CMI’s      MiraTEC     and       Extira

  business,     on    the    other     hand,    has    never      posed    any    antitrust

  concerns, so the loss of that business weighs more heavily in

  the    hardship      analysis.        As     detailed        above,      JELD-WEN       has

  structured its business so that MiraTEC and Extira are important

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  parts of its future trajectory, and divestiture would force the

  company    to    change      course.         The    record     establishes          that    the

  manufacturing of these lines could not be removed from Towanda.

         Whether     the       new     owner     would      be    willing        to    pay    an

  appropriate value for the MiraTEC and Extira lines is unknown.

  And,     any    sale    of        those   lines     would      involve    licensing         of

  intellectual property necessary to make those products.                                    But,

  here too, the existing management and employees                            know how to

  operate the lines and make the product, and there is no reason

  on the record to believe that the end products would not be

  bought by those who are buying them now.                           Certainly, JELD-WEN

  offered no evidence to that effect.                      And, if, as JELD-WEN says,

  the lines are good products, then a buyer of Towanda could be

  expected to place value on them.

         As the foregoing discussion reflects, the consequences of

  divestiture on JELD-WEN cannot be discerned with certainty in

  large    measure       because      JELD-WEN       has    chosen    not   to    internally

  assess those effects, except in broad and somewhat speculative

  terms.     Nonetheless, from the showing that JELD-WEN has made,

  the    record    proves      that     all    of    its    claimed    hardships        can   be

  ameliorated      by    allowing       time    for    an    orderly    divestiture,           by

  imposing terms to assure JELD-WEN a reliable source of doorskin

  supply to satisfy its external and internal requirements for at

  least    two    years,       by    assuring       that   divestiture      occurs       in    an

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  environment    and        under    circumstances       that     will       produce    a

  reasonable    purchase       price.       Steves,   on    the   other      hand,     has

  presented forceful evidence to show a more certain and far more

  serious harm: permanently going out of business. Therefore, even

  though the scales are not so one-sided as Steves contends, the

  balance of hardships tips decidedly in Steves’ favor.


                      (c)    Public Interest
                            (1)     Legal Standard

         The final eBay factor requires the Court to find “that the

  public    interest        would    not     be   disserved       by     a    permanent

  injunction.”        eBay, 547 U.S. at 391.               “‘The public interest

  inquiry primarily addresses impact on non-parties rather than

  parties.’”     Inst.        of    Cetacean      Research      v.     Sea     Shepherd

  Conservation Soc., 725 F.3d 940, 946 (9th Cir. 2013) (quoting

  Bernhardt v. L.A. Cnty., 339 F.3d 920, 931 (9th Cir. 2003)).

  Courts are reluctant to cause any “concrete harms to innocent

  third parties.” If those potential effects exist, the public

  interest asserted must rely on more than “broad, abstract rule

  of law concerns.” SAS Inst., 874 F.3d at 388.

         That is not an issue here because the public interest in

  this   case   has    been    firmly      established     by   Congress      which    is

  responsible not only for passing laws, but also “establish[ing]

  their relative priority for the Nation,” priorities which courts


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  must respect. Tenn. Valley Auth. v. Hill, 437 U.S. 153, 194

  (1978). Accordingly, “[w]here a valid law speaks to the proper

  level    of     deference          to     a     particular       public       interest,    it

  controls.” Inst. of Cetacean Research, 725 F.3d at 946; see also

  11A Charles Alan Wright & Arthur R. Miller, Federal Practice and

  Procedure § 2948.4 (3d ed. 1998) (“The public interest . . . may

  be   declared    in     the    form       of    a     statute.”).      Here,    by   enacting

  Section 7 of the Clayton Act, Congress has explicitly indicated

  that preserving competition is in the public interest. United

  States   v.   Ivaco,      Inc.,         704     F.    Supp.   1409,    1430     (W.D.    Mich.

  1989). Consequently, divestiture would serve the public interest

  here, assuming that such relief would “‘restore competition’”—

  the central aim of any injunctive relief under the Clayton Act.

  Ford, 405 U.S. at 573 (quoting E.I. du Pont, 366 U.S. at 326).

        Nonetheless, divestiture is not always the ideal equitable

  relief for the public interest.                        In some cases, the divested

  entity might not actually restore competition, depending on the

  circumstances      in    which          the    entity    would    operate.      In    others,

  divestiture      might    restore             competition,       but    other    injunctive

  relief   might     also       do    so        with    fewer   impacts     on    the     public

  interest.     Before     ordering             divestiture,     then,      the   Court     must

  consider two questions: (1) whether Towanda would be “a willing,

  independent competitor capable of effective production” in the

  doorskin market, White Consol. Indus., Inc. v. Whirlpool Corp.,

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  781 F.2d 1224, 1228 (6th Cir. 1986); and (2) even if Towanda

  would       be    a    viable    entity,    whether       less    intrusive    injunctive

  relief can restore competition just as well as divestiture, see

  E.I. du Pont, 366 U.S. at 327-28 (equitable relief should cause

  “as little injury as possible to the interest of the general

  public” (internal quotations omitted)). Courts have not clearly

  addressed these issues before ordering divestiture. However,

                   [t]here is . . . no doubt that the antitrust
                   court may and should assess the propriety of
                   equitable   relief    in   each    particular
                   case . . . and that the judge may decline to
                   restructure a firm where there are serious
                   doubts as to feasibility or a likelihood
                   that other remedies are likely to be
                   sufficient to restore effective competition.

  3A Areeda & Hovenkamp,                supra, ¶ 303e3             (emphasis added).       See

  also Pfunder et al., supra, at 54 (“In order to achieve the goal

  of restoring or restructuring competition, a careful economic

  analysis must be undertaken of the particular assets or entity

  to     be        divested.       In    order        for    divestiture        to   achieve

  procompetitive structural relief, the assets to be divested must

  comprise         an    economically        viable     going      concern—that      is,   the

  entity       must      have     the   economic       capability      of   surviving      and

  competing effectively in the market.” (emphasis added)).

         The       parties       vigorously    dispute      what    showing     Steves     must

  make to enable the Court to answer these questions. JELD-WEN

  says    that          before    deciding     Steves’      request     for   divestiture,


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  Steves must prevail on five factors:

               (1) whether the divestiture assets are
               sufficient to create a business that will
               replace lost competition;

               (2) whether the divestiture buyer has the
               incentive to compete in the relevant market;

               (3) whether the divestiture buyer has the
               business acumen, experience, and financial
               ability to compete in the relevant market in
               the future;

               (4) whether the divestiture itself is likely
               to cause competitive harm; and

               (5) whether the asset sale is structured to
               enable the buyer to emerge as a viable
               competitor.

        These factors are used by the DOJ in assessing the remedy

  of divestiture.      Gov’t Equitable Relief Statement (ECF No. 1640)

  at    1-2,   7;   see   also     5   Kintner    et     al.,   supra,   § 40.12

  (identifying similar “crucial factors considered when framing

  divestiture order or decree”). This approach, says JELD-WEN, is

  necessary because it is the approach that the DOJ takes before

  ordering divestiture.          Treating this analysis as a threshold

  requirement would be dispositive. Although the first and fourth

  DOJ factors are included in the public interest framework set

  out   above,   and   will   be   addressed     here,    Steves   has   provided

  practically no information that would inform the other three

  factors.

        Steves, on the other hand, argues that Towanda’s viability

  as a successful competitor be assessed quite differently. This

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  type of assessment, Steves says, would be more in line with the

  public interest because the results of the analysis urged by

  JELD-WEN could be made worthless by changed market conditions

  and the outcome of future appeals. Moreover, as Steves asserts,

  the Supreme Court has approved of the method that it urges in

  Brown Shoe Co. v. United States, 370 U.S. 294 (1962), another

  Section 7 case. There, the Supreme Court found that the trial

  court’s    divestiture        order    was     sufficiently        final    to   enable

  appellate      review     even        though      the     order      only    commanded

  divestiture without specifying the details of the divestiture

  sale or separation process, which would be the subject of a

  proposed divestiture plan to be filed by the defendant. See id.

  at 304, 308-10. According to Steves, the Court can conclude now

  that     divestiture     is     appropriate,        and     then     work    out     the

  particulars     by      appointing       a     special      master     to   supervise

  divestiture after JELD-WEN appeals the order and if the remedy

  of divestiture is affirmed.             The Fourth Circuit (and perhaps the

  Supreme Court) would then be able to affirm the liability and

  remedy    decisions      before       the     divestiture      process      moves     to

  fruition.      Only then, says Steves, would capable and serious

  buyers be willing to offer realistic prices for Towanda.

         Steves is correct on this point. Neither JELD-WEN nor the

  DOJ    cites   any      cases    in     which      courts     declined      to     order

  divestiture     because    the    party        seeking    divestiture       failed    to

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  provide the details that the DOJ uses in making its decisions.

  In fact, the general resources that address the issue teach that

  divestiture specifics are typically worked out in the compliance

  process by the court, the parties, or some other monitor. One

  treatise explains:

              Divestiture     decrees     rarely     contain
              provisions   specifying    the    details   of
              satisfactory compliance with the order to
              divest; however, usually courts include
              continuing supervision provisions to ensure
              that the acquiring company divests itself of
              the offending assets and that they are
              divested in such a manner as to assure
              restoration of the      competitive balance.
              Tribunals   also   retain    jurisdiction   to
              approve or reject the method of compliance,
              and to modify its decree or order if the
              prescribed remedy proves incapable of being
              carried out according to its terms. . . .

              Once the order to divest is entered, the
              defendant is required to propose within a
              specified    time    a   plan    of    compliance
              indicating the method by which it proposes
              to locate a purchaser acceptable to the
              court. These plans are subject to the
              government’s approval, and in instances
              where disagreements cannot be resolved at
              this   late    stage,   the    government    must
              challenge the plan before the court. Some
              orders   leave the defendant considerable
              discretion to choose the assets to be
              divested. Even broader is the defendant’s
              discretion    to    negotiate     with    parties
              interested in purchasing the assets to be
              divested, and to accept the most lucrative
              offer   that    will   not    be    attended   by
              anticompetitive consequences.

  5 Kintner et al., supra, § 40.12 (footnotes omitted); see also

  Pfunder et al., supra, at 95-111. The administrative law judge

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  in    one   recent       FTC   case    cited       by   JELD-WEN      took     this     exact

  approach. See In re Evanston Nw. Healthcare, 144 F.T.C. at 335-

  45, 356-73. Although the FTC reversed that initial decision on

  substantive grounds, nothing in its opinion suggests that the

  ALJ’s procedural methods were improper. See id. at 519-23.

         Brown Shoe does not make it a hard and fast rule that

  courts      must      approach       divestiture        in     this     way.    That     case

  addressed the finality of a particular divestiture order under

  the Expediting Act, which would not provide the basis for any

  appeal here. See Brown Shoe, 370 U.S. at 306-08. Nonetheless,

  the   Supreme        Court’s    guidance       about     the    substance       of    general

  divestiture orders is both helpful and persuasive.                                   In Brown

  Shoe, the district court’s divestiture order only required the

  defendant       to    “divest       itself   completely         of    all   stock,      share

  capital, assets or other interests it held in [the divested

  entity], so          that   the “remaining task for the District Court

  [after appeal] w[ould] be its acceptance of a plan for full

  divestiture, and the supervision of the plan so accepted.” Id.

  at 304, 308. The Supreme Court found the broader divestiture

  order    ripe      for   review      because    it      had    “consistently         reviewed

  antitrust       decrees      contemplating         either      future    divestiture       or

  other comparable remedial action prior to the formulation and

  entry of the precise details of the relief ordered.” Id. at 309-

  10.   The    Supreme        Court    also    instructed        that    policy    interests

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  supported that approach:



              [A full divestiture] order requires careful,
              and   often    extended,     negotiation    and
              formulation. This process does not take
              place in a vacuum, but, rather, in a
              changing market place, in which buyers and
              bankers must be found to accomplish the
              order   of   forced    sale.   The   unsettling
              influence   of    uncertainty     as   to   the
              affirmance   of    the    initial,   underlying
              decision compelling divestiture would only
              make still more difficult the task of
              assuring expeditious enforcement of the
              antitrust laws. The delay in withholding
              review of any of the issues in the case
              until the details of a divestiture had been
              approved by the District Court and reviewed
              here could well mean a change in market
              conditions sufficiently pronounced to render
              impractical or otherwise unenforceable the
              very plan of asset disposition for which the
              litigation was held. The public interest, as
              well as that of the parties, would lose by
              such procedure.

  Id. at 309 (emphasis added).

        JELD-WEN’s sole response to the compelling logic set out by

  the Supreme Court is to argue that Brown Shoe is inapposite

  because    it     was    a    Government         case,   and    the    Government    was

  presumed to be acting in the public interest. Following that

  logic,    there    was       no   need     for    that   district      court    to   have

  considered      the     identity     and     intention     of    the    buyer   of   the

  divested    assets.          There   are    undoubtedly        distinctions     between

  Government actions and private suits for injunctive relief under

  the Clayton Act. However, those differences do not compel the

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  Court to decide the propriety of divestiture in a manner that is

  directly contrary to the forceful logic of the Supreme Court.

         JELD-WEN’s “fear of piecemeal appeals” may be real, id. at

  310, but that alone cannot dictate a result that Brown Shoe

  observed makes no sense. Those practical concerns apply equally

  here. Moreover, the Court can decide whether divestiture is in

  the public interest without knowing the identity of the buyer.

  And,    if   divestiture     is    ordered      and   affirmed,     and   no    buyer

  expresses interest in Towanda, then divestiture will simply not

  occur. If it turns out that the divestiture process yields a

  buyer that lacks the incentive or the means to operate Towanda

  competitively, the Court can decline to divest the plant to that

  buyer. Finally,         if the Court orders a divestiture plan that

  directs the sale of Towanda to an unsatisfactory buyer, JELD-WEN

  could    presumably      appeal    that   order.      That   last   issue   remains

  unresolved. See id. (“No instance has been found in which the

  Court has reviewed a case following a divestiture decree such as

  the    one   we   are   asked     to   consider    here,     in   which   the   party

  subject to that decree has later brought the case back to this

  Court with claims of error in the details of the divestiture

  finally approved.”). But, as this case has repeatedly shown,

  there is a first time for everything.




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                            (2)      The DOJ’s Statement of Interest

         Pursuant to 28 U.S.C. § 517, the DOJ submitted a Statement

  of Interest (ECF No. 1640) after the jury returned its verdict

  that the merger had substantially lessened competition and that

  Steves      had   sustained       antitrust         injury    as    a   consequence.      To

  begin, the DOJ expressed, in general, a strong preference for

  the   structural      relief      of    divestiture          to   restore    competition.

  The   DOJ    then    suggested         that   the     Court       should    use    the   same

  analytical framework that the DOJ employs.                          That framework will

  be quite useful later.

         The    DOJ     also        expressed         reservation         about      ordering

  divestiture, noting that a potential buyer (other than Steves)

  had not been identified.                And, as to Steves, the DOJ expressed

  concern that,if Steves were to acquire Towanda, there would be

  three vertically integrated doorskin suppliers whereas before

  the JELD-WEN/CMI merger there had been two vertically integrated

  suppliers and one (CMI) that was not.                         On that point, the DOJ

  was in error because CMI was vertically integrated well before

  the merger.

         The DOJ’s other concern-the absence of an identified buyer

  at    this    state-is,      as    explained         earlier,       premature      for    the

  reasons set out by the Supreme Court in Brown Shoe.                               Moreover,

  it is unrealistic to think that the divestiture process in a

  private      party   case     could      proceed       in     the    same    way    as    the

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  Government would proceed until the validity of the divestiture

  remedy has been affirmed on appeal.                 Certainly that is so here

  because   appeal     has    been     promised,     and   it    is   unrealistic    to

  expect that potential buyers will come forth and be vetted while

  an appeal looms.           However, once the legal battles have ended,

  the Court fully expects that the Special Master will be able to

  proceed within much the same framework as used by the DOJ.


                         (3)      Standalone Viability of Towanda

         The record here shows that a divested Towanda would provide

  significant    competition          in   the     doorskin     market   and   restore

  competition that the merger lessened.                 The analysis begins with

  the undisputed evidence that, from its formation in 2002 until

  the housing crisis started in 2007, CMI, including Towanda’s

  doorskins, was profitable.               In this case, both parties agree

  that EBITDA is an appropriate measure of profitability.                      And the

  Court finds from PTX 341 and PTX 342 that, looking only at

  Towanda’s doorskin business, the EBITDA was positive in every

  year   from   2009    to     2013    and    that    it   was    projected     to   be

  profitable on that basis in 2014.                    That is to say, in the

  doorskin aspect of its business, Towanda’s EBITDA in 2009, 2010,

  2011 and 2012 was positive even though overall finances for that




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  same period showed a loss.23

        It is also clear from the record that CMI was losing money

  in 2011 and that made it necessary for the owners of the company

  to put it on the market.          But, the record also shows that the

  situation has changed.        In particular, the record establishes

  that:

                 since the merger in 2012, demand for doorskins has

                  increased   substantially     so   that   Towanda’s      most

                  recent annual output was [     ] doorskins;

                 from the time it was created CMI (through Towanda)

                  was an important supplier of doorskins to all the

                  Independents. Towanda is a low cost plant;

                 Towanda has been significantly improved;

                 the new owner could expect Steves to order [                ]

                  doorskins   per    year   under    a   long     term   supply

                  contract.

  Likewise the new owner would be able to count on contracts to

  supply JELD-WEN with [        ] doorskins per year.           Given the high

  prices that JELD-WEN charges the other independent doormakers,

  it is likely that a new competitor would be able to attract


  23
    The record is not entirely clear why that is so but it appears
  to be that the losses largely occurred in the door manufacturing
  businesses of CMI at the time because the EBITDA for the
  doorskin business was positive and, according to JELD-WEN and
  the record, the MiraTec and Extira business was also profitable
  during that period of time.
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  business     from    JELD-WEN’s          Independent            doormaker      manufacturer

  customers other than Steves.                   And, the new owner of Towanda

  would have every incentive to try to attract business from the

  Independents, who are now customers of JELD-WEN’s by offering

  lower prices than the high prices they are now paying to JELD-

  WEN.24

         The events of 2011 and 2012 also provide some evidence

  probative of whether Towanda could be a viable competitor in the

  doorskin    market    after       divestiture.             In    particular,        when       the

  company was last on the market in 2011, there were approximately

  five     serious    buyers       for   the     company.           It    is    fundamentally

  correct    that     companies      are     not     prepared       to    invest      in    other

  companies    unless       they    believe      they     can      make    a   profit       in   so

  doing.      And,    the    new     buyer     will     be    bidding      on    a    far    more

  successful entity than were the five serious buyers in 2011.

         Further,     the    record      shows     that      the    margins      at    Towanda,

  which is a way of measuring profitability,                              were strong. The

  margin is the difference between the cost of manufacturing the

  doorskin against the selling price of the doorskin.                                 Professor

  Shapiro testified that, as far back as 2012, the margin for

  doorskins made at Towanda was approximately 35%.                               Since then,


  24
    Further, as did JELD-WEN in 2012 when it acquired CMI, the new
  owner will also have the MiraTec and Extira lines and will make
  those products available to the customers who now buy them from
  JELD-WEN.
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  JELD-WEN’s costs have gone down because improvements have been

  made at Towanda, thereby lowering the cost of manufacturing the

  doorskins. Further, the evidence establishes that the key input

  costs at Towanda have declined.                      The ultimate conclusion from

  this information is that the margin has gone up.

         Accordingly,          there     are     three        substantial     reasons       for

  concluding      that     a     divestiture        of   Towanda      is    likely     to    be

  competitive      and    profitable.            First,       there   is    the    fact     that

  Towanda was profitable before the significant housing downturn

  and    that     it     has     returned       significantly         to    profitability.

  Second, the EBITDA numbers                   show that,       even during the rough

  periods       during     the       housing       crisis,      Towanda’s         EBITDA    for

  doorskins was positive, albeit not large.                           Third, the margin

  figures indicate that a substantial profit can be made.


                               (4)     Divestiture Will Remedy the                   Lessened
                                       Competition Found by the Jury

         Here, as the jury found, and the record shows, the merger

  substantially        reduced        competition        in    the    doorskin      industry.

  Less   than    two     years       after   the      merger    reduced     the    number    of

  suppliers from three to two, one of those suppliers essentially

  withdrew from the market, thereby depriving the Independents of

  that key component of a reliable supply source.                            Masonite made

  that decision known to its investors and to JELD-WEN in a public

  telephone conference.              Not long thereafter, the other supplier,

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  JELD-WEN, embarked upon a plan to raise doorskin prices, and, in

  so doing, emphasized that it was then the only game in town.                            At

  the same time, JELD-WEN felt free to disregard existing contract

  obligations respecting pricing and to engage in bullying tactics

  to get increased prices even if that would kill off some of the

  Independents who were its customers.

         Also, the quality of JELD-WEN’s doorskins declined as the

  lessened competition took hold.               And, by the beginning of 2015,

  the    manner     in   which    JELD-WEN      dealt    with    defective      products

  changed because competition had lessened.

         None of that was possible when, in 2011 and 2012, CMI had

  been a competitor.             Divestiture will once again restore three

  competitors who make and sell doorskins.                      The record does not

  show     whether       Masonite      can    be     expected     to     increase        its

  participation in selling to the Independents.                          But, it does

  permit the finding that JELD-WEN and divested Towanda can be

  expected to compete in selling doorskins.

         Divestiture is stiff medicine.               Therefore, it is important

  to     assess     whether      an    alternative      equitable       remedy,     or     a

  combination       thereof,     can    effectively      restore       the   competition

  that was substantially lessened by the merger.                       This assessment

  starts by remembering that, in the spring of 2012, there were

  three vertically integrated doorskin suppliers:                      Masonite; JELD-

  WEN;    and     CMI.    The    record      shows   that   these      three   companies

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  competed vigorously in selling doorskins to Steves and the other

  independent        (non-integrated)       door     manufacturers.         That        is

  pointedly illustrated by the fact that, in 2011 and 2012, Steves

  was in negotiations for a new long-term supply contract, and

  there was significant price competition for Steves’ business.

  The favorable terms were reflected in the Supply Agreement that

  JELD-WEN and Steves executed in May 2012, a few months before

  the merger closed.

        Divestiture would once again place three domestic doorskin

  suppliers in the doorskin market.                Nothing in the record points

  to how that could be accomplished short of divestiture.                     Neither

  party has posited an alternative.

        Although the Court could solve Steves’ supply problem by

  ordering     JELD-WEN     to   supply     Steves’   requirements    for     a    long

  term, that alternate remedy would not restore competition in the

  industry as a whole.           And, the record proves that the lessened

  competition has adversely affected the Independents other than

  Steves.      So simply securing a long-term supply for Steves would

  not aid those manufacturers.

        Even    if    the   Court   could    order    JELD-WEN   to   sell,       for    a

  period of time, to Steves and the other Independents at the

  prices that prevailed before JELD-WEN secured new prices in 2014

  and   2015,    there      still   would    be    only   one   domestic    supplier

  willing to sell to the Independents other than on a spot basis.

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  And, there would be no structure in place to foster competition

  after the Court-ordered prices expired.

        Based on this record, the Court can discern no alternative

  to divestiture that would restore competition that the merger

  substantially lessened.


                           (5)    Use of Special Master

        JELD-WEN    also    contests    the    potential     appointment     of   a

  special master to assist with divestiture. JELD-WEN claims that

  using a special master exceeds the boundary defined in La Buy v.

  Howes Leather Co. See 352 U.S. 249, 256 (1957) (“The use of

  masters is to aid judges in the performance of specific judicial

  duties, as they may arise in the progress of a cause, and not to

  displace    the   court.”      (internal    citation   and   quotation     marks

  omitted)).

        JELD-WEN is mistaken. Fed. R. Civ. P. 53 governs when a

  special master may be appointed. The cases cited by JELD-WEN

  discussed a version of Rule 53 that required an “exceptional

  condition” to justify special master referrals. See id. at 250,

  256; Beazer E., Inc. v. Mead Corp., 412 F.3d 429, 440 (3d Cir.

  2005); United States v. Microsoft Corp., 147 F.3d 935, 954 (D.C.

  Cir. 1998); Burlington N. R. Co. v. Dep’t of Revenue of State of

  Wash., 934 F.2d 1064, 1071 (9th Cir. 1991). The current Rule 53

  is   very   different,    allowing    special    masters     to,   as   relevant



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  here, “address pretrial and posttrial matters that cannot be

  effectively and timely addressed by an available district judge

  or   magistrate        judge       of    the     district.”       Fed.     R.     Civ.   P.

  53(a)(1)(C).      This    provision            accounts     for   courts’       increased

  reliance on masters “to assist in framing and enforcing complex

  decrees.” In particular, it permits appointment of a special

  master    “when    a     complex         decree       requires    complex       policing,

  particularly       when        a        party        has    proved        resistant      or

  intransigent . . . . The master’s role in enforcement may extend

  to investigation in ways that are quite unlike the traditional

  role of judicial officers in an adversary system.” Fed. R. Civ.

  P. 53(a)(1) advisory committee’s note to 2003 amendment.

        Courts    have     frequently        used      Rule   53(a)(1)(C)      to    appoint

  special masters to oversee compliance with complex injunctive

  relief   and    make    appropriate         recommendations          to   those    courts,

  see, e.g., RLI Ins. Co. v. Nexus Servs., Inc., No. 5:18-CV-

  00066, 2018 WL 3244413, at *13-14 (W.D. Va. July 2, 2018); Ohio

  Valley Envtl. Coal. v. Fola Coal Co., LLC, No. CV 2:13-16044,

  2016 WL 3190255, at *14 (S.D.W. Va. June 7, 2016), or to conduct

  sales    of    disputed    assets         in    foreclosure       cases.     See,     e.g.,

  Stearns Bank Nat’l Ass’n v. Come Again, Inc., No. 8:15-CV-322-T-

  30JSS, 2016 WL 695990, at *2 (M.D. Fla. Feb. 22, 2016). Here,

  divestiture compliance involves extraordinarily complex issues

  that, given the state of the Court’s docket and its limited

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  knowledge about asset sales in the building products industry,

  “cannot be effectively and timely addressed by” the Court or any

  judge in this district. Fed. R. Civ. P. 53(a)(1)(C). And, even

  if Rule 53(a)(1)(C) did not confer appointment authority here,

  the Fourth Circuit has approved of special master appointments

  “based on [a court’s] inherent authority to fashion appropriate

  post-verdict relief.” Trull v. Dayco Prods., LLC, 178 F. App’x

  247, 251 (4th Cir. 2006). As a result, the Court has ample

  grounds for appointing a special master if it determines that

  divestiture is appropriate.

         Finally, the parties will be afforded an opportunity to

  comment on and object to the order appointing the Special Master

  because     the   Court   does   not   contemplate   adopting   the    order

  proposed by Steves, and the Special Master would not be allowed

  to take significant action without the approval of the Court.


         B.    The Requested Ancillary Conduct Remedies

         To assure that the requested divestiture is effective in

  restoring    competition,    Steves     proposes   several   forms    of   so-

  called “conduct remedies.”         Some are appropriate.        Others are

  not.

         First, Steves says that JELD-WEN should divest to a new

  owner not only the Towanda facility, but also the equipment used




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  to develop, manufacture, and sell doorskins there.                   That is a

  rather obvious requirement.         Section II.A.1, supra.

        Second, Steves would require transfer or licensing of all

  intangible assets used in the development, manufacturing, and

  sale of doorskins at Towanda (to include patents, schematics,

  designs, customer lists, vendor lists, trade secrets, and the

  know-how necessary to operate the facility).25                 A requirement of

  that sort is also permissible and appropriate.                  Section II.A.1,

  supra.

        Third, Steves asks for an order affording the new owner a

  reasonable opportunity to retain the services of current Towanda

  employees.      That too is permissible and appropriate so as to

  afford the divested entity an opportunity to succeed.                    Section

  II.A.1, supra.

        Fourth,    Steves   asks      that    JELD-WEN    be     prohibited     from

  rehiring those employees for two years.              That is permissible and

  appropriate     to   afford   the   divested    entity    an    opportunity    to

  succeed.     Section II.A.1, supra.

        Fifth, to help assure the divested firm’s success, Steves

  seeks an order requiring the divested entity to offer Steves an

  eight-year    doorskin    supply     contract   at     prices    based   on   the



  25
     If the buyer should be Steves, it will be necessary to make
  provisions that secure to JELD-WEN the benefits of the jury
  verdict and any relief granted in the trade secrets trial.
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  current Supply Agreement.                Certainly, a provision requiring the

  new     owner     to     agree     to    supply        Steves    beyond     2021    is    a

  permissible,          and   necessary,      step       to   remedy   the     irreparable

  remedy proved by Steves.                And, the divested entity would benefit

  from a long-term supply agreement with Steves.                           However, fixing

  the duration of that agreement and specifying the prices to be

  based    on     the    current    supply       agreement     would   be    too   great    a

  restriction on the new owner which must be allowed to negotiate

  its own contract terms if it is to succeed.                              Section II.A.1,

  supra.

        Sixth, Steves seeks a provision that would allow JELD-WEN’s

  independent       customers-such           as    Lynden,        Haley,     and   Excel-to

  terminate, without penalty, their supply agreement with JELD-WEN

  to help alleviate the effect of the lessened competition on them

  (the high prices recently extracted by JELD-WEN). Considering

  that the lessened competition from the merger allowed JELD-WEN

  to    extract     high      prices      from     its    independent        customers,     a

  provision of this sort would help restore competition.                             Section

  II.A.1, supra

        Lastly, Steves asks that the Court limit JELD-WEN’s ability

  to buy doorskins from the new owner of Towanda to a period of

  two years.            A provision of that sort would not help the new

  owner    to     succeed.         And,    JELD-WEN,       like    Steves,    would    be   a

  natural customer for the new owner because JELD-WEN already uses

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  some of Towanda’s output.        On the other hand, JELD-WEN cannot be

  allowed to limit the quantity of doorskins that are available to

  the Independents by buying up all of the output of Towanda.

  Therefore, it would be appropriate to allow JELD-WEN to buy from

  the new owner of Towanda, but to require that, after the first

  two   years    following   divestiture,    the   new   owner     satisfy    the

  requirements of the Independents before supplying more than [                 ]

  doorskins to JELD-WEN.       Section II.A.1, supra.

        For the foregoing reasons, and to the extent recited above,

  the ancillary provisions and conduct relief will be granted and

  denied.


        C.      JELD-WEN’s Equitable Defenses

        As noted in a separate opinion, unclean hands is not a

  valid defense to a Section 16 request for injunctive relief on

  the facts of this case. See Divestiture Evidentiary Issues Op.

  (ECF No. 1759) at 14. Accordingly, laches is the only pleaded

  equitable defense      remaining to     JELD-WEN here.          Laches is an

  available equitable defense to divestiture.            See Am. Stores, 495

  U.S. at 296.       The defense also can bar the proposed ancillary

  remedies.

        Laches “operates throughout the entire remedial portion of

  equity     jurisprudence.”   2   John   Norton   Pomeroy,   A    Treatise    on




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  Equity Jurisprudence § 418, at 169 (5th ed. 1941). According to

  the eminent English chancellor, Lord Camden:

               A court of equity, which is never active in
               relief   against    conscience   or  public
               convenience, has always refused its aid to
               stale demands, where the party has slept
               upon his rights, and acquiesced for a great
               length of time. Nothing can call forth this
               court into activity but conscience, good
               faith, and reasonable diligence.

  Id. § 419, at 171 (emphasis added) (internal quotation marks

  omitted). Laches is thus defined as “such neglect or omission to

  assert a right as, taken in conjunction with lapse of time, more

  or less great, and other circumstances caus[es] prejudice to an

  adverse      party.”        Id.     at    171-72     (internal        quotation     marks

  omitted). Each case turns on its own facts because, as explained

  by the Supreme Court,

               what might be inexcusable delay in one case
               would not be inconsistent with diligence in
               another, and unless the nonaction of the
               complainant    operated   to    damage  the
               defendant, or to induce it to change its
               position, there is no necessary estoppel
               arising from the mere lapse of time.

  N.   Pac.    R.     Co.   v.      Boyd,   228   U.S.     482,   509    (1913)     (citing

  Townsend v. Venderwerker, 160 U.S. 171, 186 (1895)).

        In Townsend, the Supreme Court considered the assertion of

  laches      where     the      defendant’s        dead   and    intestate       relative

  (“Marvin”) had agreed to convey to the plaintiff a one-half

  interest in a house on a lot owned by Marvin in exchange for the



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  plaintiff contributing funds to build the house and supervising

  the construction. The plaintiff superintended the job from 1879

  to 1880, and made the required payments from 1879 to 1884. But,

  he did not file a bill in equity until 1889, after Marvin had

  died. See Townsend, 160 U.S. at 172-73. The Supreme Court held

  that, this delay notwithstanding, the defense of laches was not

  available, and thus that plaintiff could treat the property as

  subject to a lien in his favor and could have it sold to satisfy

  his claim for half of its original value. Id. at 182-83.

        In   making   its   decision,   the   Supreme   Court   examined   the

  circumstances of the house payments and the relationship between

  Marvin and the plaintiff. As the Supreme Court explained, those

  individuals had lived together in the house after it was built.

  Moreover, Marvin regarded the plaintiff as a foster child, and

  had stated that she would include him in her will and intended

  the house to be his when she was done with it. Mindful of these

  circumstances,      the   Supreme   Court   held   that   laches   did   not

  preclude the equitable relief sought because,

              [d]ealing with the person who stood in this
              relationship with him and whom he had always
              been upon friendly, and even intimate,
              terms, the same diligence could not be
              expected of [the plaintiff] as would have
              been if he had been treating with a
              stranger.




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  Id.    at    185-86.    In    other    words,       what    constitutes      reasonable

  diligence      depends       upon   the     particular       facts      of   the   case,

  including the relationship between the parties.

         The    Supreme    Court      was    confronted       with   another     ten-year

  delay   in    Northern       Pacific      Railway       Company.   In   that   case,   a

  railroad reorganization pursuant to bankruptcy proceedings had

  been    completed       in    1896,       and     the    plaintiff      attacked    that

  reorganization by filing a bill in equity in 1906. Noting that

  background, the Supreme Court held that:

                [t]he fact that improvements are put upon
                the property—that the stocks and bonds of
                the new company almost immediately became
                the subject of transactions with third
                persons-calls for the special application of
                the rule of diligence. But the doctrine of
                estoppel by laches is not one which can be
                measured out in days and months, as though
                it were a statute of limitation. For what
                might be inexcusable delay in one case would
                not   be  inconsistent   with  diligence   in
                another, and unless the nonaction of the
                complainant    operated    to   damage    the
                defendant, or to induce it to change its
                position, there is no necessary estoppel of
                laches arising from the mere lapse of time.

  N. Pac. R., 228 U.S. at 508-09 (emphasis added). The Court went

  on to assess the plaintiff’s diligence and concluded that he had

  made reasonable, albeit time-consuming, efforts to put himself

  in the position of a judgment creditor of the railroad so that

  he could proceed in equity to collect his debt. See id. at 509.

  As does Townsend, this decision teaches that the determination


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  of laches must be made in perspective of the facts of each case

  respecting       the    circumstances        of      the    delay       and    the   effects

  thereof.

         The Fourth Circuit’s approach to the doctrine of laches is

  consistent       with      that     foundation.           “Laches       imposes      on     the

  defendant the ultimate burden of proving ‘(1) lack of diligence

  by   the   party       against     whom   the     defense        is    asserted,     and   (2)

  prejudice to the party asserting the defense.’” White v. Daniel,

  909 F.2d 99, 102 (4th Cir. 1990) (quoting Costello v. United

  States,    365     U.S.    265,     282   (1961)).         The    defense      “applies      to

  preclude relief for a plaintiff who has unreasonably ‘slept’ on

  his rights,” barring “claims where a defendant is prejudiced by

  a    plaintiff’s       unreasonable       delay      in    bringing       suit    after    the

  plaintiff knew of the defendant’s violation.” PBM Prods., LLC v.

  Mead Johnson & Co., 639 F.3d 111, 121 (4th Cir. 2011); see also

  Kloth v. Microsoft Corp., 444 F.3d 312, 325 (4th Cir. 2006)

  (laches involves an “equitable balancing of a plaintiff’s delay

  with    prejudice         to   a    defendant”        (internal          quotation        marks

  omitted)).    The       laches     analysis     is    highly          fact-dependent.       See

  White, 909 F.2d at 102.

         Before addressing the elements of the laches framework, it

  is necessary to address Steves’ contention that JELD-WEN must

  overcome the “strong presumption” that laches does not apply

  because    Steves       initiated     this      litigation            within   the   Clayton

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  Act’s   statute    of    limitations       for    damages    claims.      Synergistic

  Int’l, L.L.C. v. Korman, No. CIV. 2:05CV49, 2007 WL 517677, at

  *8 (E.D. Va. Feb. 8, 2007). Both cases that Steves cites as

  establishing      this        “presumption”      are     trademark      infringement

  suits, so their principles               do not necessarily control in an

  antitrust    case.      See    Elvis    Presley       Enters.,   Inc.     v.   Elvisly

  Yours, Inc., 936 F.2d 889, 894 (6th Cir. 1991) (citing Tandy

  Corp.   v.   Malone     &     Hyde,    Inc.,    769   F.2d   362,   365    (6th   Cir.

  1985)); Synergistic Int’l, 2007 WL 51767, at *8 (citing Reno Air

  Racing Ass’n, Inc. v. McCord, 452 F.3d 1126, 1138-38 (9th Cir.

  2006)).

        Section 4B of the Clayton Act imposes a four-year statute

  of limitations for damages claims by any private plaintiff or by

  a government entity. See 15 U.S.C. § 15b. Section 16, on the

  other hand, contains no statute of limitations. See id. § 26;

  New York ex rel. Spitzer v. Saint Francis Hosp., 94 F. Supp. 2d

  399, 421-22 (S.D.N.Y. 2000). Nonetheless, because Section 4 and

  Section 16 provide different remedies for the same antitrust

  violations, Cargill, 479 U.S. at 113, several courts have used

  Section 4B’s limitations period as a guideline for analyzing

  laches defenses to Section 16 claims.                  See Oliver v. SD-3C LLC,

  751 F.3d 1081, 1086 (9th Cir. 2014); Midwestern Mach. Co. v. Nw.

  Airlines, Inc., 392 F.3d 265, 277 (8th Cir. 2004); Duty Free

  Ams., Inc. v. Estee Lauder Cos., Inc., No. 12-60741-CIV, 2014 WL

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  1329359, at *14 (S.D. Fla. Mar. 31, 2014), aff’d, 797 F.3d 1248

  (11th Cir. 2015); KFC Corp. v. Marion-Kay Co., 620 F. Supp.

  1160, 1168 (S.D. Ind. 1985); Argus Inc. v. Eastman Kodak Co.,

  552 F. Supp. 589, 600 (S.D.N.Y. 1982); Farbenfabriken Bayer, A.

  G. v. Sterling Drug, Inc., 197 F. Supp. 627, 629 (D.N.J. 1961),

  aff’d, 307 F.2d 210 (3d Cir. 1962).26 Moreover, one of the first

  cases   to   adopt   that   approach   was   International    Telephone    &

  Telegraph Corp. v. General Telephone & Electronics Corp., 518

  F.2d 913 (9th Cir. 1976).         IT&T’s conclusion was supported in

  part by the existence of what the court referred to as a “double

  standard” for calculating the laches period:

               If relief is sought, not on the theory that
               past   or   present   actions   or   behavior
               constitute    actual   violations   of    the
               substantive antitrust law, but because the
               plaintiff is threatened with an impending
               violation, then laches should normally run
               from the time when the plaintiff was first
               confronted with an enjoinable threat and
               thus could have obtained injunctive relief.
               If the threat later matures into an actual
               violation and the plaintiff sues to prevent
               recurrence or continuation of the violation,
               then laches should be recomputed from the
               time of the subsequent actual violation.

               This ‘double standard’ for laches reflects
               the fact that there are two basic theories
               of relief for actions under [Section] 16.
               Injunctions may be obtained against (1)


  26
     Although the Fourth Circuit implicitly approved of that
  approach, it has not directly addressed the question. See
  Weinberger v. Retail Credit Co., 498 F.2d 552, 556 (4th Cir.
  1974).
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              impending violations of the substantive law,
              and (2) past or present violations likely to
              continue or recur.

  Id. at 928-29 (emphasis added) (citing Zenith Radio, 395 U.S. at

  130). In IT&T, the plaintiff sought to restrain certain actual

  violations of the Sherman and Clayton Acts, and the court held

  that “the proper starting point for computation of the laches

  period is the time when the alleged violations occurred.” Id. at

  929 (emphasis added). In doing so, it noted that “[t]he four-

  year    limitation     of . . . Section         4B     for    private      antitrust

  actions     for     damages    is    long     enough    to     enable      potential

  plaintiffs    to     observe   the     actual    effects      and    the    possible

  antitrust violation and to calculate its potential defects.” Id.

  That approach comports with the common sense understanding that

  the actual competitive effects of a merger may be delayed as

  they were in this case.

         Examining     the   laches    period    in    this    flexible      manner   is

  consistent with how laches operates in copyright infringement

  suits. See Petrella v. Metro-Goldwyn-Mayer, Inc., 134 S. Ct.

  1962,     1977-78    (2014).    More     importantly,        it     comports    with

  longstanding Fourth Circuit law:

              In the application of the doctrine of
              laches, the settled rule is that courts of
              equity are not bound by, but that they
              usually act or refuse to act in analogy to,
              the statute of limitations relating to
              actions at law of like character. The
              meaning of this rule is that, under ordinary

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              circumstances, a suit in equity will not be
              stayed for laches, before, and will be
              stayed after the time fixed by the analogous
              statute of limitations at law; but if
              unusual    conditions      or    extraordinary
              circumstances make it inequitable to allow
              the   prosecution    of   a   suit   after   a
              briefer . . . period than that fixed by the
              statute, the [court] will not be bound by
              the   statute,    but   will   determine   the
              extraordinary case in accordance with the
              equities which condition it.

  King v. Richardson, 136 F.2d 849, 862 (4th Cir. 1943) (emphasis

  added) (internal quotation marks omitted). Using Section 4B’s

  limitations period as a guideline (as posited by ITT) and not a

  firm rule better serves the purposes of the Fourth Circuit’s

  settled laches approach because it accounts for the alternate

  ways in which the laches period may start running under Section

  16.

        As a result, although Steves’ initiating this action within

  Section 4B’s limitations period does not necessarily lead to a

  strong   presumption    against   laches   (as   it   would   in   trademark

  infringement suits), it is appropriate to rely on that four-year

  period as a guideline to determine whether Steves unreasonably

  delayed here.


              1.    Reasonableness of Steves’ Delay

        “An inexcusable or unreasonable delay may occur only after

  the plaintiff discovers or with reasonable diligence could have

  discovered the facts giving rise to his cause of action.” White,

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  909 F.2d at 102. This factor thus requires the Court to decide

  when   Steves     knew    or     should    have    known        that       it    was    facing

  “threatened      loss    or     damage”    from    a    Section        7    violation,          as

  needed to establish Section 16 standing. 15 U.S.C. § 26. The

  laches period would have started running only at that time. See

  Ray Commc’ns, Inc. v. Clear Channel Commc’ns, Inc., 673 F.3d

  294, 301 (4th Cir. 2012) (“Logic dictates that ‘unreasonable

  delay’    does     not    include       any      period    of      time          before        the

  [plaintiff]       is     able     to    pursue     a      claim . . . .” (internal

  quotation marks omitted)). And, of course, Steves could not have

  been aware of any Section 7 violation until it was reasonably

  knowable that “the effect of [the CMI] [A]cquisition may be

  substantially to lessen competition.” 15 U.S.C. § 18.

         JELD-WEN    argues        that     Steves       should    have           known     of     a

  threatened Section 7 violation as early as April 2012, when

  Steves became aware of the planned CMI Acquisition, and at the

  latest on October 24, 2012, when the merger was consummated. But

  accrual principles for Section 4 damages claims help show why

  that is not correct. Section 4B’s limitations period “starts to

  run at ‘the point the act first causes injury.’”27 Concord Boat



  27
    Steves did not need to suffer actual antitrust injury to bring
  a Section 16 claim, which requires only “threatened” injury.
  However, based on the facts in the record, it is not clear that
  this distinction is relevant to the outcome here.


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  Corp. v. Brunswick Corp., 207 F.3d 1039, 1051 (8th Cir. 2000)

  (quoting      Klehr    v.    A.O.     Smith   Corp.,       521        U.S.   179,      190–91

  (1997)). Because Section 7 makes the acquisition itself illegal,

  and the antitrust harm from the acquisition is usually known

  when the merger is consummated, Section 4 claims often begin

  accruing      on    that    date.     See   id.   at   1050.          But    a    Section     7

  violation “may occur ‘at or any time after                             the acquisition,

  depending      upon    the    circumstances       of   the        particular          case.’”

  Midwestern Mach., Inc. v. Nw. Airlines, Inc., 167 F.3d 439, 443

  (8th   Cir.    1999)       (quoting    United     States     v.       E.I.       du   Pont   de

  Nemours & Co., 353 U.S. 586, 597 (1957)); see also United States

  v. ITT Cont’l Baking Co., 420 U.S. 223, 242 (1975) (violation

  may occur post-consummation if there was “no realistic threat of

  restraint      of     commerce        or    creation    of        a     monopoly”        when

  acquisition completed).

         Areeda and Hovenkamp’s example of this sort of situation is

  particularly apt here:

                One might imagine a merger that occurred in
                1980 but with no immediate price increase,
                perhaps because the firm at that point
                lacked the power. But suppose the firm
                thereafter augmented its power and finally
                exacted   a   monopoly  price   increase in
                1990 . . . and the plaintiff brings its
                action in 1993. In such a case the statute
                of limitation would not begin to run until
                the post-merger price increase occurred.

  12 Areeda & Hovenkamp, supra, ¶ 1205b.


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         With     these   principles         in    mind,     the    first   task    is     to

  ascertain the period of delay that is involved here. This action

  was filed on June 29, 2016, slightly more than four years after

  JELD-WEN announced that it was going to acquire CMI and a few

  months before the fourth anniversary of the consummation of the

  merger. Therefore, at its maximum reach, the period of delay was

  equivalent       to    the    four-year      statute       of    limitations     set     by

  Section 4B for damages claims. Thus, the filing of the antitrust

  action was within the guideline period as outlined in ITT and

  King    v.    Richardson.           That    does    not,    however,      resolve      the

  reasonable delay analysis.

         To begin, as explained below, the period from April 2012 to

  August 2014 cannot be included in the period of delay in the

  laches calculus.          Thus, it is necessary to remember that JELD-

  WEN was aware at the time of the merger that the antitrust

  issues    associated         with   the    CMI    Acquisition      were   significant.

  PTX-90.      Indeed,    having      calculated      market       concentration      as   a

  consequence of the forthcoming acquisition and the Herfindahl-

  Hirschman indices for markets impacted by the merger, JELD-WEN

  retained      highly-qualified        antitrust       counsel      from    one    of   the

  nation’s largest law firms, O’Melveny & Myers. In sum, and as

  the    record    shows,       JELD-WEN     knew    full     well    of    the    merger’s

  antitrust implications.



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         Mindful    of      those    implications,         JELD-WEN        pursued         an

  established      merger     strategy     to   assuage    any       possible   concerns

  from the DOJ,        from    CMI’s customers, and from JELD-WEN’s own

  customers (including Steves). Specifically, JELD-WEN developed a

  plan to enter into long-term supply agreements with independent

  door manufacturers in the United States (notably Steves, Lynden,

  and Haley), see PTX-93; PTX-139.                As part of its strategy, JELD-

  WEN    deliberately    decided      not    to    approach      the    DOJ    about      the

  proposed CMI Acquisition until those long-term agreements had

  been entered.        In fact, JELD-WEN’s internal documents show that

  the company considered it a “tactical error to even call [the

  DOJ]” before entering into those supply agreements, and that

  JELD-WEN was fully aware that having those contracts in place

  would “be very positive for us [at the DOJ] if we ever go.” PTX-

  160. As Shapiro explained at trial, acquiring firms often enter

  into long-term contracts with customers in order to prevent a

  challenge to the merger. That tactic limits the DOJ’s ability to

  secure evidence necessary to block a merger because customers

  with    supply   agreements       are    less    willing      to    oppose    a    merger

  proposed by their supplier and because customers do not have

  reason to be threatened.

         And,   when   JELD-WEN      did    approach      the    DOJ    about       the   CMI

  Acquisition, it emphasized its long-term supply agreements with

  Steves, Lynden, and others. And Morrison, who led the company’s

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  presentation to the DOJ, admitted that the purpose of entering

  into such contracts was “to alleviate” customer concerns about

  not having a supply and “to assure the customers of CMI, who

  might eventually become customers of JELD-WEN, that JELD-WEN was

  committed to their continued supply.” See PTX-139.

         Based on these facts, the Court finds that before, and at

  the time of, the merger in 2012, Steves had no reason to believe

  that    there    would     be    anticompetitive         effects     from   the    merger

  because JELD-WEN designed its pre-merger strategy to create that

  state    of     mind.       To       the     contrary,      Steves   had    a    positive

  relationship with JELD-WEN through its CEO, Phillip Orsino, and

  had a recently signed long-term contract with JELD-WEN which

  Orsino    described       as     a    lifetime       arrangement.      And,      although

  Steves did not take that assurance literally, under all the

  known circumstances, it was reasonable for Steves to believe

  that the merger would not produce a substantial lessening of the

  competition that had produced the favorable terms in the Supply

  Agreement.

         The    record     here    establishes,         and    the   Court    finds,     that

  Steves did not know, and could not reasonably have known, that

  JELD-WEN’s conduct violated Section 7 until August 2014 at the

  earliest.       JELD-WEN    is       right    that    Steves   learned      of   the   CMI

  Acquisition in April 2012, and it knew that the merger would

  reduce the number of doorskin suppliers from three to two. But

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  that did not mean much to Steves because it reasonably believed

  that the prices that JELD-WEN could charge were constrained by

  the Supply Agreement.             Applying Section 4 accrual rules here,

  any claim would have been dead in the water in April or October

  2012   because     there    was    no    existing   or     threatened     antitrust

  injury, and antitrust damages would have required speculation

  about JELD-WEN’s future acts.

         Although,    in    November      2012,   Steves     subsequently       noticed

  some decline in doorskin quality, it did not associate those

  problems with the CMI Acquisition then. The same is true of the

  doorskin pricing issues arising in late 2012 through 2013, which

  Steves perceived as a purely contractual issue that could be,

  and    eventually    was,    worked      out    through    communications       with

  Orsino. There was no reason for Steves to believe that these

  issues were anticompetitive effects from the merger; both sides

  treated Steves’ concerns as essentially contract disputes.                        In

  any    event,    Steves    could     have   tried     to   shift    its   doorskin

  purchases to Masonite if it was dissatisfied with JELD-WEN. In

  other words, even though JELD-WEN had acquired excess market

  power through the CMI Acquisition, it did not use that power

  before 2014.

         However,     the    record       establishes      that,     in   May     2014,

  Hachigian, who had taken over from Orsino as JELD-WEN’s new CEO,

  informed Steves that it would be necessary to renegotiate the

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  Supply Agreement to secure higher prices, including a so-called

  “capital     charge”      (to    help       defray      JELD-WEN’s     cost       of   capital

  invested in the business) because Hachigian thought that the

  Supply Agreement was mispriced and unfair to JELD-WEN.                                 At that

  time, Hachigian also told Steves that he intended to invoke the

  termination     provisions           of    the    Supply      Agreement     to     bring    the

  parties to the bargaining table.

         In   retrospect,        that       conduct       represented      the     first     of   a

  series of events wherein JELD-WEN exercised the market power

  brought     about    by      the      substantial          lessening      of      competition

  effected by the merger (as found by the jury). However, Steves

  was reasonable in believing that the purpose of the threatened

  termination     was,      as    Hachigian         had    represented,       to     bring    the

  parties to the negotiating table to try to get a more favorable

  agreement for JELD-WEN. Then, in July 2014, Hachigian sent Sam

  Steves a Masonite presentation stating that Masonite would not

  sell   doorskins     to        competing         door    manufacturers         like    Steves.

  Hachigian     sent     that      presentation            to    Steves,      not    for     mere

  informational       purposes,         but    as    a    message    from     JELD-WEN       that

  Steves had to deal with JELD-WEN because the only other supplier

  (Masonite)     was     not      to    be    a     future      source   of      supply.     That

  conduct, combined with the termination notice and Hachigian’s

  actions in May 2014, portended that the JELD-WEN might now be



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  using the increased market power that it had gained as a result

  of the merger.

         Sam   and       Edward     Steves       appear       to    have       recognized       that

  possibility in mid-August 2014.                      Thus, on August 12, 2014, Sam

  Steves    e-mailed        Edward       Steves     to    express        his    concerns       about

  Masonite’s       statements           that   it      and    JELD-WEN          were    the    only

  vertically        integrated          doorskin         manufacturers          and     that     the

  barrier to entry in the doorskin market was “prohibitive.” Sam

  Steves then asked whether Steves was “finished with exploring

  anti     trust        issues    if     J[ELD-WEN]          term[inate]s         the     [S]upply

  [A]greement.” DX-291. Then, on August 26, Sam Steves sent Edward

  Steves another e-mail that proposed a response to an e-mail from

  Hachigian     about          various    issues       under       the    Supply        Agreement,

  including the proposed capital charge. In that e-mail to his

  brother, Sam Steves suggested that Steves send a “VERY strong

  response”     and       “tee     up    [its]      claim     on    the    overcharge.”         His

  proposed     response          also    included      this    suggested         language:       “We

  remain troubled that you continue to threaten termination of the

  agreement        if     we     don’t    consent         to . . . a           price    increase!

  Finally, and perhaps most important—the antitrust.” DX-466.

         Neither Sam nor Edward Steves were called upon to explain

  the comments made in those emails.                           So, it is difficult to

  discern their meaning.                  Nonetheless, those e-mails show that

  Steves should have              been alerted to the possibility                        that the

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  threatened    price     increases    and    the    contract      termination         were

  effects of the merger. That possibility would have become more

  concrete when Hachigian sent the Supply Agreement termination

  letter on September 10, 2014. Accordingly, the record permits

  the    conclusion   that    Steves    should      have    known      that    it     faced

  threatened or actual antitrust injury by August 12, 2014,28 and

  that Steves did know by September 10, 2014.

         Therefore, the question becomes whether JELD-WEN has proven

  that the time between August 12, 2014 and June 29, 2016 (when

  this    action    was   filed)      constitutes         unreasonable        delay     for

  purposes of laches. As previously explained, that is a case-

  specific inquiry that depends on the particular facts at hand.

         In this case, the inquiry begins with the understanding

  that Steves needs a reliable supply of doorskins to survive, a

  fact known by both Steves and JELD-WEN. The inquiry also must

  take into account that, in August 2014, there were only two

  domestic     doorskin      manufacturers,         and     that    one,       Masonite,

  recently    had   announced    that    it    would      not   sell    doorskins        to


  28
    At least one case has suggested that the continuing violations
  doctrine might apply to extend the laches period each time a new
  anticompetitive act occurs. See IT&T, 518 F.2d at 929. However,
  the Court already noted that this doctrine usually does not
  apply in Clayton Act cases, and held that the anticompetitive
  effects here were “unabated inertial consequences” of the CMI
  Acquisition, not independent Section 7 violations. See Summary
  Judgment Op. at 30-31 (internal quotations omitted). Therefore,
  any doorskin price increases or quality reductions after August
  2014 did not change the beginning date of the laches period.
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  independent door manufacturers like Steves. The reasonableness

  assessment must also consider that the other supplier, JELD-WEN,

  had just given notice to Steves that the Supply Agreement would

  end in 2021 unless Steves agreed to JELD-WEN’s demands for a

  substantial price increase.                Also, in August 2014, there was

  virtually      no   decisional       law    around      which    to     measure    the

  viability of a private party antitrust lawsuit, much less one in

  which the substantial lessening of competition had been brought

  about    under      the     circumstances        presented      by     this    record.

  Finally, the assessment must keep in mind that JELD-WEN was a

  far   bigger     and      far   better-heeled      company      than    Steves.    The

  question    then    becomes       whether   it    was   reasonable      for    Steves,

  confronted      with      these    realities      in    August       2014,    to   have

  instituted a costly, protracted, and novel antitrust litigation

  to attempt to solve a supply dilemma that was then seven years

  in the future. The record teaches that such a course was not

  reasonable.

        Instead, as the record here shows, when confronted with

  contract termination, Steves reasonably elected to try to find

  another reliable source of supply.                     To that end, in October

  2014, the Steves Brothers met with Masonite’s CEO, Fred Lynch

  who informed them that Masonite would not sell doorskins to

  Steves except on a spot basis, and at prices that were so high

  that Steves could not make a profit. Faced with that position by

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  Masonite, it became both necessary and reasonable for Steves to

  treat   further      with   JELD-WEN.          So,    in    January   2015,       Sam   and

  Edward Steves met with Hachigian, Merrill, and other JELD-WEN

  representatives in an effort to resolve the differences between

  the two companies, and thereby to secure the reliable source of

  supply on which Steves’ survival depended.

        However, in that meeting, Hachigian threatened that JELD-

  WEN   would    be    “total     pricks”   over       the    remaining      term    of   the

  Supply Agreement if Steves did not agree to renegotiate the

  contract to pay higher doorskin prices. See PTX-514. And, from

  January    2015     to   the    middle    of    that       year,   JELD-WEN       informed

  Steves about a series of greater price increases, which JELD-WEN

  conceded      at    trial      were   actually       prohibited       by    the    Supply

  Agreement. During that same period, JELD-WEN refused to provide

  Steves with the contractually required information that would

  allow Steves to determine whether the proposed price increases

  were legitimate under the controlling provisions of the Supply

  Agreement.

        With those developments, Steves again approached Masonite,

  the only other domestic supplier, about a supply of doorskins.

  It was reasonable to make the last ditch effort with Masonite.

  Lynch   again       informed     Edward   Steves       that    Masonite      would      not

  supply Steves with doorskins on a long-term basis, offering to



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  sell Steves’ doorskins only on a spot basis at prices that would

  be unprofitable for Steves.

        Therefore,       at    about    the    same     time,     Steves    found      it

  necessary to explore the possibility of buying doorskins from

  foreign manufacturers or building its own doorskin plant. Steves

  ultimately determined that neither option was likely to provide

  an   adequate       source   of   supply     by   the   time    that     the    Supply

  Agreement would expire. Nonetheless, it was reasonable for a

  small company like Steves to explore securing a doorskin supply

  by purchasing from foreign suppliers or building its own plant

  rather than instituting a novel antitrust lawsuit against its

  much larger and more powerful supplier.                  The record shows that

  the process of assessing the viability of foreign manufacturers

  as a source of supply, like the process of evaluating whether it

  was possible or sensible to build a plant as the source of

  supply was complicated and time-consuming.                      Here, the record

  shows that, once Steves had determined that it could rely on

  neither   of    the    two     domestic    doorskin     suppliers      (Masonite     or

  JELD-WEN),     it     timely    and   diligently      pursued    the     only    other

  conceivable         alternatives      to     filing      an     antitrust         suit.

  Accordingly, the record here shows, and the Court finds, that

  Steves    proceeded      with     reasonable      diligence     to     consider    the

  viability      of   these    alternate      sources     of    supply    rather    than



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  starting a lengthy, costly,and novel antitrust lawsuit against

  its vastly better-financed supplier.

        By early 2015, Steves had concluded that its future was at

  serious risk because the Supply Agreement with JELD-WEN would

  expire     in   2021,   and    neither    Masonite      nor    foreign   suppliers

  offered a reasonable alternative mean of supply. Moreover, it

  was entirely uncertain whether Steves could afford to build a

  doorskin plant, either on its own or with a partner.

        However, there was available to Steves another means to try

  to resolve the problems that both threatened Steves’ existence

  and that, if not solved, would present antitrust injury: the

  alternative dispute resolution provision (“ADR”) in the Supply

  Agreement. That process required Steves and JELD-WEN, as a first

  step, to hold an internal conference among senior executives.

  PTX-149 § 10(a). If that step was unsuccessful, the contract the

  required the parties to engage in mediation as a second step.

  Id. § 10(b).

        On March 11, 2015, Steves invoked the ADR provisions of the

  Supply Agreement, and it requested an internal conference among

  senior executives to occur on March 23. DX-243 at 2. However,

  the two internal conferences did not take place until May 2015.

  At   one   of   those   meetings,      Steves’        attorney,   Marvin       Pipkin,

  expressed Steves’ concern about antitrust issues arising out of

  JELD-WEN’s      conduct.      The   record     does    not    reflect    the    exact

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  details of Pipkin’s statements or JELD-WEN’s response. But it is

  clear that, by May 2015, JELD-WEN was aware of the risk of an

  antitrust claim if it persisted to exploit, in its dealings with

  Steves, the substantially lessened competition that the merger

  had produced.     Of course, Steves too was aware of that potential

  antitrust claim.

        After the internal conferences were unsuccessful, on July

  2, 2015, Steves requested the mediation required by the Supply

  Agreement.    That   mediation   took   place     in   September   2015.   The

  parties’ disputes were not resolved then, but Steves presented

  JELD-WEN with a draft Complaint that raised both contract and

  antitrust claims.

        Thereafter, on September 4, 2015, the parties entered into

  the first of several standstill agreements, which were extended

  on September 29, 2015; October 13, 2015; January 27, 2016; and

  April 25, 2016. Those agreements contained provisions reciting

  the parties’ “desire to continue to discuss their differences in

  an effort to resolve these differences without litigation.” See

  PTX-591; PTX-593; PTX-606; PTX-641; PTX-682.

        While the standstill agreements were in effect, Steves, in

  December 2015, gave a presentation to the DOJ complaining of

  antitrust    violations,    after   which   the    DOJ   initiated   a   civil

  investigative demand. JELD-WEN subsequently gave a presentation

  to the DOJ on April 7, 2016. The investigation was closed by the

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  DOJ on May 18, 2016. In June 2016, Steves requested JELD-WEN to

  agree to another extension of the standstill agreements, which

  JELD-WEN    rejected.         Immediately      thereafter,        on    June    29,    2016,

  Steves filed this action.

        On this record, the Court holds that JELD-WEN has not met

  its burden to prove that the delay between September 10, 2014

  and June 29, 2016 was unreasonable. To the contrary, the record

  shows that, during that period, Steves took every reasonable

  step to try to secure a reliable supply of doorskins that was

  essential    for       its    survival.      It    was   reasonable       for    a    small

  purchaser, like Steves, to try all reasonable measures to avoid

  litigation with the supplier of an ingredient essential to its

  core product line. That is especially so where, as here, the

  supplier    is    a    vastly       larger   company       that   can    afford       costly

  litigation       and    where,       as   here,     that     supplier      indicates       a

  continued    desire          to    attempt    to    work     things      out    short     of

  litigation. Public policy supports efforts by parties to work

  out   difficult        issues      respecting      their    business      relationships

  without resorting to litigation. See Essilor Int’l v. Nidek Co.,

  217 F.3d 857, 1999 WL 989071, at *5; (Fed. Cir. 1999); NAACP v.

  NAACP Legal Def. & Educ. Fund, Inc., 753 F.2d 131, 137 (D.C.

  Cir. 1985); Piper Aircraft Corp. v. Wag-Aero, Inc., 741 F.2d

  925, 932 (7th Cir. 1984); cf. Petrella, 134 S. Ct. at 1976.

  Furthermore,       common         sense   teaches    that     antitrust        litigation

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  would be lengthy and exceedingly expensive.            And, in this case,

  the kind of antitrust case that Steves would have to bring would

  be the first of its kind.           So there was no reliable way to

  predict what such litigation might cost or whether it would even

  be concluded before Steves would lose its source of supply in

  2021.

        Nor    was    it    unreasonable     for     Steves   to     use   the

  contractually-required ADR process to try to work out a business

  compromise     to   the   contract-related       problems   that   actually

  produced its antitrust injury, instead of immediately commencing

  antitrust litigation. Even after those procedures failed, the

  parties, both mindful of the potential for antitrust litigation,

  agreed to standstill agreements with a view to solving their

  differences. Considering the representations in those agreements

  that both parties wanted to resolve their differences without

  litigation, Steves reasonably avoided filing an antitrust suit

  until JELD-WEN refused to continue the process.

        Considering the record as a whole, JELD-WEN has not proven

  that the delay from August 2014 to June 2016 was unreasonable.

  That, of course, defeats JELD-WEN’s laches defense, because it

  has failed to prove the first element of that defense. Thus, the

  inquiry respecting the application of laches to the equitable

  remedies is at an end.



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               2.      Prejudice to JELD-WEN
         Ordinarily, it is preferable to articulate a single basis

  for    decision,      and    thereby   refrain      from    making   alternative

  holdings. See Karsten v. Kaiser Found. Health Plan of Mid-Atl.

  States, Inc., 36 F.3d 8, 11 (4th Cir. 1994). However, this case

  presents     an   exception    to   that    rule,   given    that    it   presents

  issues of first impression on which appeal is virtually certain,

  and considering the nature of the relief sought. Therefore, in

  the interest of judicial economy, it is appropriate to consider

  the prejudice element of JELD-WEN’s laches defense so that the

  entire picture will be available for consideration in the likely

  event of appeal.

         Even unreasonable delay does not animate the bar of laches

  if    that   delay    does    not   cause    harm    to    the   defendant.    Ray

  Commc’ns, 673 F.3d at 305. Prejudice is shown by “a disadvantage

  on the part of the defendant in asserting or establishing a

  claimed right or some other harm caused by detrimental reliance

  on the plaintiff’s conduct,” White, 909 F.2d at 102, including

  economic prejudice. Ray Commc’ns, 673 F.3d at 305. In addition,

  a defendant is always “‘aided by the inference of prejudice

  warranted    by    the   plaintiff’s    delay.’ . . .       [T]he    greater   the

  delay, the less the prejudice required to show laches, and vice

  versa.” White, 909 F.2d at 102 (quoting Giddens v. Isbrandtsen

  Co., 355 F.2d 125, 128 (4th Cir. 1966). But, in every case, “the


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  defendant is ultimately required to prove prejudice (given the

  defendant’s burden to plead and prove laches under Fed. R. Civ.

  P. 8(c)).” Id.

        Here, there is no contention that JELD-WEN suffered any

  disadvantage      in   asserting       or    establishing         a   claimed   right.

  Instead, JELD-WEN relies on the presence of “some other harm

  caused    by     detrimental        reliance       on     [Steves’]     conduct.”      In

  particular, JELD-WEN asserts various economic disadvantages that

  it says constitute prejudice.

        JELD-WEN     contends    that,        beginning       immediately     after    the

  merger and continuing through 2016, it took numerous steps to

  integrate Towanda into its overall manufacturing operation. It

  claims that it closed CMI’s Chicago headquarters, consolidated

  administrative functions, mothballed the Marion plant in 2013,

  sold Dubuque in 2016, and otherwise integrated Towanda into its

  general manufacturing plans but for Steves’ delay in initiating

  suit.    Those    positions      are    based          almost   exclusively     on   the

  testimony of Morrison, and the Court declines to accept his

  testimony.

        Morrison,     who   also       served       as    JELD-WEN’s      trade   secrets

  expert in the liability phase of the trade secrets case, was

  shown at the trade secrets trial to be a witness who could not

  be   believed.    He   lied    on    his     resume,      which   was    offered     into

  evidence, stating that he had graduated from Louisiana State

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  University when in fact he had attended but one semester. He

  lied again, at his deposition and trial, when asked about his

  resume and his education, and he allowed JELD-WEN to publicly

  tout him as a graduate of Louisiana State University for years.

  A person who will lie about something of that nature is not to

  be believed. Moreover, having observed Morrison’s conduct when

  testifying in the Remedies Hearing, the Court notes that he was

  more advocate than witness, and regrettably concludes that he

  would say anything to support JELD-WEN’s cause whether it was

  supported by facts or not.

         Accordingly, the Court does not believe his testimony that,

  in reliance on the absence of an antitrust suit, JELD-WEN would

  not have mothballed the Marion plant, closed the Dubuque plant,

  made    the    modifications       in     its     system,    and    effectuated      the

  integration        of    the   Towanda    plant    into     JELD-WEN’s   operations.

  Wholly apart from Morrison’s lack of credibility, the record

  shows   that       the    Marion   plant    was     mothballed      because    of    the

  expense       of    meeting     environmental        regulations      and     updating

  antiquated         equipment.      And,    the    record     also   shows     that   the

  decision to close the Dubuque plant was made in 2011, before the

  merger. Thus, the record also shows that Morrison’s testimony is

  not credible.




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         Putting       aside     Morrison’s         testimony,           the     evidence        is

  generally undisputed that JELD-WEN expended significant funds

  installing capital improvements and manufacturing processes in

  Towanda and integrating Towanda into its operation.                                    But, the

  preponderance of the evidence does not establish that JELD-WEN

  relied on the absence of an asserted antitrust claim by Steves,

  in     taking      those     steps.        To     the        contrary,       JELD-WEN         made

  substantial investment in Towanda even after it was told by

  Pipkin in May 2015 that Steves had antitrust concerns and after

  Steves presented a copy of an anti complaint in September 2015.

  That JELD-WEN continued to invest in Towanda with that knowledge

  materially      undercuts         JELD-WEN’s      contention        that     it    would       not

  have made investments in Towanda had it been aware of a possible

  antitrust claim.

         Further, the Court finds that JELD-WEN was fully aware that

  an antitrust action could be filed at any time within four years

  after the merger and, in any event, it is charged with that

  knowledge.         And, mindful of that possibility, JELD-WEN made its

  investments in Towanda, integrated Towanda into its operational

  system,      and    took    all    the   actions        it    now   uses     to    prove      the

  prejudice component of its laches defense.

         The    record       shows    that   JELD-WEN           relied     not      on    Steves’

  inaction but on having successfully lulled Steves and the DOJ

  into    action      by     entering      into   long-term           contracts          with   the

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  independent doorskin customers, including Steves.                       JELD-WEN thus

  relied on that tactic to insulate it going forward after the

  merger, not on Steves’ inaction.                  Accordingly, JELD-WEN has not

  met     its    burden     of    proof     on     the     component     of     detrimental

  reliance.

        But,     even     if     JELD-WEN    can     be     said    to   have    made    the

  requisite showing of detrimental reliance, it has nonetheless

  failed to show prejudice that would suffice to establish laches.

  For example, the record is clear that JELD-WEN has more than

  recovered the capital investments (plant modifications and new

  equipment) that it made in Towanda after the merger, the making

  of which JELD-WEN asserts as prejudice.                      And, its operation of

  Towanda has yielded considerable profit.                         JELD-WEN, of course,

  will not have to disgorge that profit.

        As      discussed      fully   in        Section    II.A.3.(b)        (Balance    of

  Hardships), the operational changes that, of necessity, will be

  made in the event of divestiture will no doubt be troublesome to

  achieve, will entail significant expense, and will have some

  detrimental collateral consequences.                    However, the making of the

  changes necessary to restore competition is not such prejudice

  as will call into operation the equitable defense of laches into

  play.




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         JELD-WEN’s position on laches is founded principally on the

  decisions in Antoine L. Garabet M.D., LLC v. Antomonous Techy.

  Corp.,       116    F.   Supp.2d       1159      (C.D.    Ca.    2000)     and   Taleff    v.

  Southwest Airlines Co., 828 F. Supp. 2d 1118 (N.D. Ca. 2011).

  In    both    cases,     the    plaintiffs         sued       under   Section    7   of   the

  Clayton Act, alleging that the merger itself would substantially

  lessen competition.             In both cases, the plaintiffs were aware of

  the proposed merger and the threat to competition for several

  months before the merger.                 In Gabaret, the plaintiffs filed suit

  after the merger (one day in Taleff, the same day in Gabaret).

  In Gabaret, the court held that the plaintiffs lacked anitrust

  standing for each antitrust injury and the court sustained a

  defense of laches.              Gabaret, 116 F. Supp.2d at 1165-71.                        In

  Taleff, the court did not actually decide the applicability of

  laches, but it held that the delay in filing suit until after

  the    merger        tipped      the       balance       of     hardship      against     the

  plaintiffs.         828 F. Supp. 2d at 1123-24.

         Neither Gabaret nor Taleff apply here because the facts of

  this case are different.                  Here, unlike Gabaret and Taleff, there

  was no reason for the plaintiff to apprehend a lessening of

  competition         before     or    at    the    time    of    the   merger.        To   the

  contrary,          JELD-WEN’s       strategy      was     intended       to   give   Steves

  comfort. And, as explained above, the conduct causing antitrust

  injury occurred well after the merger.

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        Accepting JELD-WEN’s theory would mean that where, as here,

  the lessening of competition occurs after the merger, a party

  thereby injured simply could never seek equitable redress to

  restore competition.           For the reasons previously explained, the

  rules of antitrust injury and antitrust standing as well as the

  fundamental principles of equity foreclose such a result.


                                       CONCLUSION

        For    the    reasons,       and   to     the    extent,        set   forth     above,

  PLAINTIFF STEVES AND SONS, INC.’S MOTION FOR EQUITABLE RELIEF

  (ECF No. 1191) will be granted in part and denied in part.                                The

  motion will be granted to require that JELD-WEN divest itself of

  the Towanda facility and, to the extent set out in Section II.B,

  to grant the conduct remedies necessary to the success of the

  divested entity as a manufacturer of interior molded doorskins.

  The motion will be denied as to the requested conduct remedies

  not necessary to that purpose.

        To assure, to the extent reasonably possible, that JELD-WEN

  receives     a     fair   price      for       Towanda,         and    to    assure      that

  divestiture      produces      a   competitive         entity     that      is   likely    to

  restore competition, the process specified by the Supreme Court

  in   Brown   Shoe,      will   be    followed         so   as    to    assure    that     the

  divestiture        is   conducted        in    a    realistic         setting     that     is

  conducive to attracting qualified buyers who will pay a fair


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 price for Towanda.        To assure    the success of     that process,    a

 Special Master will be appointed.

       It is so ORDERED.



                                              /s/
                              Robert E. Payne
                              Senior United States District Judge


 Richmond, Virginia
 Date: October ~ , 2018




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